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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION


   HARVEST VALLEY, INC. AND             )
   HARVEST VALLEY II, INC.,             )
                                        )     CASE NO.:
         Plaintiffs,                    )
                                        )     NOTICE OF REMOVAL OF
   vs.                                  )     ACTION UNDER 28 U.S.C.
                                        )     § 1441(a)
   CERTAIN UNDERWRITERS AT              )     (FEDERAL QUESTION)
   LLOYD’S LONDON SUBSCRIBING TO        )
   POLICY NUMBER AMR-67296-02           )
                                        )
         Defendant.                     )
                                        )
                                        )




                                  EXHIBIT B
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        FORM 1.997.        CIVIL COVER SHEET

        The civil cover sheet and the information contained in it neither replace nor supplement the filing
        and service of pleadings or other documents as required by law. This form must be filed by the
        plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
        to section 25.075, Florida Statutes. (See instructions for completion.)


                I.      CASE STYLE

                     IN THE CIRCUIT/COUNTY COURT OF THE ELEVENTH JUDICIAL CIRCUIT,
                              IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        Harvest Valley Inc, Harvest Valley II Inc
        Plaintiff                                                                Case #
                                                                                 Judge
        vs.
       Certain Underwriters at Lloyds London
        Defendant



                II.     AMOUNT OF CLAIM
       Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
       the claim is requested for data collection and clerical processing purposes only. The amount of the claim
       shall not be used for any other purpose.

        ☐ $8,000 or less
        ☐ $8,001 - $30,000
        ☐ $30,001- $50,000
        ☐ $50,001- $75,000
        ☐ $75,001 - $100,000
        ☒ over $100,000.00

                III.    TYPE OF CASE           (If the case fits more than one type of case, select the most
        definitive category.) If the most descriptive label is a subcategory (is indented under a broader
        category), place an x on both the main category and subcategory lines.




                                                          -1-
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   CIRCUIT CIVIL

   ☐ Condominium
   ☐ Contracts and indebtedness
   ☐ Eminent domain
   ☐ Auto negligence
   ☐ Negligence—other
         ☐ Business governance
         ☐ Business torts
         ☐ Environmental/Toxic tort
         ☐ Third party indemnification
         ☐ Construction defect
         ☐ Mass tort
         ☐ Negligent security
         ☐ Nursing home negligence
         ☐ Premises liability—commercial
         ☐ Premises liability—residential
   ☐ Products liability
   ☐   Real Property/Mortgage foreclosure
           ☐ Commercial foreclosure
           ☐ Homestead residential foreclosure
           ☐ Non-homestead residential foreclosure
           ☐ Other real property actions

   ☐Professional malpractice
         ☐ Malpractice—business
         ☐ Malpractice—medical
         ☐ Malpractice—other professional
   ☒ Other
         ☐ Antitrust/Trade regulation
         ☐ Business transactions
         ☐ Constitutional challenge—statute or ordinance
         ☐ Constitutional challenge—proposed amendment
         ☐ Corporate trusts
         ☐ Discrimination—employment or other
         ☒ Insurance claims
         ☐ Intellectual property
         ☐ Libel/Slander
         ☐ Shareholder derivative action
         ☐ Securities litigation
         ☐ Trade secrets
         ☐ Trust litigation


    COUNTY CIVIL

    ☐ Small Claims up to $8,000
    ☐ Civil
    ☐ Real property/Mortgage foreclosure
                                                     -2-
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    ☐ Replevins
    ☐ Evictions
          ☐ Residential Evictions
          ☐ Non-residential Evictions
    ☐ Other civil (non-monetary)

                                         COMPLEX BUSINESS COURT

   This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
   Administrative Order. Yes ☐ No ☒

            IV.   REMEDIES SOUGHT (check all that apply):
            ☒ Monetary;
            ☐ Nonmonetary declaratory or injunctive relief;
            ☐ Punitive

            V.     NUMBER OF CAUSES OF ACTION: [ ]
            (Specify)

              2

            VI.     IS THIS CASE A CLASS ACTION LAWSUIT?
                    ☐ yes
                    ☒ no

            VII.    HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                    ☒ no
                    ☐ yes If “yes,” list all related cases by name, case number, and court.


            VIII. IS JURY TRIAL DEMANDED IN COMPLAINT?
                  ☒ yes
                  ☐ no

    I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
    my knowledge and belief, and that I have read and will comply with the requirements of
    Florida Rule of Judicial Administration 2.425.

    Signature: s/ Peter J. Mineo                           Fla. Bar # 13745
                   Attorney or party                                      (Bar # if attorney)

   Peter J. Mineo                           02/28/2022
    (type or print name)                           Date




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                                                               IN THE CIRCUIT COURT OF THE 11TH
                                                               JUDICIAL CIRCUIT IN AND FOR MIAMI-
      HARVEST VALLEY, INC. and HARVEST                         DADE COUNTY, FLORIDA
      VALLEY II, INC.,
                                                               CASE NO: 2022 003829 CA 01
             Plaintiffs,
      vs.

      CERTAIN UNDERWRITERS AT LLOYD’S,
      LONDON SUBSCRIBING TO POLICY
      NUMBER AMR-67296-02,

            Defendant.
      _____________________________________/

                                                 CIVIL SUMMONS
      THE STATE OF FLORIDA:

      YOU ARE HEREBY COMMANDED to serve this summons and a copy of the Complaint,
      Interrogatories, Request for Production, Notice of Deposition, and Notice of E/Mail Designation, in this
      action on Defendant:

                             CERTAIN UNDERWRITERS AT LLOYD’S, LONDON SUBSCRIBING
                             TO POLICY NUMBER AMR-67296-02
      By serving:            c/o Florida Chief Financial Officer as RA
                             Service of Process Section
                             Department of Financial Services
                             Post Office Box 6200
                             Tallahassee, Florida 32314-6200

      Each defendant is required to serve written defenses to the complaint or petition on Plaintiff’s attorney,
      to-wit:
                           PETER MINEO JR., ESQUIRE
      whose address is:    THE MINEO SALCEDO LAW FIRM, P.A.
                           5600 DAVIE ROAD, DAVIE, FL 33314

      within 20 days after service of this summons on that defendant, exclusive of the day of service, and to
      file the original of the defenses with the Clerk of this Court either before service on Plaintiff’s attorney
      or immediately thereafter. If a defendant fails to do so, a default will be entered against that defendant
      for the relief demanded in the complaint or petition.

      DATED ON 3/10/2022
               _________________, 2022.
                                                    Harvey Ruvin
                                                    as Clerk of said Court,

                                                    by: ________________________________
                                                           as Deputy Clerk
                                                           (Court Seal)
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                                                               IN THE CIRCUIT COURT OF THE 11TH
                                                               JUDICIAL CIRCUIT IN AND FOR MIAMI-
      HARVEST VALLEY, INC. and HARVEST                         DADE COUNTY, FLORIDA
      VALLEY II, INC.,
                                                               CASE NO: 2022 003829 CA 01
             Plaintiffs,
      vs.

      CERTAIN UNDERWRITERS AT LLOYD’S,
      LONDON SUBSCRIBING TO POLICY
      NUMBER AMR-67296-02,

            Defendant.
      _____________________________________/

                                                 CIVIL SUMMONS
      THE STATE OF FLORIDA:

      YOU ARE HEREBY COMMANDED to serve this summons and a copy of the Complaint,
      Interrogatories, Request for Production, Notice of Deposition, and Notice of E/Mail Designation, in this
      action on Defendant:

                             CERTAIN UNDERWRITERS AT LLOYD’S, LONDON SUBSCRIBING
                             TO POLICY NUMBER AMR-67296-02
      By serving:            c/o Florida Chief Financial Officer as RA
                             Service of Process Section
                             Department of Financial Services
                             Post Office Box 6200
                             Tallahassee, Florida 32314-6200

      Each defendant is required to serve written defenses to the complaint or petition on Plaintiff’s attorney,
      to-wit:
                           PETER MINEO JR., ESQUIRE
      whose address is:    THE MINEO SALCEDO LAW FIRM, P.A.
                           5600 DAVIE ROAD, DAVIE, FL 33314

      within 20 days after service of this summons on that defendant, exclusive of the day of service, and to
      file the original of the defenses with the Clerk of this Court either before service on Plaintiff’s attorney
      or immediately thereafter. If a defendant fails to do so, a default will be entered against that defendant
      for the relief demanded in the complaint or petition.

      DATED ON _________________, 2022.
                                                    Harvey Ruvin
                                                    as Clerk of said Court,

                                                    by: ________________________________
                                                           as Deputy Clerk
                                                           (Court Seal)
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                 IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                         IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        HARVEST VALLEY, INC. and HARVEST
        VALLEY II, INC.,

               Plaintiff,
                                                           Case No.: 2022-003829-CA-01
        v.

        CERTAIN UNDERWRITERS AT LLOYD’S,
        LONDON SUBSCRIBING TO POLICY
        NUMBER AMR-67296-02,
              Defendant.
        _______________________________________/


              NOTICE OF APPEARANCE AND DESIGNATION OF EMAIL ADDRESSES

               PLEASE TAKE NOTICE that Nicole M. Fluet and Anna P. Kirkpatrick of Galloway,

        Johnson, Tompkins, Burr & Smith, PLC, hereby appear as counsel of record for Defendant,

        CERTAIN UNDERWRITERS AT LLOYD’S, LONDON SUBSCRIBING TO POLICY

        NUMBER AMR-67296-02 and designate the following primary and secondary email addresses

        for email service in the above-styled case pursuant to Fla. R. Jud. Admin. 2.516(b)(1)(A):

               Primary email address:        tampaservice@gallowaylawfirm.com

               Secondary email addresses: nfluet@gallowaylawfirm.com

                                             akirkpatrick@gallowaylawfirm.com




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                                                 /s/ Nicole M. Fluet
                                                  NICOLE M. FLUET, Fla. Bar No. 91077
                                                  nfluet@gallowaylawfirm.com
                                                  ANNA P. KIRKPATRICK, Fla. Bar No. 1004735
                                                  akirkpatrick@gallowaylawfirm.com
                                                  Galloway, Johnson, Tompkins, Burr & Smith, PLC
                                                  400 N. Ashley Drive, Suite 1000
                                                  Tampa, Florida 33602
                                                  (813) 977-1200
                                                  (813) 977-1288 (facsimile)
                                                  tampaservice@gallowaylawfirm.com
                                                  Counsel for Defendant.



                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to

    the following via the Florida Courts E-Filing Portal and/or electronic mail delivery this April 5,

    2022.

    PETER MINEO JR.
    THE MINEO SALCEDO
    LAW FIRM, P.A.
    5600 Davie Road
    Davie, FL 333 14
    T: (954) 463-8100
    F: (954) 463-8106
    Service@mineolaw.com
    Counsel for Plaintiff

                                                 /s/ Nicole M. Fluet
                                                  NICOLE M. FLUET
                                                  ANNA P. KIRKPATRICK




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                 IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                         IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        HARVEST VALLEY, INC. and HARVEST
        VALLEY II, INC.,

               Plaintiff,
                                                             Case No.: 2022-003829-CA-01
        v.

        CERTAIN UNDERWRITERS AT LLOYD’S,
        LONDON SUBSCRIBING TO POLICY
        NUMBER AMR-67296-02,
              Defendant.
        _______________________________________/

                                   DEFENDANT’S MOTION TO DISMISS

               Defendant, CERTAIN UNDERWRITERS AT LLOYD’S, LONDON SUBSCRIBING

        TO POLICY NUMBER AMR-67296-02 (“Certain Underwriters”), by and through the

        undersigned counsel, moves to dismiss Plaintiffs, HARVEST VALLEY, INC. AND HARVEST

        VALLEY II, INC’S (collectively “Plaintiff”) Complaint and states the following in support:

                                                   Introduction

               Plaintiff filed a Complaint alleging a cause of action for breach of contract and petition

        for declaratory relief arising out of insurance policy No. AMR-67296-02 (“Policy”) issued by

        Certified Underwriters to Plaintiff. Certain Underwriters issued the Policy to Plaintiff in

        conjunction with other policies issued by a market of carriers whom Plaintiff failed to join to the

        instant action. Further, Plaintiff’s action must dismissed as the proper venue for this action is

        arbitration, and secondarily, the courts of New York. Accordingly, Plaintiff’s Complaint must be

        dismissed for (1) failure to join all necessary, indispensable parties, and (2) improper venue.




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                                       MEMORANDUM OF LAW

           I.      Plaintiff Failed to Join All Indispensable Parties.

           As discussed above, while policy number AMR-67296-02 was issued to Plaintiff by

    Certain Underwriters, the applicable contract also includes policies issued to Plaintiff by Indian

    Harbor Insurance Company, QBE Specialty Insurance Company, Steadfast Insurance Company,

    General Security Indemnity Company of Arizona, United Specialty Insurance Company,

    Lexington Insurance Company, HDI Global Specialty SE, Old Republic Union Insurance

    Company, GeoVera Specialty Insurance Company and Transverse Specialty Insurance

    Company. See Policy attached as Exhibit “A.” The contributing insurers are essential to

    formation of the policy of insurance issued to Plaintiff and indispensable parties to this action.

           Florida courts have recognized insurance carriers as indispensable parties when they are

    needed to “facilitate construction of the [insurance] policies.” See Pensacola Junior College v.

    Montgomery, 539 So. 2d 1153 (Fla. 1st DCA 1989) (stating “we now hold that the insurance

    companies were indispensable parties for purposes of the subsequent hearing on the issue of

    excess coverage . . . it was absolutely essential in the instant case in order to resolve the issue of

    excess coverage to have the insurance companies joined to facilitate construction of the

    policies”).

           In this case, Indian Harbor Insurance Company, QBE Specialty Insurance Company,

    Steadfast Insurance Company, General Security Indemnity Company of Arizona, United

    Specialty Insurance Company, Lexington Insurance Company, HDI Global Specialty SE, Old

    Republic Union Insurance Company, GeoVera Specialty Insurance Company and Transverse

    Specialty Insurance Company, which are allocated certain liabilities under the policy, along with



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    Certain Underwriters, are essential to complete construction of the policy of insurance with the

    Plaintiff, making them indispensable parties to the instant action.

           Plaintiff failed to join Indian Harbor Insurance Company, QBE Specialty Insurance

    Company, Steadfast Insurance Company, General Security Indemnity Company of Arizona,

    United Specialty Insurance Company, Lexington Insurance Company, HDI Global Specialty SE,

    Old Republic Union Insurance Company, GeoVera Specialty Insurance Company and

    Transverse Specialty Insurance Company as parties to this lawsuit and therefore, Plaintiff’s

    action must be dismissed. See Insurance Co. of North America v. Braddon, 285 So. 2d 634, 634

    (Fla. 3d DCA 1973) (remanding with directions to dismiss the First Amended Complaint for

    failure to join an indispensable party); see also Mantis v. Hinckley, 547 So. 2d 292, 293 (Fla. 4th

    DCA 1989) (finding petitioners demonstrated that the trial court departed from the essential

    requirements of law by failing to grant motion to dismiss for failure to join indispensable party);

    see also Fresh Del Monte Produce, N.V. v. Chiquita Intern. Ltd., 664 So. 2d 263, n.3 (Fla. 3d

    DCA 1996) (allowing introduction of evidence outside of the Complaint in support of a Motion

    to Dismiss regarding indispensable parties).

           II.     Florida State Court is an Improper Venue.

           The Policy at issue contains an arbitration clause which requires that “[a]ll matters in

    difference between the Insured and the Companies” are subject to arbitration in New York and

    will be governed by New York Law:

           SECTION VII – CONDITIONS
           ***
           C. ARBITRATION CLAUSE: All matters in difference between the Insured and
           the Companies (hereinafter referred to as “the parties”) in relation to this
           insurance, including its formation and validity, and whether arising during or after
           the period of this insurance, shall be referred to an Arbitration Tribunal in the
           manner hereinafter set out.



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           Unless the parties agree upon a single Arbitrator within thirty days of one
           receiving a written request from the other for Arbitration, the Claimant (the party
           requesting Arbitration) shall appoint his Arbitrator and give written notice thereof
           to the Respondent. Within thirty days of receiving such notice, the Respondent
           shall appoint his Arbitrator and give written notice thereof to the Claimant, failing
           which the Claimant may nominate an Arbitrator on behalf of the Respondent.

           Should the Arbitrators fail to agree, they shall appoint, by mutual agreement only,
           an Umpire to whom the matter in difference shall be referred. If the Arbitrators
           cannot agree to an Umpire, either may request the selection be made by a judge of
           a New York court.

           Unless the parties otherwise agree, the Arbitration Tribunal shall consist of
           persons employed or engaged in a senior position in Insurance underwriting or
           claims.

           The Arbitration Tribunal shall have power to fix all procedural rules for the
           holding of the Arbitration including discretionary power to make orders as to any
           matters which it may consider proper in the circumstances of the case with regard
           to pleadings, discovery, inspection of documents, examination of witnesses and
           any other matter whatsoever relating to the conduct of the Arbitration and may
           receive and act upon such evidence whether oral or written strictly admissible or
           not as it shall in its discretion think fit.

           Each party will pay its chosen Arbitrator, and also bear the other expenses of the
           Arbitration and Umpire equally.

           The seat of the Arbitration shall be in New York and the Arbitration Tribunal
           shall apply the law of New York as the proper law of this insurance.

           The Arbitration Tribunal may not award exemplary, punitive, multiple,
           consequential, or other damages of a similar nature.

           A decision agreed to by any two members of the Arbitration Tribunal shall be
           binding. The award of the Arbitration Tribunal shall be in writing and binding
           upon the parties who covenant to carry out the same. If either of the parties should
           fail to carry out any award the other may apply for its enforcement to a court of
           competent jurisdiction in any territory in which the party in default is domiciled
           or has assets or carries on business.

           See Ex. A at page 24 of 42 (emphasis added).

           As recognized in Underwriters at Lloyd's, London v. Osting-Schwinn, 613 F.3d 1079

    (11th Cir. 2010), Plaintiff, Certain Underwriters, is a British organization, which provides



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    infrastructure for individual underwriters, also known as syndicate insurers1. The Policy at issue

    in this case was issued pursuant to the Florida Surplus Lines Law and the participating insurers

    are named on the policy of insurance. See Ex A.

            In Land O’Sun Mgmet. Corp. v. Commerce & Indus. Ins. Co., 961 So. 2d 1078 (1st DCA

    2007), the First District Court of Appeal (“DCA”) affirmed a trial court’s order dismissing a

    complaint for improper venue where the insurance policy contained a choice of law and forum

    selection clause, which stated in relevant part: “[i]f the Company and the Insured disagree

    about the meaning, interpretation or operation of any term or condition of this Policy and

    the disagreement results in litigation, arbitration or other form of dispute resolution, then

    such litigation, arbitration or other form of dispute resolution shall take place in the state

    of New York and New York law shall apply.” Id. at 1079 (emphasis added). The Court went

    on to explain that a “mandatory forum selection clause must be enforced unless it is shown to be

    unreasonable or unjust. Id. (citing Manrique v. Fabbri, 493 So. 2d 437, 440 (Fla. 1986)).

            The Court further stated that “[i]n order to show that a clause is unreasonable, the party

    seeking to escape the clause must demonstrate more than ‘mere inconvenience or additional

    expense.’" Id. at n.4. The Court cited a three prong test adopted in Manrique, which “requires

    that the chosen forum not be the result of unequal bargaining power by one of the parties; that

    enforcement of the agreement does not contravene strong public policy enunciated by statute or

    judicial fiat in the forum where the litigation is required to be pursued or in the excluded forum;



    1
      As stated in Underwriters at Lloyd's, London v. Osting-Schwinn, 613 F.3d 1079 (11th Cir. 2010), Lloyd’s itself “is
    not an insurance company, but rather a British organization that provides infrastructure for the international
    insurance market.” Id. at 1083. It is the individual underwriters operating within the Lloyd’s infrastructure that
    underwrite policies. See id. “Names underwrite insurance through administrative entities called syndicates, which
    cumulatively assume the risk of a particular policy.” Id. at 1083. “Individual underwriters, known as ‘Names’ or
    ‘members,’ assume the risk of the insurance loss. Names can be people or corporations; they sign up for certain
    percentages of various risks across several policies.” Id.


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    and that the clause does not transfer an essentially local dispute into a foreign forum.”. Id. at

    1080.

              Additionally, in Ill. Union Ins. Co. v. Co-Free, Inc., 128 So. 3d 820 (1st DCA 2013), a

    surplus lines insurance carrier filed a motion to dismiss for improper venue based upon the

    following provision:

              J. Jurisdiction and Venue

              It is agreed that in the event of the failure of the Insurer to pay any amount
              claimed to be due hereunder, the Insurer and the "Insured" will submit to the
              Jurisdiction of the State of New York and will comply with all requirements
              necessary to give such court Jurisdiction. Nothing in this clause constitutes or
              should be understood to constitute a waiver of the Insurer's right to remove an
              action to a United States District Court.

    Id. at 822.

              The trial court denied the motion for dismissal and was reversed by the First District

    Court of Appeal. Id. The First District Court of Appeal stated that Plaintiff failed to show how

    the foreign forum selection clause violated any of the Manrique factors and that “additional

    expenses or mere inconvenience is not enough to invalidate a foreign forum selection clause. Id.

    at 824.

              In this case, Plaintiff’s claim is for breach of policy due to Defendant’s coverage

    determination as well as request for declaratory judgment as Plaintiff is “in doubt” as to whether

    Plaintiff is entitled to damages related to the alleged loss. See Complaint at ¶ 8, 16. Ultimately,

    Plaintiff requests for relief arise from a dispute as to a “matter in difference” between Plaintiff

    and Defendant and because the arbitration provision of the Policy encompasses all “differences”

    between the parties, Plaintiff’s breach of contract and declaratory relief claims are subject to

    arbitration and must be governed by New York law—not Florida Law. Accordingly, this case

    should be dismissed. (See Ill. Union Ins. Co. v. Co-Free, Inc., 128 So. 3d 820 (1st DCA 2013)

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    and Land O’Sun Mgmet. Corp. v. Commerce & Indus. Ins. Co., 961 So. 2d 1078 (1st DCA

    2007).

             WHEREFORE, Defendant, CERTAIN UNDERWRITERS AT LLOYD’S, LONDON

    SUBSCRIBING TO POLICY NUMBER AMR-67296-02, respectfully requests this Court

    dismiss Plaintiff’s Complaint and grant such other relief that this Court deems just and proper as

    a matter of law.




                                                 /s/ Nicole M. Fluet
                                                  NICOLE M. FLUET, Fla. Bar No. 91077
                                                  nfluet@gallowaylawfirm.com
                                                  ANNA P. KIRKPATRICK, Fla. Bar No. 1004735
                                                  akirkpatrick@gallowaylawfirm.com
                                                  Galloway, Johnson, Tompkins, Burr & Smith, PLC
                                                  400 N. Ashley Drive, Suite 1000
                                                  Tampa, Florida 33602
                                                  (813) 977-1200
                                                  (813) 977-1288 (facsimile)
                                                  tampaservice@gallowaylawfirm.com
                                                  Counsel for Defendant.



                                    CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to

    the following via the Florida Courts E-Filing Portal and/or electronic mail delivery this April 4,

    2022.

    PETER MINEO JR.
    THE MINEO SALCEDO LAW FIRM,
    P.A.
    5600 Davie Road
    Davie, FL 333 14
    T: (954) 463-8100
    F: (954) 463-8106
    Service@mineolaw.com
    Counsel for Plaintiff
                                               Page 7 of 8
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                                       /s/ Nicole M. Fluet
                                        NICOLE M. FLUET
                                        ANNA P. KIRKPATRICK




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            IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                    IN AND FOR MIAMI-DADE COUNTY, FLORIDA

   HARVEST VALLEY, INC. and HARVEST
   VALLEY II, INC.,,

         Plaintiff,
                                              Case No.: 2022-003829-CA-01
   v.

   CERTAIN UNDERWRITERS AT LLOYD’S
   LONDON,

         Defendant.
   _______________________________________/




                                  EXHIBIT A
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                                FLORIDA NOTICES




                    FLORIDA SURPLUS LINES NOTICE (GUARANTY ACT)

       THIS INSURANCE IS ISSUED PURSUANT TO THE FLORIDA SURPLUS LINES
       LAW. PERSONS INSURED BY SURPLUS LINES CARRIERS DO NOT HAVE THE
       PROTECTION OF THE FLORIDA INSURANCE GUARANTY ACT TO THE EXTENT
       OF ANY RIGHT OF RECOVERY FOR THE OBLIGATION OF AN INSOLVENT
       UNLICENSED INSURER.




                                           ED
       LMA9037
       September 1, 2013




                                 FI
        TI
                  FLORIDA SURPLUS LINES NOTICE (RATES AND FORMS)
      ER

       SURPLUS LINES INSURERS’ POLICY RATES AND FORMS ARE NOT
       APPROVED BY ANY FLORIDA REGULATORY AGENCY.


       LMA9038
       September 1, 2013
C




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 Case 1:22-cv-21369-KMM Document 1-2 Entered on FLSD Docket 05/02/2022 Page 45 of 182

This Declaration Page is attached to and forms part of Certificate Provisions.
 Previous Account No.      746205                                                                         Account ID 847002
 Name and address of the Insured                                                         Producer
 Harvest Valley, Inc.                                                                    AmWINS Brokerage of the Midwest, LLC
 5151 NW 165th Street                                                                    10 S. Lasalle Street Suite 2000
 Hialeah, FL 33014                                                                       Chicago, IL 60603
   Effective From                          06/11/2021            To              06/11/2022        ;
   Both days at 12:01 a.m. standard time at the Insured's mailing address.
   Insurance is effective with: Insurer(s) as stated on Form AR CA - Contract Allocation Endorsement
This Policy consists of the following coverage parts for which a premium is indicated -
This premium may be subject to adjustment.
COMMERCIAL PROPERTY COVERAGE PART                                              Certificate/Policy No.                            Premium


Certain Underwriters at Lloyds, London                                         AMR-67296-02                Property     $          6,573




                                                                               ED
 One Lime Street, London EC3M 7HA                                                                          TRIA         $            0
 c/o Thompson Heath and Bond Limited, 107 Leadenhall Street, London EC3A 4AF
Indian Harbor Insurance Company                                                AMP7536716-02               Property     $          1,314
 505 Eagleview Blvd., Suite 100; Dept: Regulatory                                                          TRIA         $            0
 Exton, PA 19341-1120
QBE Specialty Insurance Company                                                MSP-28315-02                Property     $          9,095
 88 Pine Street, 16th Floor, Wall Street Plaza                                                             TRIA         $            0
 New York, NY 10005
Steadfast Insurance Company                                                    CPP0287382-02               Property     $          6,568
 1299 Zurich Way
 Schaumburg, IL 60196
General Security Indemnity Company of Arizona
 28 Liberty Street, Suite 5400
 New York, NY 10005
                                                            FI                 10T029659-12064-21-02
                                                                                                           TRIA

                                                                                                           Property
                                                                                                           TRIA
                                                                                                                        $

                                                                                                                        $
                                                                                                                        $
                                                                                                                                     0

                                                                                                                                   2,846
                                                                                                                                     0
                TI
United Specialty Insurance Company                                             USI-25276-02                Property     $          2,627
 1900 L. Don Dodson Drive                                                                                  TRIA         $            0
 Bedford, TX 76021
Lexington Insurance Company                                                    LEX-014714696-02            Property     $          4,378
 99 High Street                                                                                            TRIA         $            0
 Boston, MA 02110
              ER

HDI Global Specialty SE                                                        HAN-22638-02                Property     $          2,189
 Roderbruchstrasse 26, 30655 Hannover, Germany                                                             TRIA         $            0
 Attn: Ralph Beutter
Old Republic Union Insurance Company                                           ORAMPR007544-02             Property     $          2,189
 370 North Michigan Avenue                                                                                 TRIA         $            0
 Chicago, IL 60601
GeoVera Specialty Insurance Company                                            GVS-13741-00                Property     $          2,408
 1455 Oliver Road                                                                                          TRIA         $            0
C



 Fairfield, CA 94534
Transverse Specialty Insurance Company                                         TSAMPR0003209-00            Property     $          4,378
 155 Village Boulevard, Ste 205                                                                            TRIA         $            0
 Princeton, NJ 08540
                                                                                                   Inspection Fee       $            0


                                                                                                   Total                $        44,565.00
Minimum Earned Premium =               $ 15,598



   Dated                          07/01/21                 By
                                                                  Correspondent and/or Program Manager for the Company(ies)
                                                                  AmRisc, LLC, 20405 SH 249, Suite 430, Houston, TX 77070

State stamp if applicable                                The Correspondent and/or Program Manager is not an Insurer hereunder and neither
CERTCO 01 19                                             is nor shall be liable for any loss or claim whatsoever.
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              SCHEDULE OF FORMS AND ENDORSEMENTS
Account No.             NAMED INSURED
847002                  Harvest Valley, Inc.

                                         Forms and Endorsements

LMA 9037-38 09 01 13            FLORIDA NOTICES
CERTCO 01 19                    DECLARATION PAGE
FORMS SCHEDULE                  SCHEDULE OF FORMS AND ENDORSEMENTS
CHANGE END PAGE                 POLICY ENDORSEMENT PAGE
AR CA 03 18                     CONTRACT ALLOCATION ENDORSEMENT
COMPASS CCP 01 17               CAT COVERED PROPERTY ENDORSEMENT
COMPASS SUP DECL 04 18          COMPASS SUPPLEMENTAL DECLARATIONS
                                COMPASS COMMERCIAL PROPERTY FORM




                                                      ED
COMPASS 04 18
AR Compass Change AR EP 04 20   COMPASS CHANGE - EARNED PREMIUM ENDORSEMENT
AR Compass Change PCDE 02 20    COMPASS CHANGE - PROPERTY CYBER AND DATA ENDORSEMENT
AR EB 10 16                     EQUIPMENT BREAKDOWN COVERAGE SCHEDULE
LLOYDS SOS 10 19                LLOYDS OF LONDON AMENDATORY ENDT
XL SOP 01 18                    INDIAN HARBOR INSURANCE COMPANY AMENDATORY ENDT
PN CW 01 0719                   FRAUD NOTICE
IL-2002 12-20                   QBE SERVICE OF PROCESS ENDT
STF-CL-111-A CW 11.08           STEADFAST INSURANCE COMPANY AMENDATORY ENDT
U-GU- 873-A CW 6.11
U-GU- 874-A CW 6.11
U-GU-1041-A LMA3100
VRS COS SOS – 02 21
AR CYBER 03 18
                                         FI
                                ZURICH DISCLOSURE STATEMENT
                                ZURICH DISCLOSURE NOTICE
                                OFAC NOTICE AND SANCTION LIMITATION CLAUSES
                                VARIOUS COMPANIES SERVICE OF SUIT CLAUSES ENDT
                                CYBER SUITE COVERAGE
           TI
AR COMPASS SINKHOLE 04 18       COMPASS SINKHOLE LOSS EXTENSION
AR Compass Safeguard 05 18      PROTECTIVE SAFEGUARDS
AR CRD 02 20                    COSMETIC ROOF DAMAGE RESTRICTION ENDT
AR CAC 01 20                    CONTACT AND COMPLAINTS NOTICE
AR TRIA EXCL 03 21              EXCLUSION OF CERTIFIED ACTS OF TERRORISM ENDT
         ER
C




                                      Additional Miscellaneous Forms




 Forms Schedule
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(The Attaching Clause needs to be completed only when this endorsement is issued subsequent to preparation of the policy.)

                                                              ENDORSEMENT 1
This endorsement, effective on                   06/11/2021          , at 12:01 A.M. standard time, forms a part of:
Account No.        847002

Certain Underwriters at Lloyds, London                                                                             AMR-67296-02
Indian Harbor Insurance Company                                                                                    AMP7536716-02
QBE Specialty Insurance Company                                                                                    MSP-28315-02
Steadfast Insurance Company                                                                                        CPP0287382-02
General Security Indemnity Company of Arizona                                                                      10T029659-12064-21-02
United Specialty Insurance Company                                                                                 USI-25276-02
Lexington Insurance Company                                                                                        LEX-014714696-02
HDI Global Specialty SE                                                                                            HAN-22638-02
Old Republic Union Insurance Company                                                                               ORAMPR007544-02
GeoVera Specialty Insurance Company                                                                                GVS-13741-00




                                                                            ED
Transverse Specialty Insurance Company                                                                             TSAMPR0003209-00

Issued to:       Harvest Valley, Inc.
By:              See Contract Allocation Endorsement AR CA




                                                          FI
1. This policy shall comply with laws and regulations of the controlling jurisdiction
   regarding cancellation and nonrenewal, and any provisions that conflict are hereby
   modified to comply minimally with such laws or regulations.
                                                                                                        Authorized Representative
               TI
2. The Compass Commercial Property Form, Section II, B, Exclusion 14 is deleted and
   replaced by the following:

      Lack of incoming electricity, fuel, water, gas, steam, refrigerant, or outgoing
      sewerage, or incoming or outgoing data or telecommunications, all of which are
             ER

      caused by an Occurrence away from the Location(s) insured under this Policy,
      unless physical damage not excluded by this Policy results, in which event, this
      Policy shall cover only such resulting damage.

3. Replacement Cost Valuation shall apply as regards to Real Property; Except
   roof coverings to be Actual Cash Value if originally installed or last fully
   replaced prior to 2016.

4. No coverage is provided for direct damage to or debris removal of Stock or
C



   Inventory.

5. All internal damage to refrigeration equipment as a result of water or
   contamination is excluded.

6. Coverage explicitly excludes all Flood including but not limited to Flood during
   windstorm events.

7. Coverage excludes all loss or damage directly or indirectly caused by any
   Named Storm in existence at time of written request to bind or inception of
   any new or additional exposure.

                                                    Printed/Issued On: 07/01/2021
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                                               Page 2

8. Any additional premium or return premium under $500 shall be waived, except for
   new perils or coverages added.

9. Warrant no losses in the last 5 years on properties to be covered unless specified
   in Property Application.

10. The complete Named Insured listing (if any) is per schedule on file with the
    Program Manager.




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                                Printed/Issued On: 07/01/2021
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           CONTRACT ALLOCATION ENDORSEMENT                                                                           Effective Date: 6/11/2021


This insurance is effected with certain insurance underwriters (hereinafter called the "Underwriters"). The following words shall be
deemed to be synonymous: "Underwriters", "Insurers" and "Company".
The liability of each Underwriter on this contract with the Insured is limited to the participation amount shown in the schedule below.
The liability of each separate contract listed and for each Underwriter represented thereby for any loss or losses or amounts payable
is several as to each and shall not exceed its participation percentage shown below and there is no joint liability of any Underwriters
pursuant to this contract. An Underwriter shall not have its liability hereunder increased or decreased by reason of failure or delay of
another Underwriter, its successors, assigns, or legal representatives. Any loss otherwise payable under the provisions of the
attached policy that exceeds the allocation of "Risk" as defined herein shall be bourne proportionately by the contracts as to their
limit of liability at the time and place of the loss bears to the total allocated limits herein.
This contract shall be constructed as a separate contract between the Insured and each of the Underwriters. This evidence of
coverage consists of separate sections of a composite insurance for all Underwriter's at Lloyd's combined and separate policies
issued by the insurance company(ies), all as identified below. This evidence of coverage does not constitute in any manner or form
a joint certificate of coverage by Underwriter's at Lloyd's with any other insurance company(ies).
In witness whereof, the following Underwriters execute and attest these presents, and subscribe for the amount of insurance
provided.




                                                                            ED
The security is as noted below.
   LAYER OF PARTICIPITATION             PERILS (AS PER            CONTRACT #              COMPANY         POLICY # /               PARTICIPITATION            rate
                                           POLICY)                                          CODE         CERTIFICATE #
    $100,000 excess of    Deductibles        CYB                      QBE21                  QBE           MSP-28315-02        $100,000          100.0000%   $0.000

   $5,948,000 excess of   Deductibles        EBD                 B123021AMR1088             Lloyds         AMR-67296-02        $5,948,000        100.0000%   $0.000

   $5,948,000 excess of   Deductibles     AR EXCL NW                  GSI21                  GSI       10T029659-12064-21-02   $386,620            6.5000%   $0.224
   $5,948,000 excess of   Deductibles        NW                       GSI21                  GSI       10T029659-12064-21-02   $386,620            6.5000%   $0.512
   $5,948,000 excess of   Deductibles     AR EXCL NW               XLA21-TECH              IndianH        AMP7536716-02        $178,440            3.0000%   $0.224
   $5,948,000 excess of
   $5,948,000 excess of
   $5,948,000 excess of
   $5,948,000 excess of
   $5,948,000 excess of
                          Deductibles
                          Deductibles
                          Deductibles
                          Deductibles
                          Deductibles
                                             NW
                                          AR EXCL NW
                                          AR EXCL NW
                                          AR EXCL NW
                                             NW
                                                                         FI
                                                                   XLA21-TECH
                                                                 B123021AMR1022
                                                                 B123021AMR1348
                                                                 B123021AMR253-2
                                                                 B123021AMR1022
                                                                                           IndianH
                                                                                            Lloyds
                                                                                            Lloyds
                                                                                            Lloyds
                                                                                            Lloyds
                                                                                                          AMP7536716-02
                                                                                                           AMR-67296-02
                                                                                                           AMR-67296-02
                                                                                                           AMR-67296-02
                                                                                                           AMR-67296-02
                                                                                                                               $178,440
                                                                                                                               $118,960
                                                                                                                               $208,180
                                                                                                                               $505,580
                                                                                                                               $118,960
                                                                                                                                                   3.0000%
                                                                                                                                                   2.0000%
                                                                                                                                                   3.5000%
                                                                                                                                                   8.5000%
                                                                                                                                                   2.0000%
                                                                                                                                                             $0.512
                                                                                                                                                             $0.224
                                                                                                                                                             $0.224
                                                                                                                                                             $0.224
                                                                                                                                                             $0.512
                                                   TI
   $5,948,000 excess of   Deductibles        NW                  B123021AMR1348             Lloyds         AMR-67296-02        $208,180            3.5000%   $0.512
   $5,948,000 excess of   Deductibles        NW                   B123021AMR252             Lloyds         AMR-67296-02        $505,580            8.5000%   $0.512
   $5,948,000 excess of   Deductibles     AR EXCL NW               STF21-TECH              Steadfast      CPP0287382-02        $892,200           15.0000%   $0.224
   $5,948,000 excess of   Deductibles        NW                    STF21-TECH              Steadfast      CPP0287382-02        $892,200           15.0000%   $0.512
   $5,948,000 excess of   Deductibles     AR EXCL NW                  GVS21                  GVS           GVS-13741-00        $327,140            5.5000%   $0.224
   $5,948,000 excess of   Deductibles        NW                       GVS21                  GVS           GVS-13741-00        $327,140            5.5000%   $0.512
                     ER

   $5,948,000 excess of   Deductibles     AR EXCL NW                  HAN21                  HAN           HAN-22638-02        $297,400            5.0000%   $0.224
   $5,948,000 excess of   Deductibles        NW                       HAN21                  HAN           HAN-22638-02        $297,400            5.0000%   $0.512
   $5,948,000 excess of   Deductibles     AR EXCL NW                  LEX21                  LEX         LEX-014714696-02      $594,800           10.0000%   $0.224
   $5,948,000 excess of   Deductibles        NW                       LEX21                  LEX         LEX-014714696-02      $594,800           10.0000%   $0.512
   $5,948,000 excess of   Deductibles     AR EXCL NW                  QBE21                  QBE           MSP-28315-02        $1,189,600         20.0000%   $0.224
   $5,948,000 excess of   Deductibles        NW                       QBE21                  QBE           MSP-28315-02        $1,189,600         20.0000%   $0.512
   $5,948,000 excess of   Deductibles     AR EXCL NW                  ORU21                  ORU        ORAMPR007544-02        $297,400            5.0000%   $0.224
   $5,948,000 excess of   Deductibles        NW                       ORU21                  ORU        ORAMPR007544-02        $297,400            5.0000%   $0.512
   $5,948,000 excess of   Deductibles     AR EXCL NW                  TSIC21                 TSIC       TSAMPR0003209-00       $594,800           10.0000%   $0.224
   C



   $5,948,000 excess of   Deductibles        NW                       TSIC21                 TSIC       TSAMPR0003209-00       $594,800           10.0000%   $0.512
   $5,948,000 excess of   Deductibles     AR EXCL NW                   USI21                 USI           USI-25276-02        $356,880            6.0000%   $0.224
   $5,948,000 excess of   Deductibles        NW                        USI21                 USI           USI-25276-02        $356,880            6.0000%   $0.512




AR CA 03 18                                              Printed/Issued On:    7/1/2021                                                     Page 1 of 3
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ALLOCATION OF LIABILITY:
The contracts herein cover mutually exclusive perils. The maximum limit of liability is not to exceed the per occurrence
participation stated herein, regardless of whether multiple perils and multiple contracts are involved. Recognition of liability
by either of the contracts reduces the limit of liability of any corresponding contract.

The liability otherwise determined to exist under the terms and conditions of this policy shall be bourne by the contract
covering the proximate cause of loss identified in the allocation of security. Any loss covered by the policy by a peril not
allocated to a contract herein shall be bourne by the contract covering the most comprehensive perils, generally in
accordance with the ISO Special Causes of Loss Contracts. The liability of the policy shall not be increased or decreased
by any condition of the allocation to specific contracts on this endorsement.

Covered perils shall be defined by the applicable forms attached to this policy or otherwise as per the industry standard
definition.



SYMBOLS USED HEREIN:            CAUSE OF LOSS          SYMBOL               CODE       COMPANY
                                               Basic   BA                  Lloyds      Certain Underwriters at Lloyds




                                                                     ED
                                              Broad    BR                IndianH       Indian Harbor Insurance Company
                                             Special   SP                    QBE       QBE Specialty Insurance Co.
                                 All Risk excl F/Q     AR               Steadfast      Steadfast Insurance Company
                         Difference in Conditions      DIC                    GSI      General Security Indemnity Company of Arizona
                              Windstorm and Hail       WH                     USI      United Specialty Insurance Company
                               Named Windstorm         NW                    LEX       Lexington Insurance Company
                             All Other Windstorm       AOW                   HAN       HDI Global Specialty SE
                             Named Storm Flood         NF                    ORU       Old Republic Union Insurance Company
                                               Flood   F                     GVS       GeoVera Specialty Insurance Company
                                  All Other Flood
                                      Earthquake
                       Terrorism Coverages (T3)
         Certified Terrorism as Defined by TRIA,
                                        if available
                          Non-Certified Terrorism
                                                       AOF
                                                       Q
                                                       T
                                                       T1
                                                       T2
                                                                  FI        TSIC       Transverse Specialty Insurance Company
                                              TI
                           Equipment Breakdown         EBD
                                          Excluding    EXCL
                                           Including   INCL
         Cyber/Data Compromise or Cyber Suite          CYB
                 ER

  "Risk" as per contract terms, shall be defined as follows:
                                  Risk                       Basis of Limits
                                   Flood and Earthquake        Any One Occurrence and Aggregate
                                      Named Windstorm
                              Wind and Hail EXCL NW
                            All Other Perils EXCL F, Q
                                           T, T1 and T2
                         Maximum "Risk" is defined as          Any One Occurrence
   C



 This schedule forms a part of the original Account #                         847002

                              by




                                              Authorized Signature




AR CA 03 18                                       Printed/Issued On:   7/1/2021                                           Page 2 of 3
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                CERTAIN UNDERWRITER'S AT LLOYD'S, LONDON - Syndicate List

 If Certain Underwriter's at Lloyd's, London are listed as security on the Contract Allocation Endorsement attached to
 the policy, the list of syndicates is shown below:


              Account #: 847002

          Certificate #: AMR-67296-02


                            Syndicate Number           Syndicate Abbreviation
                                    510                             KLN
                                   2987                             BRT
                                    510                             KLN
                                   1886                             QBP
                                   1880                             TMK




                                                                  ED
                                   1618                              KII
                                   1880                             TMK
                                   2987                             BRT
                                    510                             KLN
                                   2988                             BRT
                                   1880                             TMK




                                                               FI
                                           TI
                  ER
   C




AR CA 03 18                                    Printed/Issued On:   7/1/2021                                         Page 3 of 3
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                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                         CAT COVERED PROPERTY ENDORSEMENT

       This endorsement modifies insurance provided by all insurance companies and Lloyd’s of
       London (all hereinafter, the “Companies”), subject to the Contract Allocation Endorsement AR
       CA, under the following form (if attached to this policy):

                          COMPASS COMMERCIAL PROPERTY FORM

       As used in this endorsement, the word “peril” is synonymous with “cause of loss”; and the term
       “limit of liability” is synonymous with “limit of insurance”. The word “you” shall refer to the
       Insured.




                                                                ED
       As respects the Perils of Hurricane, Windstorm and Hail, the following is added to Section III.B.,
       PROPERTY EXCLUDED in the Commercial Property Compass Form:

       PROPERTY NOT COVERED

       1. The Companies do not cover:

          a.     Other structures




           b.
                                                FI
                   The Companies do not cover other structures on the insured Location set apart from the
                   Building by clear space. This includes structures connected to the Building or mobile home by
                   only a fence, utility line or similar connection.

                 Animals, birds, or fish, unless owned by others and boarded by you, or if owned by you, only as
        TI
                 “stock” while inside a Building described on the Statement of Values on file with the Program
                 Manager;

           c.    Accounts, bank notes, bills, bullion, coins, currency, deeds, evidences of debt; letters of credit,
                 tickets and stamps, manuscripts, medals, money, notes, bank notes, passports, personal records, or
      ER

                 securities;

           d.    Articles of gold, gold ware; gold-plated ware, silverware, silver-plated ware, platinum; or platinum
                 ware, platinum-plated ware, pewter, pewter ware; or pewter-plated ware. This includes flatware,
                 hollowware, tea sets, trays and trophies made of or including silver, gold, pewter or platinum.

           e.    Aircraft and parts. Aircraft means any contrivance used or designed for flight, except model or
                 hobby aircraft not used or designed to carry people or cargo; or if owned by you, only as “stock”
                 while inside an insured Building;.
C



           f.    Motor vehicles or all other motorized land conveyances; trailers on wheels. This includes:
                 (1) Their equipment and accessories; or
                 (2) Electronic apparatus that is designed to be operated solely by use of the power from the
                     electrical system of motor vehicles or all other motorized land conveyances.
                     Electronic apparatus includes:
                     (a) Accessories or antennas; or
                     (b) Tapes, wires, records, discs or other media for use with any electronic apparatus described
                          in this item f.
                 The exclusion of property described in f.(1) and f.(2) above, applies only while the property is in
                 or upon the vehicle or conveyance.




       COMPASS CCP 01 17                                                                                Page 1 of 4
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               The Companies do cover vehicles or conveyances, other than autos or vehicles you hold for sale,
               not subject to motor vehicle registration contained within an enclosed structure on the insured
               Location which are:
               (a) contained within an enclosed structure; and
               (b) used to service an insured Location; or
               (c) designed for assisting the handicapped; and
               (d) are self-propelled machines; and
               (e) are not autos or vehicles you hold for sale.

          g.   Watercraft and their furnishings, other than rowboats and canoes out of water at the insured
               Location, unless:
               (1) owned by you only as “stock” when removed from, out of, or not over water; and
               (2) located in or within 100 feet of the insured Building.




                                                                ED
          h.   Data, including data stored in:
               (1) Books of account, card index systems, drawings or other paper records; or
               (2) Electronic data processing tapes, wires, records, drums, cells, discs, magnetic recording,
                   storage or other software media.

               However, the Companies do cover up to $1,000 under item h.(2) the cost of blank or unexposed
               recording or storage media and of prerecorded computer programs available in the market. This
               limit does not increase the contents Limit of Liability.




          i.

          j.
                                               FI
               If Electronic Data Processing is covered by this policy, this exclusion does not apply to the extent
               that coverage is provided under such extension.

               Credit cards or fund transfer cards;

               Business personal property while airborne, waterborne or in transit;
        TI
          k.   Pilings, piers, wharves, retaining walls, seawalls, bulkheads, beach or diving platforms or
               appurtenances, docks or boathouses;

          l.   Trees, shrubs, plants, flowers, lawns, tee boxes, fairways, greens, landscaping, bunkers or sand
      ER

               traps, or artifical turf;

          m. Windmills, wind pumps or their towers, or smokestacks;

          n. Awnings, canopies or other roof like projection or covering, whether fabric or not, whether
             permanent or retractable;

          o.   Steeples and fountains;
C



          p.   Grain, hay, straw and other crops, crop silos or their contents;

          q.   Bridges, boardwalks, trestles, catwalks, bleachers, dune walks, ramps, roadways, walks, decks,
               and patios and similar structures, or other paved or graveled surfaces, whether or not attached to
               the Building;

          r.   Amusement equipment;

          s.   Fabric windscreens on fences;

          t.   Any structure or attachment, whether attached or separate from the insured Building, where that
               structure’s roof coverings are of fabric, thatch, lattice, or slats and similar material; or where that




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                 structure’s exterior wall coverings are of fabric, thatch, lattice, or slats and similar material, and
                 personal property within or on these structures;

            u.   Slat houses, chickees, tiki huts, gazebos and pergolas or similar structures and personal property
                 contained within or on these structures;

            v.   Signs, scoreboards, radio or television antennas or aerials, satellite dishes (including lead-in
                 wiring, masts or towers and their supports), fences, gates, fountains, statues, monuments, utility
                 poles (including light fixtures), light poles, traffic lights and traffic signals.

                 However, the Companies do cover solar paneling and other similar water heating or electrical
                 apparatus when:
                 (1) outside the Building (including lead-in pipes, wiring, masts or towers and their supports), and
                 (2) permanently installed, and




                                                                 ED
                 (3) located on the insured Location, and
                 (4) used for the service of the covered property.

            w. Land, including land on which the other structures are located.

       2.   The Companies do cover the following property if, and only if, it is described as separate and specific
            items on the Statement of Values on file with the Program Manager::

            a.   Any structure, whether attached or separate from the covered Building, where that structure’s roof

            b.

            c.
                 covering is of screen;
                                                 FI
                 Signs, scoreboards, light poles, fences, gates, fountains, statues, monuments, artificial turf,
                 bleachers, property walls and similar structures separating parcels of land;
                 Greenhouses, glasshouses, hothouses, open-sided sheds, carports, cabanas, gazebos, swimming
                 pools, jacuzzis, hot tubs/spas, or similar structures, including their decking, but not:
                 (1) business personal property or contents contained within or on these structures, or
        TI
                 (2) when these structures are comprised of fabric, thatch, lattice, slats or similar material.
            d.   Enclosed garages, enclosed tool sheds, enclosed sheds, enclosed pump houses, enclosed boiler
                 sheds, enclosed pool houses, enclosed air conditioning sheds, enclosed guardhouses, enclosed
                 workshops, enclosed maintenance sheds, and the business personal property or contents contained
                 within or on the structures;
      ER

            e.   Any structure, including the contents and business personal property contained within or on the
                 structure, that is located in whole or in part over water;
            f.   Mobile homes, temporary Buildings, portable Buildings, travel trailers and similar structures or
                 conveyances, (including business personal property contained in or on or pertaining to these
                 structures or conveyances);
            g.   However, the Companies do not cover business personal property or contents of any structure or
                 other property regardless of whether it is described as separate and specific item(s) in the
                 Statement of Values on file with the Program Manager, when:
                 (1) Such structure is comprised of fabric, thatch, lattice, slats or similar material; or
C



                 (2) Not covered as explained in other sections of this policy.
            h.   Self-supported, stand alone canopies.


       LIMIT

       As respects property covered by this Endorsement, the Companies’ Limit of Liability shall be limited to the
       values shown on the Statement of Values on file with the Program Manager; however, in no event to
       exceed $100,000 per Occurrence as respects all property combined.




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       DEDUCTIBLE

       As respects property covered by this Endorsement, the Deductible shall be equal to 10% of the total
       insurable values of the property covered by this endorsement, subject to a minimum deductible of $100,000
       per Occurrence.

       This deductible shall be a separate deductible from any other deductible stated elsewhere in the policy, but
       only the largest minimum deductible shall apply.


       DEFINITIONS

       As used in this endorsement these words have the following meaning:




                                                               ED
       1.   “Windstorm” means wind, wind gusts, tornadoes or cyclones which result in direct physical loss or
            damage to property.

       2. “Hurricane” means:
           a. Coverage for loss or damage caused by the peril of windstorm during a hurricane.
           b. “Windstorm” for the purposes of subparagraph a. means wind, wind gusts, hail, rain, or tornadoes
              or cyclones caused by or resulting from a hurricane which results in direct physical loss or damage
              to property.
           c. “Hurricane” for the purposes of subparagraphs a. and b. means a storm system that has been

                                               FI
              declared to be a hurricane by the National Hurricane Center of the National Weather Service. The
              duration of the hurricane includes the time period, in the state of the insured Location:
              (1) Beginning at the time of a hurricane watch or warning is issued by the National Hurricane
                   Center of the National Weather Service;
              (2) Continuing for the time period during which the hurricane conditions exist; and
              (3) Ending 72 hours following the termination of the last hurricane watch or hurricane warning
        TI
                   issued by the National Hurricane Center of the National Weather Service.
      ER
C



       All other terms and conditions remain unchanged.




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                         COMPASS SUPPLEMENTAL DECLARATIONS
   This Compass Supplemental Declarations shall be attached to and form a part of the Compass 04 18 Form.


   A. LIMIT OF LIABILITY (“Policy Limit”): The total maximum liability for all insurance companies and Lloyd's
      of London, London England (all hereinafter referred to as the "Companies") in any one Occurrence as a
      result of all covered loss or damage regardless of the number of Locations, coverages, or perils insured
      under this Policy shall not exceed the lesser of: 1. (a. – f., as indicated by an ‘X’); OR 2.:
           1. a.       As respects each Location insured by this Policy: of the total combined stated values
                       for all categories of Covered Property and Time Element exposures shown for that
                       Location on the Statement of Values or other documentation on file with the Program
                       Manager for the Companies, as stated on the Policy Declaration page (hereinafter
                       referred to as the “Program Manager”);
                b. X   As respects each item (e.g. Building, Personal Property, Outdoor Property, Time




                                                             ED
                       Element) insured by this Policy: 100.00% of the stated value shown for that item on the
                       Statement of Values or other documentation on file with the Program Manager;
                c.     As respects each Location insured by this Policy: of the total combined stated values
                       for all categories of Covered Property shown for that Location; and separately, of the
                       total combined stated values for Time Element shown for that Location; all on the
                       Statement of Values or other documentation on file with the Program Manager;
                d.     As respects all Locations insured by this policy: Blanket over all Locations per the
                       Statement of Values or other documentation on file with the Program Manager.
                e.



                f.
                                              FI
                       As respects each line of coverage (e.g. Building, Personal Property, Outdoor Property,
                       Time Element), insured by this Policy: Blanket for each line of coverage over all
                       Locations per the Statement of Values or other documentation on file with the Program
                       Manager.
          TI
           OR
           2. $5,948,000 maximum limit of liability.
   B. SUBLIMITS OF LIABILITY: Sublimits of Liability stated below are included within and not in addition to
      the Limit of Liability shown in Paragraph A., above. These Sublimits of Liability and the specified limits of
        ER

      liability contained in the forms, endorsements and extensions attached, if any, are per Occurrence,
      unless otherwise indicated.
       If the words “NOT COVERED” are shown, instead of a limit, sublimit amount or number of days, or if a
       specified amount or number of days is not shown corresponding to any coverage or Covered Cause of
       Loss, then no coverage is provided for that coverage or Covered Cause of Loss.
C




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          1. Earth Movement:
              a. $NOT COVERED               Annual Aggregate


                   Subject to the Annual Aggregate Limit for all Earth Movement shown in B.1.a. above:
              b. $NOT COVERED               Annual Aggregate for all Earth Movement in California, Alaska and
                                            Hawaii, combined.


              c.   $NOT COVERED             Annual Aggregate for Pacific Northwest States, combined.


              d. $NOT COVERED               Annual Aggregate for New Madrid Earthquake Zone Counties,




                                                             ED
                                            combined.


          2. Flood:
              a. $NOT COVERED               Annual Aggregate


                   Subject to the Annual Aggregate Limit for all Flood shown in B.2.a. above:
              b. $NOT COVERED



          3. Named Storm:
                                              FI
                                            Annual Aggregate as respects Flood for all Locations combined,
                                            wholly or partially within Special Flood Hazard Areas.
         TI
                   $INCLUDED                Regardless of the number of Coverages, Locations or Perils
                                            involved, including, but not limited to, wind, wind gusts, tornados,
                                            cyclones, hail, or rain, all arising out of a Named Storm, the
                                            maximum amount the Companies will pay per Occurrence as
                                            respects all covered loss or damage.
       ER

      In the event a loss involves more than one of the above perils (B.1. - B.3.) and provided it is a covered
      peril(s), each peril’s sublimit above shall be considered a separate sublimit apart from the other peril’s
      sublimit above.
      However, the Sublimits below (B.4. - B.36.) shall also be considered sublimits within the above
      applicable covered peril sublimits (B.1. - B.3.).
          4. Accounts Receivable:                           $1,000,000
C



          5. Civil or Military Authority:                   N/A Days; but in no event will the Companies pay
                                                            more than $NOT COVERED.


          6. Contingent Time Element:                       N/A Days or $NOT COVERED; whichever is less.


          7. Contractor’s Equipment:                        $100,000 , as respects unscheduled: owned; leased;
                                                            rented; or borrowed; but not to exceed:
                                                            $25,000 any one unscheduled item




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          8. Course of Construction:                      $250,000 New Buildings or structures; excluding
                                                          Soft Costs.


          9. Course of Construction Soft Costs:           $25,000


          10. Debris Removal: The Companies’ total liability for Debris Removal per Occurrence for all
              insured Locations sustaining covered direct physical loss or damage payable under this Policy
              shall not exceed the lesser of:
              a. 25% of the amount of covered physical loss or damage to Covered Property (excluding Time
                 Element), payable for all insured Locations; or
              b. $5,000,000.




                                                            ED
              However, in the event the covered loss is subject to a sublimit, as stated in Sublimits B.4. - B.9.
              and B.11 - B.36., the related Debris Removal shall be included in that sublimit.
          11. Electronic Data and Media:                  $100,000


          12. Errors or Omissions:                        $25,000; subject to all other sublimits contained
                                                          herein.


          13. Extended Period of Indemnity:  FI
          14. Extra Expense/ Expediting Expense:
                                                          N/A Days


                                                          $NOT COVERED
         TI
          15. Fine Arts:                                  $250,000


          16. Fire Brigade Charges:                       $100,000
       ER

          17. Fungus, Molds, Mildew, Spores, Yeast: $15,000 Annual Aggregate


          18. Ingress/Egress Coverage:                    N/A Days ; but in no event will the Companies pay
                                                          more than $NOT COVERED.
C



          19. Leasehold Interest:                         $100,000


          20. Limited Pollution Coverage:                 $100,000 Annual Aggregate


          21. Lock Replacement:                           $25,000


          22. Miscellaneous Unnamed Locations:            $100,000; subject to all other sublimits contained
                                                          herein.



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          23. Newly Acquired Property:                   60 days , but in no event will the Companies pay
                                                         more than $1,000,000, subject to all other sublimits
                                                         contained herein.


          24. Ordinance or Law:
              a. Coverage A:                             Included in the Building Limit.


              b. Coverage B:                             20% of the scheduled Building value, not to exceed
                                                         $1,000,000.


              c.   Coverage C:                           Included with Coverage B.




                                                          ED
              d. Coverage D:                             Included in the Time Element (if covered).


              e. Coverage E:                             Included in Building Limit.


          25. Ordinary Payroll:                          N/A Days (provided values are included in the
                                                         reported Time Element Values).


          26. Plants, lawns, trees or shrubs:
                                             FI
              Any one plant, lawn, tree or shrub:
                                                         $100,000
                                                         $25,000
         TI
          27. Professional Fees:                         $100,000 Annual Aggregate


          28. Reclaiming, restoring or repairing land:   $10,000
       ER

          29. Reward Reimbursement:                      $25,000


          30. Royalties:                                 $NOT COVERED
C



          31. Service Interruption:                      $100,000; however, a qualifying period of 72 hours
                                                         applies to this coverage (provided Time Element is
                                                         reported and covered).


          32. Spoilage:                                  $25,000


          33. Time Element Monthly Limitation:           N/A ; applicable to all Time Element coverages,
                                                         except those that have a sublimit in this Paragraph B.


          34. Transit:                                   $100,000


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          35. Underground tanks, pipes, flues & drains: $50,000


          36. Valuable Papers and Records:                $1,000,000


   C. MAXIMUM AMOUNT PAYABLE: In the event of a Covered Cause of Loss hereunder, the total liability of
      the Companies shall be limited to the least of the following:
          1. The actual adjusted amount of loss, less applicable deductible(s), or
          2. The limit of liability or applicable sublimit of liability shown in this Compass Supplemental
             Declarations or endorsed hereon.
   D. DEDUCTIBLE: Each claim for loss or damage under this Policy shall be subject to a per Occurrence
      deductible amount of:




                                                            ED
          1.        $5,000 Property Damage & Time Element (if covered), combined; OR


                    $N/A    Property Damage; and


                    $N/A    Time Element (if covered).




          2. Flood:
                                             FI
      unless a specific deductible shown below applies for the indicated peril(s).


               a. $N/A Per Occurrence, except as follows in Subparagraphs D.2.b. & D.2.c.:
         TI
               b. As respects Locations wholly or partially within Special Flood Hazard Areas: $N/A


               c.   As respects Locations wholly or partially within Special Flood Hazard Areas or Zones B,
       ER

                    X500, or X-Shaded: $N/A


          3. Earth Movement:
               a. $N/A Per Occurrence, except as follows in Subparagraphs D.3.b., D.3.c., & D.3.d.:


               b. As respects Locations in California, Hawaii and Alaska:
C



                           N/A% of the TIV at each Location involved in the loss or damage, subject to a
                           minimum of $N/A any one Occurrence.




               c.   As respects Locations in the Pacific Northwest States:
                           N/A% of the TIV at each Location involved in the loss or damage, subject to a
                           minimum of $N/A any one Occurrence.




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              d. As respects Locations in the New Madrid Earthquake Zone Counties:
                          N/A% of the TIV at each Location involved in the loss or damage, subject to a
                          minimum of $N/A any one Occurrence.




          4. Windstorm or Hail:
              a. $25,000 Per Occurrence; or
                   $N/A     Per Occurrence, Per Location;


              except as follows in Subparagraphs D.4.b. & D.4.c.:
              b. Any loss arising out of a Named Storm (which includes Hurricane):




                                                            ED
                    1) 5.0% of the TIV at each Location, subject to a minimum deductible of $25,000 any
                       one Occurrence; as respects Locations in:
                            All Locations, as per Statement of Values on file with the Program Manager.


                    2) N/A% of the TIV at each Building or structure or outdoor property, subject to a
                       minimum deductible of $N/A any one Occurrence; as respects Locations in:




              c.
                            N/A.             FI
                   Any loss arising out of a Hurricane only:
         TI
                    1) N/A% of the TIV at each Location, subject to a minimum deductible of $N/A any one
                       Occurrence; as respects Locations in:
                            N/A.
       ER

                    2) N/A% of the TIV at each Building or structure or outdoor property, subject to a
                       minimum deductible of $N/A any one Occurrence; as respects Locations in:
                            N/A.


          5. The following five paragraphs (a - e) apply to Paragraphs D.1. through D.4., inclusive:
              a. TIV at each Location shall mean the sum of all reported values for Real Property, Personal
C



                 Property, Time Element, and any other values for that scheduled Location, as per the
                 Statement of Values on file with the Program Manager.
              b. TIV at each Building or structure or outdoor property shall mean the sum of all reported
                 values for Real Property, Personal Property, Time Element, and any other values for that
                 scheduled Building or scheduled structure or scheduled outdoor property, as per the
                 Statement of Values on file with the Program Manager.
              c.   In each case of loss or damage covered by this Policy, the Companies shall not be liable
                   unless the Insured sustains loss or damage in a single Occurrence greater than any
                   applicable deductible described herein and then, if this is a quota share Policy, only for each
                   Companies’ share in excess of such deductible. When this Policy covers more than one
                   Location, the deductible shall apply against the total loss or damage covered by this Policy in
                   any one Occurrence, unless otherwise stated in this Paragraph D.



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             d. If two or more peril deductible amounts provided in this Policy apply to a single Occurrence,
                the total to be deducted shall not exceed the largest deductible applicable, unless otherwise
                stated in this Policy. However, if a Time Element deductible and another deductible apply to
                a single occurrence, then the Companies shall apply both deductibles to the Occurrence.
             e. In the event the Deductible is “per Building” and, at the time of loss, the values shown on the
                Statement of Values on file with the Program Manager are not individually stated for each
                Building, Structure, Business Personal Property, or Time Element at each Location, the
                following shall apply to determine the breakdown of values (Building, Business Personal
                Property and Time Element) for each Building:
                     1) The value for each Building and structure will be determined by multiplying the total
                        reported Buildings and Structures value for that Location by the proportion that the
                        square footage of the individual Building or Structure bears to the total square footage
                        reported for all Buildings and Structures for that Location.
                     2) The value for Business Personal Property for each Building will be determined by
                        multiplying the total reported Business Personal Property value for that Location by




                                                          ED
                        the proportion that the square footage of the individual Building and Structure for that
                        Location bears to the total square footage reported for all Buildings and Structures for
                        that Location.
                     3) The value for the Business Income or Loss of Rents for each Building will be
                        determined by multiplying the total reported Business Income or Loss of Rents for
                        that Location by the proportion that the rentable square footage of the individual
                        Building or Structure for that Location bears to the total rentable square footage
                        reported for all Buildings and Structures for that Location.

                                           FI
         TI
       ER
C




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                          COMPASS COMMERCIAL PROPERTY FORM
    In consideration of the premium charged, this policy covers for direct physical loss of or damage to the
    Covered Property caused by a Covered Cause of Loss occurring during the policy period. Coverage shall
    be subject to the terms, conditions, definitions, exclusions, limitations and provisions contained herein.

                SECTION I – INSURED, ADDITIONAL INTERESTS & COVERAGE TERRITORY

    Terms which appear in boldface type have special meaning. See Section VIII. POLICY DEFINITIONS.

    A. NAMED INSURED: First Named Insured (as shown in the Declarations) and/or its affiliated and
       subsidiary companies and/or corporations as now exist or may hereafter be constituted or acquired
       including their interests as may appear in partnerships or joint ventures which the Insured is
       responsible or legally obligated to insure.




                                                            ED
    B. LOSS PAYEE(S), LENDER’S LOSS PAYEE(S), MORTGAGEE(S), AND ADDITIONAL INSURED(S):
       Per Certificates of Insurance (or similar document, list or schedule) on file with the Program Manager
       for the Companies, as stated on the Policy Declaration Page (hereafter referred to as the “Program
       Manager”). Any Certificates of Insurance issued in connection with this Policy shall be issued solely
       as a matter of convenience or information (and do not alter or amend coverage) for the addressee(s)
       or holders(s) of said Certificates of Insurance, except where any Loss Payee(s), Lender’s Loss
       Payee(s), Mortgagee(s), or Additional Insured(s) are named pursuant to the Special Provisions of
       said Certificate of Insurance. In the event any Loss Payee(s), Lender’s Loss Payee(s), Mortgagee(s),
       or Additional Insured(s) are so named by contract, this Policy shall be deemed to have endorsed
                                             FI
       accordingly, subject to all other terms, conditions and exclusions stated herein, and provided the
       Certificate of Insurance is issued prior to a loss. Such endorsement adding any Loss Payee(s),
       Lender’s Loss Payee(s), Mortgagee(s), or Additional Insured(s) will be deemed attached to the policy
       and the Insured will pay any required premium.
         TI
    C. COVERAGE TERRITORY: Coverage under this Policy applies to Occurrences within the United
       States of America and Canada.



                                  SECTION II – COVERED CAUSES OF LOSS
       ER

    A. COVERED CAUSES OF LOSS: This Policy insures against all risks of direct physical loss or
       damage to Covered Property, except as excluded.

    B. EXCLUSIONS: The Companies do not insure for loss or damage caused directly or indirectly by any
       of the following. Such loss or damage is excluded regardless of any other cause or event
       contributing concurrently or in any sequence to the loss or damage. These exclusions apply whether
       or not the loss event results in widespread damage or affects a substantial area:
C



        1.   Nuclear, Biological, Chemical and Radiological

             a. The Companies will not pay for any loss, damage, cost or expense, whether real or alleged,
                that is caused, results from, is exacerbated by or otherwise impacted by, either directly or
                indirectly, any of the following:
                     1) Nuclear Hazard – including, but not limited to, nuclear reaction, nuclear detonation,
                        nuclear radiation, radioactive contamination and all agents, materials, products or
                        substances, whether engineered or naturally occurring, involved therein or released
                        thereby;
                     2) Biological Hazard – including, but not limited to, any biological and/or poisonous or
                        pathogenic agent, material, product or substance, whether engineered or naturally
                        occurring, that induces or is capable of inducing physical distress, illness, or disease;



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                    3) Chemical Hazard – including, but not limited to, any chemical agent, material, product
                       or substance;
                    4) Radioactive Hazard – including, but not limited to, any electromagnetic, optical, or
                       ionizing radiation or energy, including all generators and emitters thereof, whether
                       engineered or naturally occurring.

            b. The provisions of subparagraphs a.2) and a.3) will not apply where the agent, material, product
               or substance at issue is utilized in the course of business by an Insured.

            c. Only if and to the extent required by state law, the following exception to the exclusions in
               Paragraph a. applies:

                 If a hazard excluded under Paragraph a. results in Fire (and provided Fire is a Covered
                 Peril), the Companies will pay for the loss, damage, cost or expense caused by that Fire,
                 subject to all applicable policy provisions including the Limit of Insurance on the affected
                 Covered Property. Such coverage for Fire applies only to direct loss or damage by Fire to




                                                             ED
                 Covered Property. This coverage does not apply to insurance provided under Time Element,
                 including but not limited to, Business Income, Rental Value or Extra Expense coverage or
                 endorsements that apply to those coverages.

       2.   a. War, hostile or warlike action in time of peace or war, whether or not declared, including
               action in hindering, combating, or defending against an actual, impending, or expected
               attack:


                                              FI
                 1) By any government or sovereign power (de jure or de facto) or by any authority
                    maintaining or using military, naval, or air forces; or

                 2) By military, naval, or air forces; or

                 3) By an agent of any such government, power, authority, or force;
        TI
            b. Any weapon of war employing atomic fission or radioactive force, whether in time of peace or
               war, whether or not its discharge was accidental; or

            c.   Insurrection, rebellion, revolution, civil war, usurped power, or action taken by governmental
                 authority in hindering combating, or defending against such Occurrence, seizure or
      ER

                 destruction;

            including any consequence of Subparagraphs 2.a., 2.b., or 2.c. above.

       3.   Any fraudulent or dishonest act or acts, intended to result in financial gain, committed alone or in
            collusion with others: by any proprietor, partner, director, trustee, officer or employee of the
            Insured (including leased employees), or by any party to whom the property may have been
            entrusted (other than a carrier for hire).
C



            However, a willful act of destruction by an employee of the Insured (including leased employees),
            or others listed above without the knowledge of the Insured is covered.

       4.   Asbestos

            a. The Companies will not pay for loss, damage or remediation expenses caused by or resulting
               from the presence of asbestos or asbestos-containing materials. As used in this exclusion,
               remediation expenses are expenses incurred for or in connection with the investigation,
               monitoring, removal, disposal, treatment, abatement or neutralization of asbestos or
               asbestos-containing materials to the extent required by federal, state or local laws,
               regulations or statutes or any subsequent amendments thereof to address asbestos.




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            b. However, this Asbestos exclusion does not apply to the extent that coverage is provided
               under the following:

                    This policy insures asbestos physically incorporated in an insured Building or structure,
                    and then only that part of the asbestos which has been physically damaged during the
                    policy period by a Defined Cause of Loss.

                    This coverage is subject to all limitations in the policy and, in addition, to each of the
                    following specific limitations:

                    1) The said Building or structure must be insured under this policy for damage by this
                       Defined Cause of Loss.

                    2) The Defined Cause of Loss must be the immediate, sole cause of the damage to
                       the asbestos.




                                                          ED
                    3) The Insured must report to the Companies the existence and cost of the damage as
                       soon as practicable after the Defined Cause of Loss first damaged the asbestos.
                       However, this policy does not insure any such damage first reported to the
                       Companies more than 12 (twelve) months after the expiration, or termination, of the
                       policy period.

                    4) Insurance under this policy in respect of asbestos shall not include any sum relating
                       to:
                           a) any faults in the design, manufacture or installation of the asbestos;




       5.
                                            FI
                           b) asbestos not physically damaged by a Defined Cause of Loss including any
                           governmental or regulatory authority direction or request of whatsoever nature
                           relating to undamaged asbestos.

            Pollution/Contamination
        TI
            NMA 2340 11/24/1988 (USA date) - amended

            Seepage And/Or Pollution And/Or Contamination Exclusion

            This Policy does not insure:
      ER

            a. any loss, damage, cost or expense, or

            b. any increase in insured loss, damage, cost or expense, or

            c. any loss, damage, cost, expense, fine or penalty, which is incurred, sustained or imposed by
               order, direction, instruction or request of, or by any agreement with, any court, government
               agency or any public, civil or military authority, or threat thereof, (and whether or not as a
               result of public or private litigation),
C



            which arises from any kind of seepage or any kind of pollution and/or contamination, or threat
            thereof, whether or not caused by or resulting from a peril insured, or from steps or measures
            taken in connection with the avoidance, prevention, abatement, mitigation, remediation, clean-up
            or removal of such seepage or pollution and/or contamination or threat thereof.

            The term “any kind of seepage or any kind of pollution and/or contamination” as used in this
            clause includes (but is not limited to):

            a. seepage of, or pollution and/or contamination by, anything, including but not limited to, any
               material designated as a “hazardous substance” by the United States Environmental
               Protection Agency or as a “hazardous material” by the United States Department of
               Transportation, or defined as a “toxic substance” by the Canadian Environmental Protection
               Act for the purposes of Part II of that Act, or any substance designated or defined as toxic,


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                dangerous, hazardous or deleterious to persons or the environment under any other Federal,
                State, Provincial, Municipal or other law, ordinance or regulation; and

           b.    the presence, existence, or release of anything which endangers or threatens to endanger
                the health, safety or welfare of persons or the environment.

       6. Delay, loss of market, or loss of use.

       7. Indirect, remote, or consequential loss or damage.

       8. Mysterious disappearance or loss or shortage disclosed on taking inventory or any unexplained
          loss.

       9. Voluntary parting with title or possession of any property, including voluntary parting which is
          the result of any fraudulent scheme, trick, devise, false pretenses, or any other similar act.

       10. Faulty workmanship, material, construction, installation, or design from any cause; or faulty




                                                            ED
           planning, zoning, development, surveying or siting; all unless physical damage not excluded by
           this Policy ensues, in which event, this Policy will cover only such resulting damage.

       11. Loss attributable to manufacturing or processing operations which result in damage to stock or
           materials while such stock or materials are being processed, manufactured, tested or
           otherwise being worked upon; all unless physical damage not excluded by this Policy results, in
           which event, this Policy shall cover only such resulting damage.

       12. Deterioration, depletion, rust, corrosion, erosion, wet or dry rot, decay, evaporation, leakage,

                                             FI
           wear and tear, animal, insect or vermin damage, inherent vice or latent defect, shrinkage or
           change in color, flavor, texture or finish, extremes or changes of temperature damage or
           changes in relative humidity damage, all whether atmospheric or not; all unless physical
           damage not excluded by this Policy results, in which event, this Policy shall cover only such
           resulting damage.
        TI
       13. Settling, cracking, shrinking, bulging, or expansion of pavements, paved surfaces, walkways,
           drainage systems or roadways, foundations, walls, floors, or ceilings; all unless physical
           damage not excluded by this Policy results, in which event, this Policy will cover only such
           resulting damage.
      ER

       14. Lack of incoming electricity, fuel, water, gas, steam, refrigerant, or outgoing sewerage, or
           incoming or outgoing data or telecommunications, all of which are caused by an Occurrence
           away from the Location(s) insured under this Policy, unless specifically provided herein and
           only to the extent provided herein.

       15. Costs, expenses, fines or penalties incurred or sustained by or imposed on the Insured at the
           order of any government agency, court or other authority arising from any cause whatsoever.

       16. Electronic Data & Media
C



           Damage or consequential loss directly or indirectly caused by, consisting of, or arising out of:

           a. Any functioning or malfunctioning of the internet or similar facility, or of any intranet or private
              network or similar facility,

           b. Any corruption, destruction, distortion, erasure, “computer virus”, or any other loss or damage
              to data, media, software, or any kind or programming or instruction set,

           c.   Loss of use or functionality, whether partial or entire, of data, media, coding, program,
                software, any computer or computer system or other device dependent upon any microchip
                or embedded logic, and any ensuing inability or failure of the Insured to conduct business, as
                a result thereof.



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           “Computer Virus” means a set of corrupting, harmful or otherwise unauthorized instructions or
           code including a set of maliciously introduced unauthorized instructions or code, programmatic or
           otherwise, that propagate themselves through a computer system or network of whatsoever
           nature. “Computer Virus” includes, but is not limited to, “Trojan Horses,” “worms” and “time or
           logic bombs”.

           However, in the event that a Defined Cause of Loss results from any of the matters described in
           paragraphs a. – c. above, this Policy, subject to all its terms, conditions and exclusions, will cover
           physical damage occurring during the policy period to property insured by this Policy directly
           caused by such Defined Cause of Loss.

       17. Electronic Date Recognition
           NMA 2802 12/17/1997 (USA Date) - amended

           This policy does not cover any loss, damage, cost, claim or expense, whether preventative,
           remedial or otherwise, directly or indirectly arising out of or relating to:




                                                           ED
           a. the calculations, comparison, differentiation, sequencing or processing of data involving the
              date change to the year 2000, or any other date change, including leap year calculations, by
              any computer system, hardware, program or software and/or any microchip, integrated circuit
              or similar device in computer equipment or non-computer equipment, whether the property of
              the Insured or not; or

           b. any change, alteration or modification involving the date change to the year 2000, or any
              other date change, including leap year calculations, to any such computer system, hardware,

                                            FI
              program or software and/or any microchip, integrated circuit or similar device in computer
              equipment or non-computer equipment, whether the property of the Insured or not.

           This clause applies regardless of any other cause or event that contributes concurrently or in any
           sequence to the loss, damage, cost, claim or expense.
        TI
       18. Loss or damage in the form of, caused by, arising out of, contributed to, or resulting from
           Fungus, Mold(s), Mildew, Spores or Yeast; or any spores or toxins created or produced by or
           emanating from such Fungus, Mold(s), Mildew, Spores or Yeast.

           However, this exclusion shall not apply provided the Insured establishes that the fungus,
      ER

           mold(s), mildew, spores or yeast is a direct result of a covered loss from a Defined Cause of
           Loss or Flood (provided Flood is a covered peril) and provided this loss is reported to the
           Companies within twelve (12) months from the expiration date of the policy. The Companies’
           liability shall then be limited to the sublimit stated elsewhere.

       19. Hydrostatic, pneumatic or gas pressure test of any boiler or pressure vessel, or an electrical
           insulation breakdown test of any type of electrical equipment, unless physical damage not
           excluded by this Policy results, in which event, this Policy will cover only such resulting damage.
C



       20. Loss or damage arising out of:

            a. A building or any part of a building that is in danger of falling down or caving in,

            b. Any part of a building that has separated from another part of the building, or

            c.   A building or any part of a building that is standing which shows evidence of cracking,
                 bulging, sagging, bending, leaning, settling, shrinkage or expansion.

           However, the Companies do cover loss or damage arising out of Collapse.

       21. Equipment Breakdown to vehicles (or any equipment on vehicles), or contractors equipment,
           including but not limited to draglines, cranes, excavation or construction equipment; all unless




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           physical damage not excluded by this Policy results to other insured Property, in which event, this
           Policy will cover only such resulting damage.


       22. Terrorism
           NMA 2920; 10/8/01 (USA Date) - amended

           This policy excludes loss, damage, cost or expense of whatsoever nature directly or indirectly
           caused by, resulting from or in connection with any act of terrorism regardless of any other cause
           or event contributing concurrently or in any other sequence to the loss.

           For the purpose of this exclusion, an “act of terrorism” means an act, including but not limited to
           the use of force or violence and/or the threat thereof, of any person or group(s) of persons,
           whether acting alone or on behalf of or in connection with any organization(s) or government(s),
           committed for political, religious, ideological or similar purposes including the intention to
           influence any government and/or to put the public, or any section of the public, in fear.




                                                          ED
           This clause also excludes loss, damage, cost or expense of whatsoever nature directly or
           indirectly caused by, resulting from or in connection with any action taken in controlling,
           preventing, suppressing or in any way relating to any act of terrorism.

           If the Companies allege that by reason of this exclusion, any loss, damage, cost or expense is
           not covered by this insurance, the burden of proving the contrary shall be upon the Insured.

           In the event any portion of this exclusion is found to be invalid or unenforceable, the remainder


       23. Loss Due To Virus Or Bacteria
           AR 01 40 07 - amended
                                           FI
           shall remain in full force and effect.




           a. The exclusion set forth in subparagraph b. below, applies to all coverage under all forms and
        TI
               endorsements that comprise this Policy, including but not limited to forms or endorsements
               that cover property damage to buildings or personal property and forms or endorsements
               that cover business income extra expense or action of civil authority.

           b. The Companies will not pay for loss or damage caused by or resulting from any virus,
      ER

              bacterium or other microorganism that induces or is capable of inducing physical distress,
              illness or disease.

           However, this exclusion does not apply to loss or damage caused by or resulting from fungus,
           mold(s), mildew, spores or yeast. Such loss or damage is addressed in a separate
           exclusion in this Policy.

           c. With respect to any loss or damage subject to the exclusion in subparagraph b. above, such
              exclusion supersedes any exclusion relating to pollutants or contaminants.
C



           d. The terms of the exclusion in subparagraph b. above, or the inapplicability of this exclusion
              to a particular loss, do not serve to create coverage for any loss that would otherwise be
              excluded by this Policy.

       24. Water under the ground surface pressing on, or flowing or seeping through:

           a. Foundations, walls, floors or paved surfaces;

           b. Basements, whether paved or not;

           c. Doors, windows or other openings.




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           However: a) this exclusion shall not apply to water damage to Covered Property caused by the
           breakage of underground pipes or containment structures; or b) in the event the Insured has
           protective devices to abate damage due to water from under the ground surface pressing on, or
           flowing or seeping through a. or b. above, and such protective devices fail due to a Covered
           Cause of Loss or Equipment Breakdown, then this policy shall cover any resulting water damage.

       25. Rain, snow, ice or sleet to personal property in the open.

       26. Loss or damage by rain, snow, or dust, whether driven by wind or not, to the interior of any
           building or structure, or the property inside the building or structure, unless the building or
           structure first sustains wind or hail damage to its roof or walls through which the rain, snow, sand
           or dust enters. The above exclusion shall not apply to loss or damage caused by or resulting
           from the thawing of snow, sleet or ice on the Building or structure (also known as ice damming).

           This exclusion shall also apply to any Building or structure in the Course of Construction at any
           time when the roof or outside walls are incomplete. “Incomplete” means at the time of loss or
           damage, the envelope of the Building or structure, which includes the exterior walls, windows and




                                                           ED
           roofing system, are not watertight based on the Building’s or structure’s design.

       27. Seizure or destruction of property by order of governmental authority. However, coverage is
           provided for loss or damage caused by or resulting from acts of destruction ordered by
           governmental authority and taken at the time of a fire to prevent its spread, if the fire is a
           Covered Cause of Loss.

       28. Equipment Breakdown (see Definitions); unless physical damage not excluded by this Policy


       29. Hot Testing; which means:
                                            FI
           results, in which event, this Policy shall cover only such resulting damage.



           a. Commissioning or performance testing;
        TI
           b. Any testing involving the introduction of flammable or explosive feedstock beginning when
              such feedstock is first introduced; or

           c. The rotational operation of any turbine or generator, except for rotational operation by turning
              gear only when the turbine or generator is not energized.
      ER

           Hot Testing does not mean the commissioning or performance testing of:

                    Heating; Cooling; Air handling; Electrical; Mechanical; Hydraulic; Hydrostatic; or
                    Pneumatic; all being systems that are part of the Building systems or construction works.

       30. Loss, damage, cost, or expense covered under any express or implied guarantee or warranty
           from a manufacturer or supplier, whether or not such manufacturer or supplier is an Insured
           under this policy.
C



       31. Named Storm Restriction: This policy shall exclude all damage directly or indirectly caused by a
           Named Storm that is in existence at the time that written request to bind is given to the Program
           Manager, until coverage for such Named Storm has been bound by written agreement between
           the Program Manager and the First Named Insured. In addition, no increase in limits or
           additional coverages will be provided for any insured Location(s) threatened by such Named
           Storm, until coverage for such Named Storm has been bound by written agreement between the
           Program Manager and the First Named Insured.

       32. Loss or damage to contractor’s equipment caused by the weight of a load exceeding the
           registered lifting capacity of the machine.

       33. Pre-existing Damage: This policy shall exclude any loss or damage directly or indirectly caused
           by, resulting from or contributed to, any pre-existing building damage at the time of this Policy’s



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           inception or attachment of coverage. This exclusion shall not apply: a) upon the substantial
           completion of repair or reconstruction of the damaged building; or b) if the affected building is a
           renewal of an expiring policy written by the Program Manager.

       34. Loss or damage arising out of any peril for which the words NOT COVERED or for which an
           amount is not shown in the Compass Supplemental Declarations, Subparagraph B.

           If Earth Movement is NOT COVERED, this policy shall still cover resulting Fire, Explosion or
           Sprinkler Leakage, provided Fire, Explosion or Sprinkler Leakage is a Covered Cause of Loss.

           If Flood is NOT COVERED, this policy shall still cover resulting Fire or Explosion, provided Fire or
           Explosion is a Covered Cause of Loss.



                                    SECTION III – COVERED PROPERTY




                                                          ED
    A. COVERED PROPERTY: Unless otherwise excluded, this Policy covers the following property owned
       by the Insured or in which the Insured has an insurable interest while at the scheduled Locations
       and within 1,000 feet thereof (except contractor’s equipment shall be per the Policy Coverage
       Territory):

       1. Real and Personal property, including Contractor’s Equipment;

       2. Buildings or structures while in the course of construction, including alterations and additions to


          site and awaiting installation.
                                            FI
          completed buildings and structures, including all building materials, equipment, supplies and
          machinery intended to become a permanent part of the completed building or structure while on


       3. Improvements and betterments to buildings or structures. Such Improvements and Betterments
          shall be considered Real property.
         TI
       4. At the option of the Insured, Personal property, other than motor vehicles, of officers and
          employees of the Insured;

       5. Personal property of others, other than motor vehicles, in the care, custody and control of the
          Insured, which the Insured is under obligation to keep insured for physical loss or damage of the
       ER

          type insured against by this Policy;

       6. Contractor’s and vendor’s interests in property covered to the extent of the Insured's liability
          imposed by law or assumed by written contract prior to the date of direct physical loss or
          damage. However, such interests will not extend to any Time Element coverage provided by this
          Policy.

       7. Real and Personal Property and related Time Element Loss at Miscellaneous Unnamed
C



          Locations(s) owned by the Insured or for which the Insured is legally responsible for, and within
          the Coverage Territory of the policy. This shall also include Personal Property of the Insured
          while temporarily at Miscellaneous Unnamed Location(s), including Property on Exhibitions
          and Salesman’s Samples.

    B. PROPERTY EXCLUDED: This Policy does not insure against loss or damage to:

       1. Currency, money, notes, securities, stamps, furs, jewelry, precious metals, precious stones, and
          semi-precious stones. This exclusion does not apply to precious metals and precious stones
          used by the Insured for industrial purposes;

       2. Air, Land, land values, and any substance in or on Land, or any alteration to the natural condition
          of the Land; However, this exclusion does not apply to the cost of reclaiming, restoring or
          repairing Land, provided the loss is from a Defined Cause of Loss. However, this exclusion for


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           all causes of loss shall still apply to golf course: fairways; greens; tees; rough areas; out-of-bound
           areas; sand traps; and driving ranges.

       3. Water, except water which is normally contained within any type of tank, piping system or other
          process equipment;

       4. Standing timber, growing crops, plants, lawns, trees, shrubs or animals. However, this exclusion
          does not apply to plants, lawns, trees or shrubs, provided the loss is from a Defined Cause of
          Loss. However, this Exclusion for all causes of loss shall still apply to “Golf Course Outdoor
          Grounds”, which means fairways, greens, tees, rough areas, out-of-bound areas, sand traps,
          driving ranges and plants, lawns, trees, or shrubs that are part of the golf course.

       5. Pavements, paved surfaces, walkways, drainage systems or roadways; except: a) Builder’s
          Risks, provided values are included in contract costs; or b) when scheduled as such on the
          Statement of Values on file with the Program Manager; or c) pool decking and spa decking which
          shall be considered part of the pool or spa, provided the Pool or Spa values are scheduled as




                                                           ED
          such on the Statement of Values on file with the Program Manager;

       6. Vehicles licensed for highway use, watercraft, aircraft and railroad rolling stock;

       7. Property sold by the Insured under conditional sale, trust agreement, installment plan or other
          deferred payment plan after delivery to customers;

       8. Property in transit, except expressly as provided elsewhere in this Policy;

       9. Underground mines or mining shafts and any related mining property and equipment while
          underground, or wells;
                                            FI
       10. Offshore oil rigs, platforms and property contained therein or thereon;

       11. Satellites and spacecraft;
        TI
       12. Dams, dikes, levees, bridges, tunnels, reservoirs, flood retaining walls, sea walls, and canals;
           except when scheduled as such on the Statement of Values on file with the Program Manager;

       13. Docks, piers and wharves; except when scheduled as such on the Statement of Values on file
           with the Program Manager;
      ER

       14. Transmission and distribution lines and related equipment, including but not limited to
           transformers, feeder lines, pipelines, and support structures of every type and description; except
           when located on the insured Location or within one thousand (1000) feet thereof;

       15. Personal property in the care, custody, and control of the Insured when the Insured is acting as a
           bailee, a warehouseman, or a carrier for hire;

       16. Contraband, or property in the course of illegal transportation or trade;
C



       17. Property of Unit Owners within individual Condominium units, consisting of:

           a. Personal property and Improvements & Betterments; and

           b. Floor coverings, wall coverings and ceiling coverings which only serve that unit.

           However, provided that c. or d. below do not conflict with any state statute as to the insurance
           responsibility of the unit-owner, this exclusion shall not apply to:

           c. Appliances; refrigerators; air conditioning equipment (including air conditioning compressors);
              heating equipment; cooking ranges; dishwashers; clothes washers/dryers; and fixtures,
              installations or permanent additions initially installed in accordance with the original plans and
              specifications; all contained within the unit; or



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            d. Any property within the individual unit (including the property excluded in a. and b., above) that
               the Condominium Association Agreement requires be covered by the Condominium
               Association.

        18. Marijuana and Schedule 1 Controlled Substances, including all related Property, Expenses and
            Time Element.

                                           SECTION IV – VALUATION

    Except as otherwise provided in this Paragraph, adjustment of loss or damage under this Policy shall be
    valued at the cost to repair or replace (whichever is less) at the time and place of the loss with materials
    of like kind and quality, without deduction for depreciation and obsolescence. The Insured may elect to
    rebuild on another site, provided that, such rebuilding does not increase the amount of loss or damage
    that would otherwise be payable to rebuild at the same site. However, if the property is not repaired,
    rebuilt or replaced as soon as reasonably possible after the loss or damage, the value of the property will
    be determined on an Actual Cash Value basis. In the event the Insured elects to have the loss or
    damage settled on an Actual Cash Value basis, the Insured may still make a claim on a replacement




                                                            ED
    cost basis, provided the Insured notifies the Companies within 180 days after the loss or damage.

    Unless otherwise endorsed hereon, the property, as described below, will be valued as follows:

    A. Stock in process: the cost of raw materials and labor expended, plus the proper proportion of
       overhead charges.

    B. Finished goods manufactured by the Insured: the regular cash selling price at the location where the
       loss occurs, less all discounts and charges to which the merchandise would have been subject had
       no loss occurred.
                                             FI
    C. Raw materials, supplies and other merchandise not manufactured by the Insured: the replacement
       cost.

    D. Valuable Papers and Records: the cost to replace or restore the property with like kind and quality
         TI
       including the cost to research, gather and assemble information. If not replaced, the Companies will
       only pay the blank value of the valuable papers or records.

    E. Electronic Data and Media: the cost of the blank media, plus the costs of copying the Electronic
       Data and Media from back-up or from originals of a previous generation. These costs will not
       ER

       include research and engineering nor any costs of recreating, gathering or assembling such
       Electronic Data and Media. If the Electronic Data and Media is not repaired, replaced or restored,
       the basis of valuation shall be the cost of the blank media. However, this Policy does not insure any
       amount pertaining to the value of such Electronic Data and Media to the Insured or any other party,
       even if such Electronic Data and Media cannot be recreated, gathered or assembled.

    F. Jigs and fixtures, dies, small tools, patterns, employees' personal property and personal property of
       third parties: the replacement cost if replacement cost values have been reported to the Companies
       and if actually replaced; otherwise the Actual Cash Value, but not to exceed the cost to repair or
C



       replace the property with material of like kind and quality.

    G. Leasehold improvements and betterments:

        1. If repaired or replaced at the expense of the Insured within two (2) years after the date of the
           loss, the cost to repair or replace the damaged improvements and betterments.

        2. If not repaired or replaced within two (2) years after the date of the loss, a proportion of the
           Insured’s original cost.

            The Companies will determine the proportionate value as follows:




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             a. Multiply the original cost by the number of days from the loss or damage to the expiration of
                the lease; and

             b. Divide the amount determined in Subparagraph a. above by the number of days from the
                installation of improvements to the expiration of the lease.

             If the Insured’s lease contains a renewal option, the expiration of the renewal option period will
             replace the expiration of the lease in this procedure; or

         3. Nothing, if others pay for repairs or replacement.

    H. Fine Arts:

         1. If there is no Agreed Value Schedule on file with the Program Manager, then the lesser of:

             a. The cost to repair or replace the fine art, or




                                                             ED
             b. The appraised value, which will be determined as of the time of the loss.

         2. If there is an Agreed Value Schedule on file with the Program Manager, then the Agreed Value
            Schedule shall be used.

         3. If a Fine Arts article is part of a pair or set, and a physically damaged article cannot be replaced,
            or cannot be repaired or restored to the condition that existed immediately prior to the loss, the
            Companies will be liable for the lesser of the full value of such pair or set or the Agreed Value, as
            per the schedule on file with the Program Manager. The Insured will surrender the pair or set to


    I.
            the Companies.
                                              FI
         Accounts Receivable: the amount owed the Insured which the Insured is unable to collect from
         customers, and shall include:

         1. Any collection expenses over and above the normal collection costs;
           TI
         2. Interest charges on any loan to offset impaired collections pending repayment of such sums that
            cannot be collected; and

         3. Other reasonable and necessary expenses incurred by the Insured to recreate Accounts
            Receivable Records.
         ER

         Unearned interest and service charges on deferred payment accounts and normal credit losses on
         bad debts shall be deducted in determining the recovery hereunder.

         After payment of loss by the Companies, all amounts recovered by the Insured on Accounts
         Receivable for which the Insured has been paid will belong to and will be paid to the Companies by
         the Insured up to the total amount of loss paid by these Companies. All recoveries in excess of such
         amounts will belong to the Insured.
C



         In the event it is possible to reconstruct the Insured’s Accounts Receivable Records after they have
         been physically lost or damaged, so that no shortage in collection of Accounts Receivable is
         sustained, the Companies shall only be liable for the costs of the material and the time required to
         reconstruct such records, with the exercise of due diligence and dispatch, but only to the extent that
         such amounts are not covered by any other insurance.

    J.   Property for Sale: If, at the time of the loss, any real property is being offered for sale, the loss or
         damage to such property will be valued at the lesser of:

         1. The cost to repair or replace the damaged property, or

         2. The price at which the property is offered for sale less the market value of the Land.




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    K. Property in Transit: In case of loss, the basis of adjustment shall be:

        1. Property shipped to or for the account of the Insured: the actual invoice to the Insured, together
           with such costs and charges as may have accrued and become legally due on such property;

        2. Property which has been sold by the Insured and has been shipped to or for account of the
           purchaser (if covered hereunder): the amount of the Insured's selling invoice, including prepaid or
           advanced freight;

        3. Property of others not under invoice: the actual market value at the point of destination on the
           date of the Occurrence, less any charges saved which would have become due and payable
           upon delivery at destination; or

        4. Property of the Insured not under invoice: valued in accordance with the valuation provisions of
           this Policy applying at the location from which such property is being transported, less any
           charges saved which would have become due and payable upon delivery at such destination.




                                                            ED
    L. Contractor’s equipment and vehicles (if covered): Actual Cash Value, unless an agreed value
       applies.

    M. Catalyst: Actual Cash Value.

    N. Historic Building Replacement Cost: As respects buildings that are declared and designated by a
       local, state or federal authority to be of historical significance or of historic value, such rebuilding,
       repairing or replacement shall be with material, workmanship, processes, technologies and designs
       publicly available within the current marketplace that most closely resemble those that existed before
                                             FI
       the loss or damage occurred and are based on the most reasonable cost available at the time the
       loss occurred, and shall not include the cost of creating outdated, archaic or antiquated materials,
       workmanship, processes, technologies or designs. In no event shall the loss exceed the scheduled
       limit on the damaged Building.
         TI
    O. For all other property: At replacement cost if actually replaced; otherwise, the Actual Cash Value,
       but not to exceed the cost to repair or replace the property with material of like kind and quality.

    With respect to Subparagraphs A. through O., inclusive, unless otherwise specifically stated, the
    Companies will compute the valuations at the time and place of the loss.
       ER

                                   SECTION V – TIME ELEMENT COVERAGE
                                            GROSS EARNINGS

    This Policy is extended to cover the actual loss sustained by the Insured during the Period of Interruption
    directly resulting from a Covered Cause of Loss to Covered Property.

    A. ACTUAL LOSS SUSTAINED: In the event the Insured is prevented from producing goods or from
C



       continuing its business operations or services and is unable:

        1. To make up lost production within a reasonable period of time (not to be limited to the period
           during which production is interrupted), or

        2. To continue business operations or services,

        all through the use of any property or service owned or controlled by the Insured, or obtainable from
        other sources, whether the property or service is at an insured Location or through working extra
        time or overtime at any other substitute location(s), including any other location(s) acquired for the
        purpose, then the Companies shall be liable, subject to all other conditions of this Policy not
        inconsistent herewith, for the actual loss sustained of the following during the Period of Interruption:




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       1. GROSS EARNINGS less all charges and expenses which do not necessarily continue during the
          interruption of production or suspension of business operations or services. For the purpose of
          this coverage, GROSS EARNINGS means:

           a. For manufacturing operations: The net sales value of production less the cost of all raw
              stock, materials and supplies utilized in such production; or

           b. For mercantile or non-manufacturing operations:     The total net sales less cost of
              merchandise sold, materials and supplies consumed in the operations or services rendered
              by the Insured;

           c.   Plus all other earnings derived from the operation of the business.

           In determining net sales, in the event of loss hereunder, for mercantile or non-manufacturing
           operations, any amount recovered under Property Damage policies for loss or damage to or
           destruction of merchandise shall be included as though the merchandise had been sold to the
           Insured's regular customers.




                                                           ED
           In determining the amount of loss payable under this coverage, due consideration shall be given
           to the experience of the business before the Period of Interruption and the probable experience
           thereafter had no loss occurred, and to the continuation of only those normal charges and
           expenses, including payroll (subject to the Ordinary Payroll restriction below), that would have
           existed had no interruption of production or suspension of business operations or services
           occurred.

           There is no coverage for any portion of the Insured’s Ordinary Payroll expense, unless a
                                            FI
           specified number of days for Ordinary Payroll are shown elsewhere and values have been
           included in the reported Time Element Values. In such case, the Companies will pay Ordinary
           Payroll for that number of days only. The number of days need not be consecutive, but must fall
           within the interruption of production or suspension of business operations or services, or fall
           within the extension of that period, if an extension is provided. Ordinary Payroll means the entire
        TI
           payroll expense for all employees of the Insured except officers, executives, department
           managers, employees under contract, and other essential employees.

       2. EXPENSE TO REDUCE LOSS: Expenses, over and above normal operating expenses,
          necessarily incurred by the Insured in making up lost production or in reducing loss otherwise
          payable under this coverage are covered hereunder, but in no event shall these Companies be
      ER

          liable for an amount greater than that for which it would have been liable had the Insured been
          unable to make up any lost production or to continue any business operations or services.

    B. PERIOD OF INTERRUPTION: In determining the amount payable under this coverage, the Period of
       Interruption shall be:

       1. The period from the time of physical loss or damage insured against by this Policy to the time
          when, with the exercise of due diligence and dispatch, either:
C



           a. normal operations resume; or

           b. physically damaged buildings and equipment could be repaired or replaced and made ready
              for operations under the same or equivalent physical and operating conditions that existed
              prior to such loss or damage,

           whichever is less. Such period of time shall not be cut short by the expiration or earlier
           termination date of the Policy.

       2. In addition, if applicable, such time as may be required with the exercise of due diligence and
          dispatch:

           a. To restore stock in process to the same state of manufacture in which it stood at the time of
              the initial interruption of production or suspension of business operations or services; or


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           b. To replace physically damaged or destroyed mercantile stock necessary to resume
              operations; or

           c.   To replace raw materials and supplies in order to continue operations.

           However, the inability to procure destroyed mercantile stock or suitable raw materials and
           supplies to replace similar stock or materials and supplies physically damaged or destroyed shall
           not increase the Period of Interruption.

       3. For Property under construction: The time period between the anticipated date of substantial
          completion had no covered loss occurred and the actual date of completion. In calculating the
          amount of loss, due consideration will be given to the actual experience of the business compiled
          after substantial completion and start-up.

           The Period of Interruption does not include any additional time:

          a. Required for re-staffing or re-training employees; or




                                                          ED
           b. Due to the Insured's inability to resume operations for reasons other than those enumerated in
              B.2.a. through B.2.c., inclusive, above; or

           c. Required for making change(s) to the buildings, structures, or equipment for any reason
              except as provided in the Ordinance or Law coverage, if such coverage is provided by this
              Policy.

    C. ADDITIONAL TIME ELEMENT COVERAGES

                                            FI
       1. EXTRA EXPENSE/EXPEDITING EXPENSE: This Policy is extended to cover the loss sustained
          by the Insured for Extra Expense during the Period of Interruption resulting from direct physical
          loss or damage from a Covered Cause of Loss to Covered Property utilized by the Insured. Extra
          Expense means:
        TI
           a. The reasonable and necessary extra expense incurred to temporarily continue as nearly
              normal as practicable the conduct of the Insured’s business;

           b. The reasonable and necessary extra costs of temporarily using property or facilities of the
              Insured or others; and
      ER

           c.   The reasonable extra costs (expediting expenses) for temporary repair of damaged property
                and for expediting the permanent repair or replacement of such damaged property. This
                includes overtime wages and extra costs of express or other rapid means of transportation.
                This does not include expenses recoverable elsewhere under this policy.

           The Insured agrees to use any suitable property or service owned or controlled by the Insured or
           obtainable from other sources in reducing the Business Income and Extra Expense incurred
           under this Policy.
C



       2. RENTAL VALUE: As respects Covered Property held for rental to others, this Policy is extended
          to cover the loss sustained during the Period of Interruption, but not exceeding the reduction in
          Rental Value less charges and expenses which do not necessarily continue.

           Rental Value means the sum of:

           a. The total anticipated gross rental income from tenant occupancy of the described property as
              furnished and equipped by the Insured including taxes, rent based on percentage of sales,
              and other charges paid by tenants in respect of the leased premises; and

           b. The amount of all charges which, by the terms of a written lease, are the legal obligation of
              the tenant(s) and which would otherwise be obligations of the Insured; and




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           c.   The fair rental value of any portion of such property which is occupied by the Insured.

           Due consideration will be given to the historic rental expenses prior to the loss and the probable
           expenses thereafter.

       3. ROYALTIES: This Policy is extended to cover loss of income sustained by the Insured under a
          royalty, licensing fee, or commission agreement between the Insured and another party during
          the Period of Interruption arising out of direct physical loss or damage by a Covered Cause of
          Loss during the term of this Policy to real or personal property of such other party, only if such
          Royalties are shown as such on the Statement of Values on file with the Program Manager.
          When determining the amount payable, the Companies will consider the amount of income
          derived by the Insured from such agreements before, and the probable amount of income after,
          the date of loss or damage.

       4. SOFT COSTS (BUILDER’S RISK): For Property under Construction, this Policy is extended to
          cover Soft Costs incurred by the Insured during the Period of Interruption (described in
          Paragraph B. above). Such Soft Costs must be the result of direct damage from a Covered




                                                           ED
          Cause of Loss.

           The Companies will pay reasonable and necessary Soft Costs over and above those costs which
           would have been incurred by the Insured during the Period of Interruption had no loss occurred.
           Soft Costs means:

           a. The amount of actual interim or construction financing interest, including loan fees and other
              one-time charges incurred to negotiate a new construction loan and/or extend the existing
              one;



           c.
                                            FI
           b. Realty taxes and ground rent, if any;

                Advertising and promotional expenses;

           d. Cost of additional commissions;
        TI
           e. Architects, surveyors, legal, consulting engineers, accounting, licenses, permits, or other fees
              not otherwise covered by this Policy;

           f.   Project administration expense, but not including development fees;
      ER

           g. Insurance premiums;

           h. Founder’s fee refunds; and

           i.   Net Business Income or Net Rental Income.

       5. CONTINGENT TIME ELEMENT: If direct physical loss or damage to the real or personal property
          of a direct supplier or direct customer of the Insured is damaged by a Covered Cause of Loss
          under this Policy, and such damage:
C



           a. wholly or partially prevents any direct supplier to the Insured from supplying their goods
              and/or services to the Insured; or

           b. wholly or partially prevents any direct customer of the Insured from accepting the Insured's
              goods and/or services;

           then this Policy is extended to cover the actual loss sustained by the Insured during the Period of
           Interruption with respect to such real or personal property. The property of the supplier or
           customer which sustains loss or damage must be of the type of property which would be Covered
           Property under this Policy.




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           This coverage applies to the Insured’s direct suppliers or direct customers located in the Policy’s
           Coverage Territory.

       6. INTERRUPTION BY CIVIL OR MILITARY AUTHORITY: This Policy is extended to cover the
          actual loss sustained during the period of time when access to the Insured’s covered Location is
          prohibited by an order of civil or military authority, provided that such order is a direct result of a
          Covered Cause of Loss to real property not insured hereunder. The insured physical loss or
          damage must occur within five (5) statute miles from the Insured’s covered Location in order for
          coverage to apply. Such period of time begins with the effective date of the order of civil or
          military authority and ends when the order expires, but no later than the number of days shown
          elsewhere.

           With respect to Additional Time Element Coverages 6. & 7., if a Covered Cause of Loss results in
           coverage under both Additional Time Element Coverages, the Companies will only pay for loss
           under one of the two Additional Time Element Coverages, whichever the First Named Insured
           selects.




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       7. INGRESS & EGRESS: This Policy is extended to cover the actual loss sustained during the
          period of time when ingress to or egress from the Insured’s covered Location is prohibited as a
          direct result of a Covered Cause of Loss to real property not insured hereunder. The insured
          physical loss or damage must occur within five (5) statute miles from the Insured’s covered
          Location in order for coverage to apply. Such period of time begins on the date that ingress to or
          egress from real or personal property is prohibited and ends when ingress or egress is no longer
          prohibited, but no later than the number of days shown elsewhere.


                                            FI
           With respect to Additional Time Element Coverages 6. & 7., if a Covered Cause of Loss results in
           coverage under both Additional Time Element Coverages, the Companies will only pay for loss
           under one of the two Additional Time Element Coverages, whichever the First Named Insured
           selects.

       8. INTERDEPENDENCY: This Policy is extended to cover a Time Element loss at an insured
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          Location that involves interdependency at one or more other insured Locations, all within the
          Policy’s Coverage Territory. The loss, including the resulting interdependency loss, will be
          adjusted based on the Time Element coverage that applies at the insured Location where the
          covered physical loss or damage occurred.

       9. EXTENDED PERIOD OF INDEMNITY: Coverage is provided for such additional length of time as
      ER

          is required to restore the Insured's business to the condition that would have existed had no loss
          occurred, commencing with the later of the following dates:

           a. the date on which the liability of the Companies for loss or damage would otherwise
              terminate; or

           b. the earliest date on which either normal operations resume, or repair, replacement, or
              rebuilding of the property that has been damaged is actually completed;
C



           but in no event for a period of time exceeding the number of days specified elsewhere starting
           with the later of a. or b. above. This Extended Period of Indemnity does not apply to any
           Additional Time Element Coverages, except RENTAL VALUE (Par. 2. above) or SOFT COSTS
           (BUILDER’S RISK) Net Business Income or Net Rental Income (Par. 4.i. above).

           This additional coverage does not include coverage for any increase in loss due to fines or
           damages for breach of contract or for late or non-completion of orders, or penalties of any nature.

    D. ADDITIONAL EXCLUSIONS: Section V – Time Element Coverage does not cover:

       1. IDLE PERIODS - Any loss during any period in which goods would not have been produced, or
          business operations or services would not have been maintained, for any reason other than
          physical loss or damage from a Covered Cause of Loss to which this coverage applies.



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        2. REMOTE LOSS –

            a. Any increase in loss due to the suspension, cancellation, or lapse of any lease, contract,
               license or order; or

            b. Any loss due to fines or damages for breach of contract or for late or non-completion of
               orders or penalties of whatever nature; or

            c.   Any increase in loss due to interference at the Insured's premises by strikers or other
                 persons with rebuilding, repairing, or replacing the property damaged or destroyed, or with
                 the resumption or continuation of business, or with the re-occupancy of the premises.

            Nor shall the Companies be liable for any other consequential or remote loss, other than as
            specifically provided in this Section V.

        3. FINISHED PRODUCTS - Any loss resulting from loss or damage to finished products
           manufactured by the Insured nor for the time required for their reproduction.




                                                           ED
        4. TRANSIT - Any loss resulting from loss or damage to property in transit.

        5. BERTH AND/OR PORT BLOCKAGE – Blockage means a blockage of any part of the ship
           channel, dock areas, port or berths caused by disabled, stranded or sunken vessels, or rigs or
           cargo, or other obstructions to navigation.

    E. TIME ELEMENT MONTHLY LIMITATION OF INDEMNITY: The Companies shall not be liable for more
       than the Monthly Limitation of Indemnity shown elsewhere. This Monthly Limitation Of Indemnity shall

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       apply to all Time Element coverages, except those that have a sublimit.

      Time Element Monthly Limitation means the most the Companies will pay monthly for a Time Element
      loss sustained by the Insured during the Period of Interruption directly resulting from a Covered Cause
      of Loss to Covered Property. This Monthly Limitation of Indemnity is payable for each period of 30
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      consecutive days after the beginning of the Period of Interruption and is calculated by multiplying the
      scheduled Time Element value by the fraction shown elsewhere.



                                   SECTION VI – ADDITIONAL COVERAGES
       ER

    The following additional coverages are subject to the terms and conditions of this Policy, including the
    deductibles and sublimits of liability corresponding to each such additional coverage stated in the
    Compass Supplemental Declarations. These sublimits are part of, and not in addition to sublimits and
    limits of liability of this Policy, including, but not limited to, the Earth Movement, Flood, or Named Storm
    Sublimits of Liability provided herein, if applicable.

    A. ACCOUNTS RECEIVABLE: This Policy covers any shortage in the collection of Accounts Receivable
       directly resulting from a Covered Cause of Loss to Accounts Receivable Records.
C



        This extension of coverage does not apply to loss due to:

        1. Bookkeeping, accounting or billing errors and omissions; and

        2. Alteration, falsification, manipulation, concealment, destruction, or disposal of Accounts
           Receivable Records committed to conceal the wrongful giving, taking, obtaining or withholding of
           money, securities or other property, but only to the extent of such wrongful giving, taking,
           obtaining or withholding.

    B. DEBRIS REMOVAL: This Policy covers the necessary and reasonable expense of removal from the
       insured Locations of debris of Covered Property or property of others remaining as a result of direct
       physical loss or damage insured against under this Policy that occurs during the policy period when
       the Insured gives written notice of such direct physical loss or damage to the Companies, but no later


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        than 180 days after the loss. There is no liability for the expense of removing contaminated or
        polluted uninsured property, nor the Pollutants or Contaminants therein or thereon, whether or not
        the contamination results from an insured event.

    C. ELECTRONIC DATA AND MEDIA: This Policy is extended to cover direct physical loss or damage to
       Electronic Data and Media.

    D. ERRORS OR OMISSIONS: This Policy is extended to cover direct physical loss or damage at
       Locations within the Coverage Territory that are owned, leased or operated by the Insured or any
       property at an insured Location, if such loss or damage is not payable under this Policy solely due
       to:

        1. Any error or unintentional omission in the description of the address of the property whether
           made at the inception of the policy period or subsequent thereto; or

        2. Failure through any error or unintentional omission to:




                                                             ED
            a. Include any Location of the Insured or any property at an insured Location, at the inception
               of the Policy; or

            b. Report any newly acquired location or property before the period of automatic coverage
               provided under this Policy for Newly Acquired Location(s) expires.

        With respect to Subparagraphs 1. and 2. above, this Errors or Omissions Additional Coverage does
        not allow the Insured or its representative to correct any value shown in the Statement of Values on
        file with the Program Manager.
                                             FI
        This Policy covers such direct physical loss or damage, to the extent it would have provided coverage
        had such error or unintentional omission not been made.

        It is a condition of this additional coverage that any error or unintentional omission be reported by the
        Insured to the Companies when discovered and an additional premium be paid, as determined by the
         TI
        Companies.

        There is no coverage under this Paragraph for loss or damage which is covered under the Newly
        Acquired Property or Miscellaneous Unnamed Locations provisions of this Policy.
       ER

    E. FINE ARTS: This Policy is extended to cover direct physical loss or damage to Fine Arts. However,
       no coverage is provided for:

        1. Breakage, marring, scratching, chipping or denting; unless such breakage, marring, scratching,
           chipping or denting is caused by a Defined Cause of Loss; or

        2. Physical loss or damage as a result of restoring, repairing or retouching processes.

    F. FIRE BRIGADE CHARGES AND EXTINGUISHING EXPENSES: This Policy covers the following
C



       expenses resulting from a Covered Cause of Loss:

        1. Fire brigade charges and any extinguishing expenses which the Insured incurs;

        2. Loss and disposal of fire extinguishing materials expended.

        There is no coverage for any costs incurred as a result of a false alarm.

    G. LEASEHOLD IMPROVEMENTS & BETTERMENTS: This Policy is extended to cover the value of
       undamaged tenant’s improvements and betterments when the Insured’s lease is cancelled by the
       lessor; acting under a valid condition of the lease due to direct physical loss or damage to building or
       personal property caused by or resulting from a Covered Cause of Loss at an insured Location. No
       sublimit of liability applies to this additional coverage, but in no event will the Companies be liable for
       an amount in excess of the applicable sublimit of liability specified for the Leasehold Interest, if any.



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    H. LEASEHOLD INTEREST: If Covered Property is: (1) rendered wholly or partially untenantable by a
       Covered Cause of Loss during the Policy period and (2) the Insured’s lease is canceled by a party,
       other than the Named Insured, or an entity with any common ownership of the Named Insured, in
       accordance with the conditions of the lease or as a result of a statutory requirement of the
       appropriate jurisdiction in which the damaged or destroyed Covered Property is located, then this
       Policy is extended to cover “The Interest of the Insured as Lessee” (as defined below) or “The
       Interest of the Insured as Lessor” (as defined below), whichever is applicable, but only for the first
       three months succeeding the date of the loss and the “Net Lease Interest” (as defined below) shall
       be paid for the remaining months of the unexpired lease.

         Recovery under this additional coverage shall be the pro-rata proportion from the date of loss to
         expiration date of the lease (to be paid without discount) on the Insured's interest in:

         1. The amount of bonus paid by the Insured for the acquisition of the lease not recoverable under
            the terms of the lease;

         2. Improvements and betterments to real property which are not covered under any other section of




                                                              ED
            this Policy; and

         3. The amount of advance rental paid by the Insured and not recoverable under the terms of the
            lease.

         Definitions: The following terms, wherever used in this Paragraph H. shall mean:

         1. The Interest of the Insured as Lessee is defined as:



                term of the lease; and
                                               FI
             a. the excess of the rental value of similar premises over the actual rental payable by the lessee
                (including any maintenance or operating charges paid by the lessee) during the unexpired


             b. the rental income earned by the Insured from sublease agreements, to the extent not
                covered under any other section of this Policy, over and above the rental expenses specified
           TI
                in the lease between the Insured and the lessor.

         2. The Interest of the Insured as Lessor is defined as the difference between the rents payable to
            the lessor under the terms of the lease in effect at the time of loss and the actual rent collectible
            by the lessor during the unexpired term of the lease provided the lease is canceled by the lessee,
         ER

            to the extent not covered under any other section of this Policy.

         3. Net Lease Interest is defined as that sum, which placed at 6% interest compounded annually will
            be equivalent to The Interest of the Insured as Lessee or Lessor.

         The Companies shall not be liable for any increase of loss which may be occasioned by the
         suspension, lapse or cancellation of any license or by the Named Insured exercising any option to
         cancel the lease. Furthermore, the Named Insured shall use due diligence, including all things
         reasonably practicable, to diminish loss under this additional coverage.
C



    I.   LIMITED POLLUTION COVERAGE: This Policy is extended to cover the reasonable and necessary
         additional expense incurred to remove, dispose of, or clean-up the actual presence of Pollutants or
         Contaminants from Land or water at an insured Location when such Land or water is contaminated
         or polluted due to a Covered Cause of Loss that occurs during the policy period. There will be no
         coverage unless such expenses are reported to the Companies within 180 days of the date of direct
         physical loss or damage.

    J.   LOCK REPLACEMENT: This policy covers the necessary expense to repair or replace the exterior or
         interior door locks of a covered Building:

         1. If the door keys are stolen in a covered theft loss; or

         2. When the covered property is damaged and the door keys are stolen by burglars.


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    K. NEWLY ACQUIRED PROPERTY: This Policy covers real or personal property of the type insured
       under this Policy for the perils insured under this Policy that is rented, leased, or purchased by the
       Insured after the inception date of this Policy. Coverage under this additional coverage ceases at the
       earlier of the following dates:

        1. See Compass Supplemental Declarations from the date of acquisition or lease of such property;
           or

        2. When the newly acquired location is bound by the Companies; or

        3. The Program Manager notifies the Insured that it will not bind the newly acquired location.

        There is no coverage for any property that is partially or wholly insured under any other insurance.

        There is no coverage under this Paragraph for loss or damage which is covered under the Error or
        Omissions or Miscellaneous Unnamed Locations provisions of this Policy.




                                                            ED
    L. ORDINANCE OR LAW: In the event of direct physical loss or damage under this Policy that results in
       the enforcement of any law, ordinance, governmental directive or standard in effect at the time of loss
       or damage regulating the construction, repair or use and occupancy of the property, the Companies
       shall pay:

        1. Coverage A: For the loss in value of the undamaged portion of the building as a consequence of
           enforcement of an ordinance or law that requires demolition of undamaged parts of the same
           building.



           undamaged property.
                                             FI
        2. Coverage B: For the cost to demolish and clear the site of undamaged parts of the same building,
           as a consequence of enforcement of an ordinance or law that requires demolition of such


        3. Coverage C: For the increased cost of repair or replacement of the damaged and undamaged
           Building on the same or another site, limited to the cost that would have been incurred in order to
         TI
           comply with the minimum requirements of such law or ordinance regulating the repair or
           reconstruction of the damaged property on the same site. However, these Companies shall not
           be liable for any increased cost of construction loss unless the damaged property is actually
           rebuilt or replaced.
       ER

        4. Coverage D: For the additional loss in Time Element (if covered), that the Insured sustains during
           the increased period of suspension of operations caused by or resulting from a consequence of
           enforcement of an ordinance or law.

       5.   Coverage E (Down-Zoning): In the event the enforcement of an applicable Ordinance or Law
            results in the requirement to demolish and not replace the damaged Building(s), the Companies
            agree to pay the greater of: a) the Actual Cash Value; or b) the outstanding loan balance
            including accrued fees, if applicable, as determined at the time of loss for the Building(s) not
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            permitted to be rebuilt.

            In the event the damaged Building(s) is permitted to be repaired or rebuilt, but only to a more
            limited extent as a consequence of the enforcement of any applicable Ordinance or Law, the
            Companies agree to pay: a) Replacement Cost for the repair of or construction of the permitted
            structure(s); and b) Actual Cash Value for the incremental portion of the original building that is
            not permitted to be repaired or replaced.

            Loss of Rents (if covered) shall include rents for those units that are unable to be rebuilt due to an
            Ordinance or Law Down-Zoning. Loss of Rents for those units not rebuilt due to Down-Zoning
            shall cease no later than the number of days as granted by the Extended Period of Indemnity




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           Coverage under this clause does not increase the applicable scheduled Limit of Insurance for the
           damaged Building(s).

        The Companies shall not be liable for any cost of demolition or increased cost of reconstruction,
        repair, debris removal or loss of use (including Time Element) necessitated by the enforcement of
        any law or ordinance regulating any form of contamination or pollution.

    M. PAIRS OR SETS: If two or more components or parts are necessary for a whole or complete product,
       then this Policy covers the reduction in value of insured components or parts of products due to direct
       physical loss or damage insured against by this Policy to the other insured components or parts of
       such products.

    N. PROFESSIONAL FEES: This Policy is extended to cover reasonable and necessary “Claim
       Preparation Costs” (as defined below) incurred by the Insured at the request of the Companies for
       the purpose of determining the extent or amount of insured loss or damage as a result of a Covered
       Cause of Loss under this Policy, provided that, the Insured obtains the prior written approval of the
       Companies for the vendor to be engaged by the Insured.




                                                           ED
        Claim Preparation Costs means:

        1. The cost of taking inventory and the cost of gathering and preparing other data to substantiate
           the extent or amount of loss or damage; and

        2. The cost of services provided by accountants, contractors and engineers solely for the purpose of
           determining the extent or amount of loss.



        1. Legal fees, charges and expenses;
                                            FI
        Claim Preparation Costs does not mean and does not include:



        2. Fees and costs of a public claims adjuster, claim consultant, insurance broker or agent (except
           forensic accounting services), or any person acting for or on behalf of a public claims adjuster,
         TI
           claim consultant, or insurance broker or agent;

        3. Costs associated with negotiation or presentation of any claim or part of a claim that the
           Companies have advised the Insured is disputed or denied;

        4. Costs associated with establishing that any claim or part of a claim is covered by the Policy; or
       ER

        5. Costs which represent overhead or operating expense of any Insured, including salaries of such
           Insured’s employees.

    O. PROPERTY REMOVED FROM INSURED LOCATIONS: This Policy covers direct physical loss or
       damage to personal property of the Insured by a Covered Cause of Loss at any Location within the
       Coverage Territory when such personal property is removed from the insured Locations for the
       purpose of being repaired or serviced, excluding:
C



        1. Personal property insured under another policy or floater;

        2. Personal property excluded under this Policy; or

        3. Personal property removed from the insured Locations for normal storage or processing or
           preparation for sale or delivery.

    P. REWARD REIMBURSEMENT: This Policy covers monetary rewards for information that leads to a
       criminal conviction in connection with loss or damage to covered property by a Covered Cause of
       Loss.

    Q. SERVICE INTERRUPTION: This Policy is extended to cover the loss or damage to Covered
       Property and Time Element (provided Time Element values are reported) resulting from direct



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       physical loss or damage from a Covered Cause of Loss to: (1) incoming electrical, gas, water and
       telecommunication equipment and outgoing sewer; or (2) electrical, telecommunication, fuel, water,
       steam, refrigeration, or other service transmission lines; all situated outside the insured Locations.

       However, this extension of coverage DOES NOT apply to any loss caused by damage to any utility
       service listed in (1) or (2) above, if located more than five (5) statute miles from the Insured’s covered
       Location.

       There shall be no loss payable under this Additional Coverage unless the interruption exceeds the
       qualifying period shown elsewhere. In such case, the loss shall be measured from date and time of
       the loss. With respect to any Time Element Coverage provided herein, the Period of Interruption ends
       when: (1) incoming electrical, gas, water, or telecommunication equipment or outgoing sewer or (2)
       electrical, telecommunication, fuel, water, steam, refrigeration, or other service transmission lines, is
       restored.

       The Sublimit shown elsewhere applies to all loss or damage to Covered Property and/or Time
       Element Coverage, combined arising out of one Service Interruption. None of the additional Time




                                                           ED
       Element Coverages set forth in Section V.C. apply to the Time Element Coverage provided herein,
       except Rental Value.

    R. SPOILAGE: This policy is extended to cover spoilage as a direct result of a Covered Cause of Loss
       and subject to the additional exclusions listed below. The Companies shall be liable for direct
       physical loss or damage to:

       1. Perishable goods due to spoilage;


          ammonia;                          FI
       2. Perishable goods due to contamination from the release of refrigerant, including but not limited to


       3. Perishable goods due to spoilage caused by a Covered Cause of Loss to equipment that is
          owned by a utility, landlord, or other supplier of any of the following services: electrical power,
         TI
          communications, waste disposal, air conditioning, refrigeration, heating, gas, air, water or steam.

       If the Insured is unable to replace the perishable goods before its anticipated sale, payment will be
       determined on the basis of the sales price of the perishable goods at the time of the loss, less
       discounts and expenses that otherwise would have been incurred. Otherwise, payment will be
       determined in accordance with the Valuation provision of this Policy.
       ER

       Perishable Goods means personal property:

       1. maintained under controlled conditions for its preservation, and

       2. susceptible to loss or damage if the controlled conditions change.

      Additional Exclusions: The Companies shall not be liable for loss or damage caused by or resulting
      from:
C



            1. The disconnection of any refrigerating, cooling or humidity control system from the source of
                power.

            2. The deactivation of electrical power caused by the manipulation of any switch or other device
                used to control the flow of electrical power or current.

    S. TRANSIT: This Policy is extended to cover personal property, not otherwise excluded by this Policy,
       while such property is in transit.

       It is agreed that coverage under this extension shall include the following:

       1. Personal property shipped to customers on F.O.B., C&F, or similar terms.                The Insured's
          contingent interest in such shipments is admitted.



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        2. The interest of the Insured in, and legal liability for, personal property of others in the actual or
           constructive custody of the Insured.

        3. Personal property of others sold by the Insured which the Insured has agreed prior to loss to
           insure during course of delivery.

        It is agreed that the following additional exclusions apply to coverage as provided under this
        additional coverage:

        1. Property insured under import or export ocean cargo policies.

        2. Waterborne shipments to and from the Policy’s Coverage Territory.

        3. Shipments made by air, unless via regularly scheduled airlines.

        4. Property shipped by mail.




                                                           ED
        5. Property of others, including the Insured's legal liability therefor, hauled on vehicles owned,
           leased, or operated by the Insured when acting as a common or contract carrier as defined by
           the Interstate Commerce Commission Regulations or other state regulatory agencies.

        6. Any transporting vehicle or conveyance.

        7. Waterborne shipments via the Panama Canal, or waterborne to and from the United States
           territories or possessions, Alaska, Puerto Rico, and Hawaii.


                                             FI
        This additional coverage attaches from the time the property leaves the original point of shipment for
        the commencement of transit and covers thereafter continuously in the due course of transit within
        the Policy’s Coverage Territory until delivered at destination.

        Coverage on export shipments not insured under ocean cargo policies does not extend beyond the
        time when the property is loaded on board overseas vessels or aircraft. Coverage on import
         TI
        shipments not insured under ocean cargo policies does not attach until after discharge from overseas
        vessels or aircraft.

        This additional coverage does not cover or apply to delay, loss of market, or any Time Element
        coverage.
       ER

        Permission is granted to the Insured without prejudice to this insurance to accept the ordinary bills of
        lading used by carriers, including released and/or undervalued bills of lading and/or shipping or
        messenger receipts. The Insured may waive subrogation against railroads under sidetrack
        agreements, but the Insured shall not enter into any special agreement with carriers releasing them
        from their common law or statutory liability.

    T. VALUABLE PAPERS AND RECORDS: This Policy is extended to cover Valuable Papers and
       Records.
C



                                          SECTION VII – CONDITIONS

     A. ABANDONMENT: There can be no abandonment to the Companies of any property.

     B. ADJUSTMENT OF LOSSES and FIRST NAMED INSURED CLAUSE: Loss or damage shall be
        adjusted with and payable to the First Named Insured, subject to any Certificates of Insurance on file
        with the Program Manager which require payment to a loss payee or mortgagee.

         If this Policy insures more than one entity, the First Named Insured is authorized to act on behalf of
         all other Insureds with respect to their rights, obligations and duties under this Policy. Payment of




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         loss or return premium under this Policy to the First Named Insured shall satisfy the Companies’
         obligations with respect to all Insureds.

     C. ARBITRATION CLAUSE: All matters in difference between the Insured and the Companies
        (hereinafter referred to as “the parties”) in relation to this insurance, including its formation and
        validity, and whether arising during or after the period of this insurance, shall be referred to an
        Arbitration Tribunal in the manner hereinafter set out.

         Unless the parties agree upon a single Arbitrator within thirty days of one receiving a written request
         from the other for Arbitration, the Claimant (the party requesting Arbitration) shall appoint his
         Arbitrator and give written notice thereof to the Respondent. Within thirty days of receiving such
         notice, the Respondent shall appoint his Arbitrator and give written notice thereof to the Claimant,
         failing which the Claimant may nominate an Arbitrator on behalf of the Respondent.

         Should the Arbitrators fail to agree, they shall appoint, by mutual agreement only, an Umpire to
         whom the matter in difference shall be referred. If the Arbitrators cannot agree to an Umpire, either




                                                            ED
         may request the selection be made by a judge of a New York court.

         Unless the parties otherwise agree, the Arbitration Tribunal shall consist of persons employed or
         engaged in a senior position in Insurance underwriting or claims.

         The Arbitration Tribunal shall have power to fix all procedural rules for the holding of the Arbitration
         including discretionary power to make orders as to any matters which it may consider proper in the
         circumstances of the case with regard to pleadings, discovery, inspection of documents,
         examination of witnesses and any other matter whatsoever relating to the conduct of the Arbitration

         shall in its discretion think fit.  FI
         and may receive and act upon such evidence whether oral or written strictly admissible or not as it


         Each party will pay its chosen Arbitrator, and also bear the other expenses of the Arbitration and
         Umpire equally.
         TI
         The seat of the Arbitration shall be in New York and the Arbitration Tribunal shall apply the law of
         New York as the proper law of this insurance.

         The Arbitration Tribunal may not award exemplary, punitive, multiple, consequential, or other
         damages of a similar nature.
       ER

         A decision agreed to by any two members of the Arbitration Tribunal shall be binding. The award of
         the Arbitration Tribunal shall be in writing and binding upon the parties who covenant to carry out the
         same. If either of the parties should fail to carry out any award the other may apply for its
         enforcement to a court of competent jurisdiction in any territory in which the party in default is
         domiciled or has assets or carries on business.

     D. ASSIGNMENT: The Insured may not assign this Policy without the Companies’ prior written
        consent.
C



     E. BRANDS AND LABELS: If branded or labeled merchandise covered by this Policy is physically
        damaged and the Companies elect to take all or any part of such merchandise at the value
        established by the terms of this Policy, the Insured may, at their own expense, stamp "SALVAGE"
        on the merchandise or its containers, or may remove or obliterate the brands or labels, if such
        stamp, removal or obliteration will not physically damage the merchandise, but the Insured must re-
        label the merchandise or containers in compliance with the requirements of law.

     F. CANCELLATION AND ADDITIONS OR DELETIONS:

        1. This Policy can be canceled by the First Named Insured by providing the Companies with:




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          a. An advanced written request for cancellation stating when the cancellation shall be effective,
             and

          b. The original Policy or a lost policyholder release signed by the First Named Insured or its
             legal representative.

       2. This Policy may be canceled by the Companies by giving to the Insured at least ninety (90) days
          written notice of cancellation or in the case of non-payment of premium or material mis-
          statement, at least ten (10) days written notice of cancellation.

       3. The cancellation will be effective even if the Companies have not made or offered a refund. If
          notice is mailed, proof of mailing will be sufficient proof of notice.

       4. If this Policy is canceled, the Companies will send the First Named Insured any premium refund
          due.




                                                        ED
       5. Earned Premium:

          a. For Locations NOT “Exposed to Hurricanes”, if the Insured cancels this Policy or removes a
             Location, the short rate return premium is 90% of applicable pro-rata premium subject to any
             Minimum Earned Premium stipulations in the Policy.

          b. For Locations “Exposed to Hurricanes”, if the Insured cancels this Policy, removes a
             Location or reduces the amount of insurance on a Location and coverage existed any time

                                           FI
             during the period of June 1st to November 1st, the amount of premium the Companies will
             return will be the Unearned Premium for the Location. The Unearned Premium is the
             Location premium times the Unearned Factor noted below:

                    Days Policy in Force                                  Unearned Factor
        TI
                      1-180                                                20.0%

                    181-210                                                15.0%

                    211-240                                                10.0%
      ER

                    241-270                                                 7.5%

                    271-300                                                 5.0%

                    301-330                                                 2.5%

                    331 more                                                 0%

          c. However, subject to receipt of closing documents within 30 days of closing, this Policy allows
C



             pro-rata return premium for locations sold, but not for loss of a management contract (unless
             the management contract is lost due to the sale of the property).

          d. For Locations “Exposed to Hurricanes”, if added (or coverage increased at an existing
             location which is “Exposed to Hurricanes”) during the term of the Policy and coverage exists
             at any time during the period of June 1st to November 1st, the premium will be calculated at
             100% of the annual rate, less the Unearned Factor noted in b. above. Otherwise, it shall be
             pro-rata.

             However, subject to receipt of closing documents, this Policy allows pro-rata additional
             premium for Locations purchased during the policy term.




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             e. Locations of like kind and quality shall be added at the account rate, subject to the Unearned
                Factor noted in b. above. Locations of differing kind or quality or locations in Dade, Broward
                or Palm Beach counties of Florida must be approved by the Program Manager prior to
                attachment.

             f. If a Location is “Exposed to Hurricanes”, the provisions of this clause replace any short rate
                 provisions stipulated in this Policy, all subject to the Minimum Earned Premium provisions.

             g. “Exposed to Hurricanes” is defined to include any Location within 100 miles of the closest
                salt water of the Atlantic Ocean or the Gulf of Mexico.

             h. Coverage cannot be increased nor additional Locations added if they are “Exposed to
                Hurricanes” and a Named Storm is in existence, unless with the express written consent of
                the Program Manager.

             i. Nothing herein will act to provide coverage outside the automatic acquisition clause




                                                               ED
                elsewhere in the Policy.

             j. Proof of mailing will be sufficient proof of notice of cancellation.

             k. In the event of a total loss or constructive total loss to Covered Property by a Covered Cause
                of Loss, the premium applicable to that Covered Property shall be fully earned and no return
                premium will be due to the Insured.

     G. CLAIMS REPORTING AND ADJUSTMENT:
        All Claims shall be reported to: AmRisc, LLC Claims Department



        All Claims shall be adjusted by:
                                                FI
                                         E-Mail: claims@amrisc.com
                                         Ph: 252-247-8796
                                         Fax: 252-726-2855
                                         CJW and Associates
                                         1420 Edgewater Drive, Suite 101, Orlando, FL 32804
            TI
          and/or its assigned adjusters and the costs of such adjustments shall be borne by each Company in
          proportion to its pro-rata participation in this policy.

          In the event the Company(s) elects to use its own adjusters or independent adjusters or consultants
          other than as listed above, expenses so incurred shall be borne solely by the Company.
          ER

          It is further understood and agreed that, notwithstanding any provision contained elsewhere in this
          policy to the contrary, the Insured will be deemed to be in full compliance with any claim notice
          requirements, if notice of an occurrence is made to the Company[s] as soon as practicable after
          knowledge by the Insured or their representatives, that such occurrence will, or is likely to result in a
          claim under the policy. Any unintentional failure to report any occurrence or claim shall not invalidate
          coverage with respect to any such occurrence or claim.
C



     H. CONTROL OF DAMAGED MERCHANDISE: The Insured, exercising reasonable discretion, shall be
        the sole judge as to whether the goods involved in any loss under this Policy are fit for normal
        intended use or consumption. No goods so deemed by the Insured to be unfit for consumption shall
        be sold or otherwise disposed of except by the Insured or with the Insured's consent, but the Insured
        shall allow the Companies any salvage obtained by the Insured on any sale or other disposition of
        such goods. The Insured shall have full right to the possession of and retain control of all goods
        involved in any loss under this Policy.

     I.   CONTROL OF PROPERTY: Any act or neglect of any person other than the Insured beyond the
          Insured’s direction or control will not affect this insurance.

     J.   CURRENCY: Any amount of money specified in the Policy, including Limits of Liability, Deductibles,
          Premiums, and any loss payments shall be in the currency of the United States of America.



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     K. DIVISIBLE CONTRACT: Subject to Condition O. below, if the Locations described in this Policy
        include two or more buildings or the contents of two or more buildings, the breach of any condition
        of this Policy in respect to any one or more of the buildings insured or containing the Covered
        Property, shall not prejudice the right to recover for physical loss or damage occurring in any
        building insured or containing the Covered Property where, at the time of such loss or damage, a
        breach of condition does not exist.

     L. INSPECTION AND AUDIT: The Companies, at all reasonable times during this Policy period, shall
        be permitted but not obligated to inspect the property insured by this Policy. Neither the Companies’
        right to make inspections nor the making thereof nor any report thereon shall constitute any
        undertaking by the Companies, on behalf of or for the benefit of the Insured or others, to determine
        or warrant that such property is safe or healthful or that they comply with any law, rule or regulation.

        The Companies may also examine and audit the Insured's books and records at any reasonable
        time during the Policy period and within one year after the Policy termination, as long as such
        examination and audit relate to the subject matter of this Policy.




                                                             ED
     M. JOINT LOSS AGREEMENT: In the event the insurance company, if any, providing Equipment
        Breakdown insurance (‘EBD insurer’) disputes any portion of the claim made against that EBD
        insurer, but these Companies believe the EBD insurer should have paid that portion of the claim,
        then these Companies shall, upon written request of the Insured, pay to the Insured one-half of the
        amount of the loss which is in disagreement, but in no event more than these Companies would
        have paid if there had been no Equipment Breakdown policy in effect, subject to the following
        conditions:


                                              FI
         1. The amount of the loss which is in disagreement, after making provisions for any undisputed
            claims payable under the said policies and after the amount of the loss is agreed upon by the
            Insured and all of the insurers, is limited to the minimum amount remaining payable under the
            Equipment Breakdown policy;

         2. The EBD insurer shall simultaneously pay to the Insured one-half of said amount which is in
         TI
            disagreement;

         3. The payments by all of the insurers hereunder and acceptance of the same by the Insured signify
            the agreement of all the insurers to submit to and proceed with arbitration within 90 days of such
            payments; the arbitrators shall be three in number, one of whom shall be appointed by the
       ER

            Property insurance Companies and one of whom shall be appointed by the EBD insurer and the
            third shall be appointed with the consent of the Property insurance Companies and the EBD
            insurer, and the decision by the arbitrators shall be binding upon all the insurers and that
            judgment upon such award may be entered in any court of competent jurisdiction;

         4. The Insured agrees to cooperate in connection with such arbitration but not to intervene therein;

         5. The provisions of this clause shall not apply unless such other policy issued by the EBD insurer is
            similarly endorsed;
C



         6. Acceptance by the Insured of sums paid pursuant to the provisions of this clause, including an
            arbitration award, shall not operate to alter, waive, surrender, or in any way affect the rights of the
            Insured against any of the insurers.

     N. LOSS PAYEES, LENDER’S LOSS PAYEES, AND MORTGAGEES (OR TRUSTEES):

        1. Loss, or damage, if any, under this Policy shall be payable to:

            a. any Loss Payee or Lender’s Loss Payee as its interest may appear; and
            b. any Mortgagee (or Trustee) as its interest may appear under all present or future mortgages
               upon the insured property in which the aforesaid may have an interest as Mortgagee (or
               Trustee), in order of precedence of said mortgages.


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            c.   Insurance Trustee: If the Insured names an Insurance Trustee, the Companies will adjust the
                 loss with the Insured, but will pay the Insurance Trustee. If the Companies pay the Insurance
                 Trustee, the payments will satisfy the Insured’s claim against the Companies.

        2. As to the interest of the Lender’s Loss Payee or Mortgagee (or Trustee) only, this insurance
           shall not be invalidated by any act or neglect of the Insured nor by any foreclosure or other
           proceedings or notice of sale relating to said property nor by any change in the title or ownership
           of said property, nor by the occupation of the insured Locations for purposes more hazardous
           than are permitted by this Policy; provided, that in case the Insured shall neglect to pay any
           premium due under this Policy, the Lender’s Loss Payee or Mortgagee (or Trustee) shall, on
           demand pay the same.

            The Lender’s Loss Payee or Mortgagee (or Trustee) must notify the Program Manager of any
            change of ownership or occupancy or increase of hazard which shall come to the knowledge of
            the Lender’s Loss Payee or Mortgagee (or Trustee) and, unless permitted by this Policy it shall
            be noted hereon and the Lender’s Loss Payee or Mortgagee (or Trustee) shall, on demand, pay




                                                            ED
            the premium for such increased hazard; otherwise, this entire Clause 2. shall be null and void.

        3. If the Companies cancel this Policy, they will give:

            a. ten (10) days before the effective date, if cancellation is for non-payment of premium or
               material mis-statement; or

            b. ninety (90) days before the effective date, if cancellation is for any other reason.

                                             FI
        4. Nothing herein shall affect the rights of the Companies to suspend insurance [which shall include
           any insurance applying to the interest of the Loss Payee, Lender’s Loss Payee, or Mortgagee (or
           Trustee)] on any machine, vessel or part thereof in accordance with the Suspension Clause of
           Equipment Breakdown (if such coverage is provided by endorsement to this policy). The
           Companies agree to furnish the Loss Payee, Lender’s Loss Payee, or Mortgagee (or Trustee)
         TI
           with a copy of the suspension notice at the Loss Payee’s, Lender’s Loss Payee’s, or Mortgagee’s
           (or Trustee’s) address.

        5. Whenever the Companies shall pay the Loss Payee, Lender’s Loss Payee, or Mortgagee (or
           Trustee) any sum for loss under this Policy and shall claim that, as to the Insured, no liability
           therefor existed, the Companies shall, to the extent of such payment, be subrogated to all the
       ER

           rights of the party to whom such payment shall be made, under all securities held as collateral to
           the debt, or may, at their option pay to the Loss Payee, Lender’s Loss Payee, or Mortgagee (or
           Trustee) the whole principal due or to grow due on the debt with interest, and shall thereupon
           receive a full assignment and transfer of all rights and securities; but no subrogation shall impair
           the right of the Loss Payee, Lender’s Loss Payee, or Mortgagee (or Trustee) to recover the full
           amount of the Loss Payee’s, Lender’s Loss Payee’s or Mortgagee’s (or Trustee’s) claim.

    O. MISREPRESENTATION AND FRAUD: This entire Policy shall be void if, whether before or after a
C



       loss, the Insured has willfully concealed or misrepresented any material fact or circumstance
       concerning this insurance or the subject thereof, or the interest of the Insured therein, or in case of
       any fraud, or false swearing by the Insured relating thereto.

    P. OTHER INSURANCE/EXCESS INSURANCE/UNDERLYING INSURANCE: In the event there is other
       insurance covering loss or damage insured under this Policy, then this Policy shall apply only as
       excess and in no event as contributory insurance (unless this Policy is specifically written to be
       contributory insurance), and then only after all other insurance has been exhausted, whether or not
       such insurance is collectible. Permission is granted for the Insured to purchase Excess Insurance
       over the limits provided by this Policy, and underlying insurance on all or any part of the deductibles
       of this Policy.




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        However, in the event the Named Insured is a Condominium Association, the Unit-Owner may have
        other insurance covering the same property as this insurance. This insurance is intended to be
        Primary, and not to contribute with other such Unit-Owner insurance.

    Q. PROTECTION AND PRESERVATION OF PROPERTY: In case of actual or imminent direct physical
       loss or damage by a Covered Cause of Loss, the expenses incurred by the Insured in taking
       reasonable and necessary actions for the temporary protection and preservation of Covered Property
       hereunder shall be added to the total physical loss or damage otherwise recoverable under this
       Policy and be subject to the applicable deductible, sublimit of liability and the Policy Limit.

        If, as a result of the Insured’s efforts to protect the insured property, no direct physical loss or damage
        occurs to the insured property, the applicable Deductible shall be that deductible that would have
        applied to the Covered Cause of Loss from which the Insured protected the property.

    R. REINSTATEMENT OF LIMITS: Except for any Covered Cause of Loss which is subject to an
       aggregate limit or sublimit of liability, payment of a claim will not reduce the amount payable under
       this Policy for any subsequent covered loss.




                                                             ED
    S. REQUIREMENTS IN CASE OF LOSS: The Insured shall:

        1. Give immediate written notice of any loss or damage to the Program Manager’s Claims
           Department;

        2. Promptly contact the applicable authority having jurisdiction in the event a law has been broken,
           and promptly file a written report with such authority;

                                              FI
        3. Protect the property from further loss or damage;

        4. Separate the damaged and undamaged personal property;

        5. Maintain such property in the best possible order;
         TI
        6. Furnish a complete inventory of the lost, destroyed, damaged and undamaged property, showing
           in detail quantities, costs, actual cash value and amount of loss claimed;

        7. Furnish all other documents or insurance policies that the Companies may reasonably require;

        8. Allow the Companies to access and inspect any of the damaged or undamaged property; and
       ER

        9. Submit to examination under oath at such times as may be reasonably required about any matter
           relating to this insurance or any claim;

        Within ninety (90) days after the loss, unless such time is extended in writing by the Companies, the
        Insured shall provide the Companies with a Proof of Loss, signed and sworn to by the Insured, stating
        the knowledge and belief of the Insured as to the following:

        1. The time and origin of the loss;
C



        2. The interest of the Insured and of all others in the property;

        3. The value of each item thereof determined in accordance with the Valuation Provisions of this
           Policy and the amount of loss thereto and all encumbrances thereon;

        4. All other contracts of insurance, whether collectible or not, covering any of said property; and

        5. Any changes in the title, use, occupation, location, possession or exposures of said property
           subsequent to the issuance of this Policy, by whom and for what purpose any building herein
           described and the several parts thereof were occupied at the time of loss whether or not it then
           stood on leased ground.




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    T. REVIEW OF VALUES: The Insured shall provide the Program Manager at Policy inception and each
       subsequent anniversary date of this Policy, a Statement of Values which consists of the current 100%
       Property and Time Element values for all insured Locations.

        Such values shall be reported separately for each Location, with separate figures shown for each
        type of coverage at each Location. The property values shall be shown on a Replacement Cost
        Basis for property which is covered on a Replacement Cost basis and on an Actual Cash Value
        basis for other property. The value of stock and supplies to be included in the property values shall be
        in accordance with the Valuation clause contained in this Policy and shall be based on the
        approximate average of the stock and supplies on hand during the twelve months immediately
        preceding the annual review of values. Time Element values (if covered) shall be provided in
        accordance with the terms of the applicable Time Element provisions.

        Upon inception and at each anniversary date of this Policy, the Annual Premium shall be due and
        payable to the Program Manager. Receipt of said Statement of Values by the Program Manager
        shall be considered as authorization by the Insured for premiums under this Policy to be calculated.




                                                           ED
        The premium for this Policy is based upon the Statement of Values on file with the Program Manager,
        or attached to this Policy.

    U. SALVAGE AND RECOVERIES: All salvages, recoveries and payments, excluding proceeds from
       subrogation and underlying insurance recovered or received prior to a loss settlement under this
       Policy, shall reduce the loss accordingly.

    V. SETTLEMENT OF CLAIMS: The amount of loss for which the Companies may be liable shall be
       payable within thirty (30) days after Proof of Loss, as herein required, is received and accepted by the
                                             FI
       Companies and ascertainment of the amount of loss is made either by agreement between the First
       Named Insured and the Companies or an amount is determined by binding Arbitration in accordance
       with the provisions of this Policy.

        The Companies shall have the option to take all, or any part of the property at the agreed or
         TI
        arbitrated value, or to repair, rebuild or replace the property physically lost or damaged with other of
        like kind and quality, within a reasonable time, on giving notice of its intention to do so within sixty
        (60) days after receipt of the Proof of Loss herein required.

    W. SEVERAL LIABILITY NOTICE
       LMA5096 03/08 (Combined Certificate) - amended
       ER

        The liability of an insurer under this Policy is several and not joint with other insurers party to this
        Policy. An insurer is liable only for the proportion of liability it has underwritten. An insurer is not
        jointly liable for the proportion of liability underwritten by any other insurer. Nor is an insurer
        otherwise responsible for any liability of any other insurer that may underwrite this Policy.
        The proportion of liability under this Policy underwritten by an insurer (or, in the case of a Lloyd’s
        syndicate, the total of the proportions underwritten by all the members of the syndicate taken
        together) is shown in this Policy.
C



        In the case of a Lloyd’s syndicate, each member of the syndicate (rather than the syndicate itself) is
        an insurer. Each member has underwritten a proportion of the total shown for the syndicate (that
        total itself being the total of the proportions underwritten by all the members of the syndicate taken
        together). The liability of each member of the syndicate is several and not joint with other members.
        A member is liable only for that member’s proportion. A member is not jointly liable for any other
        member’s proportion. Nor is any member otherwise responsible for any liability of any other insurer
        that may underwrite this Policy. The business address of each member is Lloyd’s, One Lime Street,
        London EC3M 7HA United Kingdom. The identity of each member of a Lloyd’s syndicate and their
        respective proportion may be obtained by writing to Market Services, Lloyd’s, at the above address.
        Although reference is made at various points in this clause to “this Policy” in the singular, where the
        circumstances so require this should be read as a reference to Policies in the plural.

        Wherever the word Insurers is mentioned in this clause, this is deemed to also mean reinsured in
        respect of reinsurance business.


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    X. SUBROGATION: The Companies may require from the Insured an assignment of all right of recovery
        against any party for loss to the extent that payment has been made by the Companies, but the
        Companies shall not acquire any rights of recovery which the Insured has expressly waived in writing
        prior to loss nor shall such waiver in writing affect the Insured's rights under this Policy.

        The Companies do waive rights of recovery against any unit-owner of a Condominium Association.

        However, notwithstanding the foregoing, the Companies shall be subrogated to all the Insured’s
        rights of recover against:

            1. any Architect or Engineer, whether named as an Insured or not, for any loss or damage
               arising out of the performance of professional services in their capacity as such and caused by
               an error, omission, deficiency or act of the Architect or Engineer, by any person employed by
               them or by any others for whose acts they are legally liable, and

            2. any manufacturer or supplier of machinery, equipment or other property, whether named as
               an Insured or not, for the cost of making good any loss or damage which said party has




                                                            ED
               agreed to make good under a guarantee or warranty, whether expressed or implied.

        Any recovery as a result of subrogation proceedings arising out of an Occurrence, after expenses
        incurred in such subrogation proceedings are deducted, shall accrue to the Insured in the proportion
        that the deductible amount and/or any provable uninsured loss amount bears to the entire provable
        loss amount.

        The Insured will cooperate with the Companies and, upon the Companies' request and expense will:

                                             FI
            1. Attend hearings and trials; and

            2. Assist in effecting settlements, securing and giving evidence, obtaining the attendance of
               witnesses, and conducting suits.

    Y. SUIT AGAINST COMPANIES: No suit, action or proceeding for the recovery of any claim under this
         TI
       Policy shall be sustainable in any court of law or equity unless the Insured shall have fully complied
       with all the requirements of this Policy, nor unless the same be commenced within twelve (12)
       months next after the date of the loss, provided however, that if under the laws of the jurisdiction in
       which the property is located such time limitation is invalid, then any such claims shall be void unless
       such action, suit or proceedings is commenced within the shortest limit of time permitted by the laws
       ER

       of such jurisdiction.

    Z. TERRITORIAL LIMITATIONS: Payment of loss under this Policy shall only be made in full
       compliance with all United States of America economic or trade sanction laws or regulations,
       including, but not limited to, sanctions, laws and regulations administered and enforced by the U.S.
       Treasury Department’s Office of Foreign Assets Control (“OFAC”).

    AA. TITLES OF PARAGRAPHS: The titles of the various paragraphs of this Policy (and of endorsements
        included in this Policy) are solely for reference and shall not in any way affect the provisions to which
C



        they relate.

    BB. VACANCY: The Insured has permission to cease operations or remain vacant or unoccupied at an
        insured Location for up to 90 days. Beyond the 90th consecutive day of cessation of operations,
        vacancy or not occupied, whether or not that period of time commenced prior to or during the Policy
        Period, any loss or damage caused by or resulting, directly or indirectly, from Vandalism and
        Malicious Mischief, sprinkler leakage, glass breakage, water, theft or attempted theft is excluded;
        however these restrictions in coverage will not apply if the Insured maintains existing heat, fire
        protection, security and alarm services.

         This restriction does not apply to any Location in the course of construction or renovation.




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                                    SECTION VIII – POLICY DEFINITIONS

    A. Actual Cash Value: The following is added to any provision which uses the term Actual Cash Value:

       Actual Cash Value is calculated as the amount it would cost to repair or replace Covered Property, at
       the time of loss or damage, with material of like kind and quality, subject to a deduction for
       deterioration, depreciation and obsolescence. Actual Cash Value applies to valuation of Covered
       Property regardless of whether that property has sustained partial or total loss or damage.

       The Actual Cash Value of the lost or damaged property may be significantly less than its replacement
       cost.

    B. Aircraft or Vehicle Impact means only physical contact of an aircraft, spacecraft, self-propelled
       missile, or objects falling therefrom, or vehicle or an object thrown up by a vehicle.

    C. Average Daily Value (ADV): Average Daily Value shall be the total 100% Time Element Value
       that would have been projected for the Period of Interruption for the Location(s) where the physical




                                                          ED
       loss or damage occurs, had no physical loss or damage occurred, divided by the number of working
       days in such period. The sum shall include all Time Element values to which the operations of the
       Locations(s) directly or indirectly contribute.

    D. Building: Building is defined as a fully enclosed permanent structure with walls and a continuous
       roof; and such structure while in the course of construction.

    E. Catastrophic Ground Cover Collapse means direct physical loss or damage to Covered Property
       caused by or resulting from catastrophic ground cover collapse, meaning geological activity that
       results in all of the following:
                                           FI
           1. The abrupt collapse of the ground cover;

           2. A depression in the ground cover clearly visible to the naked eye;
         TI
           3. Structural damage to the building, including the foundation; and

           4. The insured Building or structure being condemned and ordered to be vacated by the
              governmental agency authorized by law to issue such an order for that structure.
       ER

       However, structural damage consisting merely of the settling or cracking of a foundation, structure or
       building does not constitute loss or damage resulting from a catastrophic ground cover collapse.

       The Earth Movement exclusion does not apply to coverage for Catastrophic Ground Cover Collapse.

       Coverage for Catastrophic Ground Cover Collapse does not increase the applicable Limit of
       Insurance. Regardless of whether loss or damage attributable to catastrophic ground cover collapse
       also qualifies as Sinkhole Loss or Earth Movement (if either or both of these causes of loss are
       covered), only one Limit of Insurance will apply to such loss or damage.
C



    F. Collapse means an abrupt falling down or caving in of a building or any part of a building with the
       result that the building or part of the building cannot be occupied for its current intended
       purpose. The Collapse must be caused by or resulting from one or more of the following:

           1. Building decay that is hidden from view, unless the presence of such decay is known to the
              Insured prior to collapse;

           2. Insect or vermin damage that is hidden from view, unless the presence of such damage is
               known to the Insured prior to collapse;

           3. Use of defective material or methods in construction, remodeling or renovation if the abrupt
              collapse occurs during the course of construction, remodeling or renovation.



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           4. Use of defective material or methods in construction, remodeling or renovation if the abrupt
              collapse occurs after the construction, remodeling or renovation is complete, but only if the
              collapse is caused in part by:

                    a. A cause of loss listed in F.1. or F.2;

                    b. One or more of the Defined Causes of Loss;

                    c. Breakage of building glass;

                    d. Weight of people or personal property; or

                    e. Weight of rain or snow or ice that collects on a roof.

           5. Catastrophic Ground Cover Collapse.

    G. Companies: The following words shall be synonymous with each other: “Underwriters”, “Insurers”




                                                                ED
       and “Companies”.

    H. Contractor’s Equipment: Machinery, accessories, equipment, spare parts or tools of a mobile nature
        that are used in contracting, installation, erection, repair or moving operations and projects. It
        includes self-propelled vehicles that transport mounted equipment and any vehicle not registered or
        licensed and not used on public roads, even though designed for highway use.

    I. Defined Cause of Loss means Fire, Lightning, Explosion, Windstorm or Hail, Smoke, Aircraft or
       Vehicle Impact, Riot, Strike or Civil Commotion, Vandalism and Malicious Mischief, or Leakage
       from Fire Protection Equipment.
                                              FI
    J. Earth Movement means any natural or manmade:

       1. Earthquake, including any earth sinking, rising or shifting related to such event;
         TI
       2. Landslide, including any earth sinking, rising or shifting related to such event;

       3. Mine subsidence, meaning subsidence of a man-made mine, whether or not mining activity has
          ceased;

       4. Earth sinking, rising or shifting, including soil conditions which cause settling, cracking or other
       ER

          disarrangement of foundations or other parts of realty. Soil conditions include contraction,
          expansion, freezing, thawing, erosion, improperly compacted soil and the action of water under
          the ground surface

       5. Shocks, tremors, mudslide, mud flow, rock falls, volcanic eruption, Sinkhole Loss, subsidence or
          any other Earth Movement.

    K. Earth Movement Counties: As referenced in this Policy, designated Earthquake Zones shall be
       defined as all Locations situated within the States or Counties as specified below:
C



       1. Pacific Northwest States:

           Oregon and Washington.

       2. New Madrid Earthquake Zone Counties:

           Arkansas: Arkansas, Clay, Cleburne, Conway, Craighead, Crittenden, Cross, Desha, Faulkner,
           Fulton, Independence, Izard, Greene, Jackson, Jefferson, Lawrence, Lee, Lincoln, Lonoke,
           Mississippi, Monroe, Phillips, Prairie, Poinsett, Pulaski, Randolph, Sharp, St. Francis, Stone, Van
           Buren, White, and Woodruff.




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           Illinois: Alexander, Bond, Calhoun, Christian, Clark, Clay, Clinton, Coles, Crawford, Cumberland,
           Edwards, Effingham, Fayette, Franklin, Gallatin, Greene, Hamilton, Hardin, Jackson, Jasper,
           Jefferson, Jersey, Johnson, Lawrence, Macoupin, Madison, Marion, Massac, Monroe,
           Montgomery, Moultrie, Perry, Pope, Pulaski, Randolph, Richland, Saline, Shelby, St. Clair, Union,
           Wabash, Washington, Wayne, White, and Williamson.

           Indiana: Daviess, Dubois, Gibson, Knox, Perry, Pike, Posey, Spencer, Sullivan, Vanderburgh,
           and Warrick.

           Kentucky: Ballard, Caldwell, Calloway, Carlisle, Christian, Crittenden, Daviess, Fulton, Graves,
           Hancock, Henderson, Hickman, Hopkins, Livingston, Lyon, Marshall, McCracken, McLean,
           Muhlenberg, Ohio, Todd, Trigg, Union, and Webster.

           Mississippi: Alcorn, Benton, Bolivar, Coahoma, De Soto, Lafayette, Marshall, Panola, Quitman,
           Sunflower, Tallahatchie, Tate, Tippah, Tunica, and Union.

           Missouri: Bollinger, Butler, Cape Girardeau, Carter, Crawford, Dent, Dunklin, Franklin, Howell,




                                                         ED
           Iron, Jefferson, Lincoln, Madison, Mississippi, New Madrid, Oregon, Pemiscot, Perry, Reynolds,
           Ripley, Scott, Shannon, St. Charles, St. Francois, St. Louis City, St. Louis, Ste. Genevieve,
           Stoddard, Warren, Washington, and Wayne.

           Tennessee: Benton, Carroll, Chester, Crockett, Decatur, Dickson, Dyer, Fayette, Gibson,
           Hardeman, Hardin, Haywood, Henderson, Henry, Hickman, Houston, Humphreys, Lake,
           Lauderdale, Madison, McNairy, Montgomery, Obion, Perry, Shelby, Stewart, Tipton, and
           Weakley.

                                           FI
    L. Electronic Data and Media means data, messages, information, coding, programs, instructions or
       any other software stored on electronic, electromechanical, electromagnetic data processing or
       electronically controlled production equipment and distributed by means of a computer network or is
       produced in a format for use with a computer.
         TI
    M. Equipment Breakdown means physical damage to covered equipment that is a direct result of an
       Accident. Accident means a fortuitous event that causes direct physical loss or damage to Covered
       Property. The event must be one of the following:

       1. Mechanical breakdown, including rupture or bursting caused by centrifugal force;
       ER

       2. Artificially generated electrical current, including electric arcing, that disturbs electrical
          devices, appliances or wires;

       3. Explosion of steam boilers, steam pipes, steam engines or steam turbines owned or leased by
          the Insured, or operated under the control of the Insured;

       4. Loss or damage to steam boilers, steam pipes, steam engines or steam turbines caused by or
          resulting from any condition or event inside such equipment; or
C



       5. Loss or damage to hot water boilers or other water heating equipment caused by or resulting
          from any condition or event inside such boilers or equipment.

    N. Explosion: Explosion does not include loss or damage occasioned by or incident to explosion in or of
       the following equipment owned, operated or controlled by the Insured:

       1. Steam boiler, steam turbines, steam engines, and steam pipes interconnecting any of the
          foregoing;

       2. Moving or rotating machinery or parts thereof when such direct loss or damage is caused by
          centrifugal force or mechanical breakdown;

       3. Any products manufactured by the Insured or other property attached thereto or forming or to
          form a part thereof undergoing pressure tests to the extent of the loss to such property.


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         Explosion will include loss or damage arising or resulting from:

         1. The explosion of accumulated combustible gases or unconsumed fuel within the furnace of a
            boiler or pressure vessel, or within the flues or passages which conduct the gases of combustion
            therefrom;

         2. A combustion explosion outside of any equipment excluded above even though such combustion
            explosion may have been the direct result of the explosion or such excluded equipment.

         The following are not explosions within the intent or meaning of this definition:

         1. Electric arcing or any coincident rupture of electrical equipment due to such arcing;

         2. Bursting or rupture caused by freezing;

         3. Sonic shock waves, generally known as Sonic Boom;




                                                              ED
         4. Bursting, rupture or collapse of any safety disc, rupture diaphragm or fusible link.

    O. Exterior Insulation and Finish Systems (EIFS): means a non-load bearing, exterior wall cladding
       system that consists of an expanded foam insulation board attached either adhesively or
       mechanically, or both, to a substrate; an integrally reinforced base coat; and a textured protective
       finish coat.

    P.    Fine Arts means: paintings; etchings; pictures; tapestries; rare or art glass; art glass windows;
         valuable rugs; statuary; sculptures; antique furniture; antique jewelry; bric-a-brac; porcelains; and

                                               FI
         similar property of rarity, historical value, or artistic merit, excluding automobiles, coins, stamps, furs,
         jewelry, precious stones, precious metal, watercraft, aircraft, money and securities.

    Q. Flood means, whether natural or manmade: Flood waters, surface water, waves, tide or tidal water,
       tsunami, overflow or rupture of a dam, levee, dike, floodgates, or other surface containment structure,
       storm surge, the rising, overflowing or breaking of boundaries of natural or manmade bodies of water,
           TI
       or the spray from any of the foregoing, all whether driven by wind or not.

         Water which backs up or discharges from sewers, drains or sumps is a separate Covered Cause of
         Loss and is not considered Flood; unless such backup or discharge was caused by Flood as defined
         above, at which point the backup or discharge shall be considered Flood.
         ER

    R. Fungus, Mold(s), Mildew, Spores Or Yeast:

         Fungus includes, but is not limited to, any of the plants or organisms belonging to the major group
         fungi, lacking chlorophyll, and including mold(s), rusts, mildews, smuts and mushrooms.

         Mold includes, but is not limited to, any superficial growth produced on damp or decaying organic
         matter or on living organisms, and fungi that produce mold(s).

         Spore means any dormant or reproductive body produced by or arising or emanating out of any
C



         fungus, mold(s), mildew, plants, organisms or microorganisms.

    S. Hurricane: A hurricane is a storm system that has been declared to be a Hurricane by the National
       Hurricane Center of the National Weather Service. If Flood is caused by, results from, or
       accompanies a Hurricane, then any physical loss or damage caused by, resulting from, or arising out
       of that Flood shall be treated as Flood, and not Hurricane, for purposes of exclusions, deductibles,
       limits and sublimits hereunder.

    T. Land means land (except land for which values are reported and premiums are charged hereunder),
       including dikes, levees, and other surface containment structures. Surface containment structures
       are not land to a depth of six inches below such surface containment structures.

    U. Leakage From Fire Protection Equipment means direct physical loss or damage from:



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        1. Water or other substances discharged from within any part of the Fire Protection Equipment
           for the insured Location or for any adjoining Locations;

        2. Collapse or fall of tanks forming a part of the Fire Protection Equipment or the component
           parts or supports of such tanks.

        The term Fire Protection Equipment includes tanks, water mains, hydrants or valves, and any other
        equipment whether used solely for fire protection or jointly for fire protection and for other purposes,
        but does not include:

        1. Branch piping from a joint system where such branches are used entirely for purposes other than
           fire protection;

        2. Any underground water mains or appurtenances located outside of the insured Location and
           forming a part of the public water distribution system;

        3. Any pond or reservoir in which the water is impounded by a dam.




                                                           ED
    V. Location means any building, yard, dock, wharf, pier or bulkhead or any group of the foregoing
       bounded on all sides by public streets, clear land space or open waterways, each not less than two
       hundred feet wide. Any bridge or tunnel crossing such street, space or waterway shall render such
       separation inoperative for the purpose of this definition.

    W. Miscellaneous Unnamed Location(s) means a location that has not been included in the Statement
        of Values on file with the Program Manager and has not been reported to the Program Manager as
        may be required in the Policy provisions elsewhere.
                                             FI
        There is no coverage under this Paragraph for loss or damage which is covered under the Error or
        Omissions or Newly Acquired Property provisions of this Policy.

    X. Named Storm: The term “Named Storm” shall include, but not be limited to, storm, cyclone, typhoon,
       atmospheric disturbance, depression or other weather phenomena designated by the US National
         TI
       Hurricane Center and where a name (and not only a number) has been applied. If Flood is caused
       by, results from, or accompanies a Named Storm, then any physical loss or damage caused by,
       resulting from, or arising out of that Flood shall be treated as Flood, and not Named Storm, for
       purposes of exclusions, deductibles, limits and sublimits hereunder.
       ER

    Y. Occurrence means any one loss, disaster, casualty, incident or series of losses, disasters, casualties
       or incidents, not otherwise excluded by this Policy and arising out of a single event or originating
       cause and includes all resultant or concomitant insured losses. The occurrence must occur during
       the policy period.

        If more than one event for Windstorm & Hail, Named Storm, Riot Strike Or Civil Commotion,
        Vandalism & Malicious Mischief, Flood, or Terrorism covered by this Policy occurs within any
        period of 72 hours during the term of this Policy, such covered events shall be deemed to be a single
        Occurrence. When filing Proof of Loss, the Insured may elect the moment at which the 72 hour
C



        period shall be deemed to have commenced, which shall not be earlier than the time when the first
        loss occurs to the Covered Property.

        If more than one event for Earth Movement covered by this Policy occurs within any period of 168
        hours during the term of this Policy, such covered events shall be deemed to be a single
        Occurrence. When filing Proof of Loss, the Insured may elect the moment at which the 168 hour
        period shall be deemed to have commenced, which shall not be earlier than the time when the first
        loss occurs to the Covered Property.

    Z. Pollutants or Contaminants means any solid, liquid, gaseous or thermal irritant or contaminant,
       including smog, smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste, which after its
       release can cause or threaten damage to human health or human welfare or causes or threatens
       damage, deterioration, loss of value, marketability or loss of use to property insured hereunder,



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       including, but not limited to, bacteria, virus, or hazardous substances as listed in the Federal Water
       Pollution Control Act , Clean Air Act, Resource Conservation and Recovery Act of 1976, and Toxic
       Substances Control Act or as designated by the U. S. Environmental Protection Agency. Waste
       includes materials to be recycled, reconditioned or reclaimed.

    AA. Riot, Strike or Civil Commotion means riot and civil commotion including:

       1. Acts of striking employees while occupying the insured Location; and

       2. Pilferage or looting occurring at the time and place of a riot or civil commotion.

    BB. Sinkhole Loss

       1. As respects locations in all states, EXCEPT Florida:

           Sinkhole Loss means: The sudden sinking or collapse of land into underground empty spaces
           created by the action of water on limestone or dolomite. This does not include:




                                                            ED
              a.    The cost of filling sinkholes; or

              b.    Sinking or collapse of land into man-made underground cavities.

       2. As respects locations in Florida:

           a. Sinkhole Loss, means loss or damage to Covered Property when "structural damage" to the
              covered Building, including the foundation, is caused by settlement or systematic weakening

                                              FI
              of the earth supporting the covered Building, only if the settlement or systematic weakening
              results from contemporaneous movement or raveling of soils, sediments, or rock materials
              into subterranean voids created by the effect of water on a limestone or similar rock
              formation.
              Coverage for Sinkhole Loss includes stabilization of the Building (including land
         TI
              stabilization) and repair to the foundation, provided such work is in accordance with the
              requirements of Florida Insurance Law and in accordance with the recommendation of a
              professional engineer and with notice to the Insured. The professional engineer must be
              selected or approved by the Companies. However, until the Insured enters into a contract for
       ER

              performance of building stabilization or foundation repair in accordance with the
              recommendations of the professional engineer as set forth in a report from the Companies:

                    1) The Companies will not pay for underpinning or grouting or any other repair technique
                    performed below the existing foundation of the Building; and

                    2) The Companies’ payment for Sinkhole Loss to Covered Property may be limited to the
                    Actual Cash Value of the loss to such property.
C



               The Insured must enter into a contract for the performance of building stabilization and/or
               foundation repair in accordance with the aforementioned recommendations, within 90 days
               after the Companies notify the Insured that there is coverage for Sinkhole Loss. After the
               Insured has entered into such contract, the Companies will pay the amounts necessary to
               begin and perform such repairs as the work is performed and the expenses are incurred.

               However, if the professional engineer determines, prior to the Insured entering into the
               aforementioned contract or prior to the start of repair work, that the repairs will exceed the
               applicable Limit of Insurance, the Companies must either complete the recommended repairs
               or pay that Limit of Insurance upon such determination. If the aforementioned determination
               is made during the course of repair work and the Companies have begun making payments



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             for the work performed, the Companies must either complete the recommended repairs or
             pay only the remaining portion of the applicable Limit of Insurance upon such determination.
             The most the Companies will pay for the total of all Sinkhole Loss, including Building and
             land stabilization and foundation repair, is the applicable Limit of Insurance on the affected
             Building.

             The stabilization and all other repairs to the Covered Property must be completed within 12
             months after entering into the contract for the performance of these repairs, unless:

                   1) There is a mutual agreement between the Insured and the Companies;

                   2) The claim is involved with the neutral evaluation process;

                   3) The claim is in litigation; or




                                                               ED
                   4) The claim is under appraisal or mediation.

         b. Sinkhole Loss does not include:

                   1) Sinking or collapse of land into man-made underground cavities; or

                   2) Earthquake.

         c. With respect to a claim for alleged Sinkhole Loss, the following provision is added:

                                              FI
                   Following receipt by the Companies of a report from a professional engineer or
                   professional geologist on the cause of loss and recommendations for land stabilization
                   and repair of property, or if the Companies deny the claim, the Companies will notify the
                   Insured of his right to participate in a neutral evaluation program administered by the
       TI
                   Florida Department of Financial Services (hereinafter referred to as the Department). For
                   alleged Sinkhole Loss to commercial residential or farm residential properties, this
                   program applies instead of any mediation procedure set forth elsewhere in this policy, but
                   does not invalidate the Appraisal Condition.
     ER

                   Either party may file a request with the Department for neutral evaluation; the other party
                   must comply with such request. The Companies will pay reasonable costs associated
                   with the neutral evaluation, regardless of which party makes the request. But if a party
                   chooses to hire a court reporter or stenographer to contemporaneously record and
                   document the neutral evaluation, that party must bear the costs of those services. The
                   neutral evaluator will be selected from a list maintained by the Department. The
                   recommendation of the neutral evaluator will not be binding on either party.
C



                   Participation in the neutral evaluation program does not change the Insured’s right to file
                   suit against the Companies, except that the time for filing suit is extended for a period of
                   60 days following the conclusion of the neutral evaluation process or five years,
                   whichever is later.

         d. Coverage for Sinkhole Loss does not increase the applicable Limit of Insurance. Even if loss
            or damage qualifies under, or includes, both Catastrophic Ground Cover Collapse (addressed
            elsewhere) and Sinkhole Loss, only one Limit of Insurance will apply to such loss or damage.

         e. The following provision is added to the REQUIREMENTS IN CASE OF LOSS Condition:




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                   A claim for Sinkhole Loss, including but not limited to initial, supplemental and reopened
                   claims is barred unless notice of claim is provided to the Companies in accordance with
                   the terms of this policy within two years after the Insured knew or reasonably should have
                   known about the Sinkhole Loss.

      The following definitions are added with respect to the coverage provided for Sinkhole loss:

                   1) "Structural damage" means a covered Building, regardless of the date of its
                       construction, has experienced the following:

                       a) Interior floor displacement or deflection in excess of acceptable variances as
                          defined in ACI 117-90 or the Florida Building Code, which results in settlement
                          related damage to the interior such that the interior Building structure or
                          members become unfit for service or represent a safety hazard as defined within
                          the Florida Building Code;




                                                         ED
                       b) Foundation displacement or deflection in excess of acceptable variances as
                          defined in ACI 318-95 or the Florida Building Code, which results in settlement
                          related damage to the "primary structural members" or "primary structural
                          systems" and that prevents those members or systems from supporting the loads
                          and forces they were designed to support to the extent that stresses in those
                          "primary structural members" or "primary structural systems" exceed one and
                          one-third the nominal strength allowed under the Florida Building Code for new

                                           FI
                          buildings of similar structure, purpose, or location;
                       c) Damage that results in listing, leaning, or buckling of the exterior load bearing
                          walls or other vertical "primary structural members" to such an extent that a
                          plumb line passing through the center of gravity does not fall inside the middle
                          one-third of the base as defined within the Florida Building Code;
       TI
                       d) Damage that results in the building, or any portion of the Building containing
                          "primary structural members" or "primary structural systems", being significantly
                          likely to imminently collapse because of the movement or instability of the ground
                          within the influence zone of the supporting ground within the sheer plane
                          necessary       for     the     purpose      of    supporting   such      Building
     ER

                          as defined within the Florida Building Code; or
                       e) Damage occurring on or after October 15, 2005, that qualifies as substantial
                          structural damage as defined in the Florida Building Code.

                   2) "Primary structural member" means a structural element designed to provide support
                       and stability for the vertical or lateral loads of the overall structure.

                   3) "Primary structural system" means an assemblage of "primary structural members".
C



          f. If the Companies deny the claim for Sinkhole Loss without performing testing under section
               627.7072, Florida Statutes, the Insured may demand testing by communicating such demand
               to the Companies in writing within 60 days after the Insured receives the Companies’ denial of
               the claim. The Insured is responsible for 50% of the testing costs, or $2,500, whichever is
               less. If the Companies’ professional engineer or geologist provides written certification,
               pursuant to section 627.7073, that there is sinkhole loss, the Companies will reimburse the
               Insured for the testing costs.

          g. The Insured may not accept a rebate from any person performing repairs for Sinkhole Loss. If
             the Insured receives a rebate, coverage under this Policy is void and the Insured must refund
             the amount of the rebate to the Companies.


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           h. If the Companies deny the claim for Sinkhole Loss upon receipt of written certification from a
              professional engineer or geologist, pursuant to section 627. 7073, that there is no Sinkhole
              loss or that the cause of the damage was not Sinkhole activity, and if the Sinkhole claim was
              submitted without good faith grounds for submitting such claim, the Insured shall reimburse
              the Companies for 50% of the actual costs of the analyses and services provided under
              sections 627.7072 and 627.7073, or $2,500, whichever is less. The Insured is not required to
              pay such reimbursement unless the Insured requested the analysis and services and the
              Companies, before ordering the analysis, informed the Insured in writing of the potential for
              reimbursement and gave the Insured the opportunity to withdraw the claim.

           i. As a precondition to accepting payment for Sinkhole loss, the Insured must file with the county
              clerk of court, a copy of any Sinkhole report regarding the property which was prepared on
              behalf or at the Insured’s request. The Insured will bear the cost of filing and recording the
              sinkhole report.




                                                            ED
   CC. Smoke means loss or damage ensuing from a sudden and accidental release of Smoke. The peril
        of Smoke does not include loss or damage caused by Smoke from agricultural smudging or
        industrial operations.

   DD. Special Flood Hazard Areas means areas of 100-year flooding as defined by the Federal
       Emergency Management Agency (FEMA) and shall only include those Flood Zones that are prefixed
       A or V.
   EE. Tier 1 and Tier 2: Shall be defined as all locations situated within Tier 1 or Tier 2 Counties, Parishes




        Connecticut:
                                              FI
        or Independent Cities as specified below:
        Alabama:            Tier 1: Baldwin and Mobile.
                            Tier 2: Covington, Escambia, Geneva, and Houston.
                            Tier 1: Fairfield, Middlesex, New Haven, and New London.
        TI
                            Tier 2: None.
        Delaware:           Tier 1: Sussex.
                            Tier 2: Kent.
      ER

        Florida:            Tier 1: All counties.
                            Tier 2: None.
        Georgia:            Tier 1: Bryan, Camden, Chatham, Glynn, Liberty, and Mcintosh.
                            Tier 2: Brantley, Charlton, Effingham, Long, and Wayne.
        Hawaii:             Tier 1: All counties.
                            Tier 2: None.
C



        Louisiana:          Tier 1: Cameron, Iberia, Jefferson, Lafourche, Orleans, Plaquemines,
                                   St Bernard, St Martin (South), St Mary, St Tammany, Terrebonne, and
                                  Vermilion.
                           Tier 2: Acadia, Ascension, Assumption, Calcasieu, Iberville, Jefferson Davis,
                                  Lafayette, St Charles, St James, St John The Baptist, St Martin (North),
                                  Tangipahoa, and Washington.
        Massachusetts:     Tier 1: Barnstable, Bristol, Dukes, Essex, Nantucket, Norfolk, Plymouth, and
                                 Suffolk.
                           Tier 2: Middlesex.


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        Maryland:            Tier 1: Worcester.
                             Tier 2: Calvert, Dorchester, St Mary’s, Somerset, and Wilcomico.
        Maine:               Tier 1: Cumberland, Hancock, Knox, Lincoln, Sagadahoc, Waldo, Washington,
                                   and York.
                             Tier 2: None.
        Mississippi:         Tier 1: Hancock, Harrison, and Jackson.
                             Tier 2: George, Pearl River, and Stone.
        New Hampshire:       Tier 1: Rockingham and Strafford.
                             Tier 2: None.
        New Jersey:          Tier 1: Atlantic, Cape May, Monmouth, and Ocean.
                             Tier 2: Burlington, Cumberland, Essex, Hudson, Middlesex, and Union.




                                                              ED
        New York:            Tier 1: Kings, Nassau, Queens, Richmond, and Suffolk.
                             Tier 2: Bronx, New York, and Westchester.
        North Carolina:      Tier 1: Beaufort, Bertie, Brunswick, Camden, Carteret, Chowan, Currituck, Dare,
                                    Hyde, New Hanover, Onslow, Pamlico, Pasquotank, Pender, Perquimans
                                   Tyrrell, and Washington.
                             Tier 2: Bladen, Columbus, Craven, Duplin, Gates, Hertford, Jones, Lenoir,


        Rhode Island:
                                               FI
                                   Martin, Pitt, and Sampson.
                             Tier 1: Newport, and Washington.
                             Tier 2: Bristol, and Kent.
        TI
        South Carolina:      Tier 1: Beaufort, Charleston, Colleton, Georgetown, Horry, and Jasper.
                             Tier 2: Berkeley, Dillon, Dorchester, Florence, Hampton, Marion, and
                                   Williamsburg.
        Texas:               Tier 1: Aransas, Brazoria, Calhoun, Cameron, Chambers, Galveston, Jefferson,
      ER

                                     Kenedy, Kleberg, Matagorda, Nueces, Refugio, San Patricio, and Willacy.
                             Tier 2: Bee, Brooks, Fort Bend, Goliad, Hardin, Harris, Hidalgo, Jackson,
                                   Jim Wells, Liberty, Live Oak, Orange, Victoria, and Wharton.
        Virginia:            Tier 1: Accomack, Chesapeake, Gloucester, Hampton, Isle of Wight,
                                   James City, Lancaster, Mathews, Middlesex, Newport News, Norfolk,
                                  Northampton, Northumberland, Poquoson, Portsmouth, Suffolk, Surry,
C



                                   Virginia Beach City, Westmoreland, Williamsburg City, and York.
                             Tier 2: None.

   FF. Total Insurable Values (TIV): The Total Insurable Values shall include all Covered Property (Real
       & Personal Property) and Time Element values reported on the Statement of Values on file with the
       Program Manager.

   GG. Unit of Insurance: The following shall be considered a separate “unit” of insurance:

            1.      Each separate Building or Structure;
            2.      Contents in each Separate Building or Structure;
            3.      Property in the Yard or open at each scheduled Location;


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               4.   Business Income/Extra Expense in each Separate Building or Structure.

               The above definition is to be used in the determination of the DEDUCTIBLE where a percent
               (%) of TIV of each separate “unit” DEDUCTIBLE applies at the time when such loss occurs.

   HH. Valuable Papers and Records means documents that are written, printed or otherwise inscribed.
       These include:

          1. Books, manuscripts, abstracts, maps and drawings; film and other photographically produced
             records, such as slides and microfilm;

          2.    Legal and financial agreements, such as deeds and mortgages;

          3. Addressograph plates; and

          4. Any electrically produced data, such as printouts, punched cards, tapes or discs.




                                                            ED
          Valuable Papers and Records does not mean money and securities and converted data,
          programs or instructions used in data processing operations, including the materials on which the
          data is stored.

   II.   Vandalism and Malicious Mischief means willful and malicious damage to, or destruction of,
           Covered Property. Vandalism and Malicious Mischief does not include loss or damage caused by
           or resulting from theft, except for real property loss or damage caused by the breaking in or exiting
           of burglars.

   JJ. Warranty:
                                             FI
          1. “Warranty” means any provision of an insurance contract which has the effect of requiring, as a
              condition precedent of the taking effect of such contract or as a condition precedent of the
              Companies’ liability hereunder, the existence of fact which tends to diminish, or the non-
              existence of a fact which tends to increase, the risk of the occurrence of loss or damage within
           TI
              the coverage of the contract.

          2. A breach of warranty shall not void an insurance contract or defeat recovery hereunder unless
              such breach materially increases the risk of loss, damage or injury within the coverage of the
              contract. If the insurance contract specified two or more distinct kinds of loss, damage or injury
         ER

              which are within its coverage, a breach of warranty shall not void such contract or defeat
              recovery hereunder with respect to any kind of loss, damage or injury other than the kind or
              kinds to which such warranty relates and the risk of which is materially increased by the breach
              of such warranty.

   KK. Windstorm or Hail: Direct action of wind or by the direct action of hail, whether accompanied by
       wind or not, but no liability is assumed under this peril for loss or damage caused by or resulting
       from frost or cold weather, ice (other than hail), snow or sleet, whether driven by wind or not.
C




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                           Compass Change- Earned Premium
                   This endorsement changes the policy. Please read carefully.

               This endorsement modifies insurance provided under the following:
                            Compass Commercial Property Form 04 18

   It is understood and agreed that this policy is amended as follows:
        • Section VII, F is deleted in its entirety and replaced with the following:



   F. CANCELLATION AND ADDITIONS OR DELETIONS:




                                                       ED
      1. This Policy can be canceled by the First Named Insured by providing the Companies
         with:
             a. An advanced written request for cancellation stating when the cancellation shall
                be effective, and
             b. The original Policy or a lost policyholder release signed by the First Named
                Insured or its legal representative.
                                         FI
      2. This Policy may be canceled by the Companies by giving to the Insured at least ninety
         (90) days written notice of cancellation or in the case of non-payment of premium or
         material misstatement, at least ten (10) days written notice of cancellation.
        TI
      3. The cancellation will be effective even if the Companies have not made or offered a
         refund. If notice is mailed, proof of mailing will be sufficient proof of notice.

      4. If this Policy is canceled, the Companies will send the First Named Insured any premium
      ER

         refund due.

      5. Earned Premium:
            a. For Locations NOT “Exposed to Hurricanes”, if the Insured cancels this Policy or
               removes a Location, the short rate return premium is 90% of applicable pro-rata
               premium subject to any Minimum Earned Premium stipulations in the Policy.
C



              b. For Locations “Exposed to Hurricanes”, if the Insured cancels this Policy,
                 removes a Location or reduces the amount of insurance on a Location and
                 coverage existed any time during the period of June 1st to November 1 st, the
                 amount of premium the Companies will return will be the Unearned Premium for
                 the Location. The Unearned Premium is the Location premium times the
                 Unearned Factor noted below:




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                    Days Policy in Force                       Unearned Factor

                    1-90                                       65.0%

                    91-180                                     50.0%

                    181-210                                    30.0%

                    211-240                                    15.0%

                    241-270                                    7.5%

                    271-300                                    5.0%




                                                     ED
                    301-330                                    2.5%

                    331 or more                                0.0%

             c. However, subject to receipt of closing documents within 30 days of closing, this
                Policy allows pro-rata return premium for locations sold, but not for loss of a
                management contract (unless the management contract is lost due to the sale of
                the property).
                                        FI
             d. For Locations “Exposed to Hurricanes”, if added (or coverage increased at an
                existing Location which is “Exposed to Hurricanes”) during the term of the Policy
                and coverage exists at any time during the period of June 1st to November 1st,
       TI
                the premium will be calculated at 100% of the annual rate, less the Unearned
                Factor noted in b. above. Otherwise, it shall be pro-rata.

                  However, subject to receipt of closing documents, this Policy allows pro-rata
     ER

                  additional premium for Locations purchased during the policy term.

             e. Locations of like kind and quality shall be added at the account rate, subject to
                the Unearned Factor noted in b. above. Locations of differing kind or quality or
                Locations in Dade, Broward or Palm Beach counties of Florida must be
                approved by the Program Manager prior to attachment.
C



             f.   If a Location is “Exposed to Hurricanes”, the provisions of this clause replace
                  any short rate provisions stipulated in this Policy, all subject to the Minimum
                  Earned Premium provisions.

             g. “Exposed to Hurricanes” is defined to include any Location within 100 miles of
                the closest salt water of the Atlantic Ocean or the Gulf of Mexico.

             h. Coverage cannot be increased nor additional Locations added if they are
                “Exposed to Hurricanes” and a Named Storm is in existence, unless with the
                express written consent of the Program Manager.



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             i.   Nothing herein will act to provide coverage outside the automatic acquisition
                  clause elsewhere in the Policy.

             j.   Proof of mailing will be sufficient proof of notice of cancellation.

             k. In the event of a total loss or constructive total loss to Covered Property by a
                Covered Cause of Loss, the premium applicable to that Covered Property shall
                be fully earned and no return premium will be due to the Insured.




                                                        ED
                                         FI
       TI
     ER


   All other terms and conditions remain unchanged.
C




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            Compass Change- Property Cyber and Data Endorsement
                         This endorsement changes the policy. Please read carefully.

                    This endorsement modifies insurance provided under the following:
                                 Compass Commercial Property Form 04 18

           This endorsement does not bear on the following form if it is also attached to this policy:
                                  Cyber Suite Coverage Form (AR Cyber)

   It is understood and agreed that this policy is amended as follows:
         1. The following Compass clauses are deleted:
                a. Section II- Covered Causes of Loss, B. Exclusions, 16. Electronic Data & Media




                                                           ED
                b. Section IV- Valuations, E. Electronic Data and Media
                c. Section VIII- Policy Definitions, L. Electronic Data and Media
         2. The following LMA 5400 clause shall apply:


                              PROPERTY CYBER AND DATA ENDORSEMENT

   1     Notwithstanding any provision to the contrary within this Policy or any endorsement thereto this
         Policy excludes any:
         1.1
         1.2
                                            FI
               Cyber Loss, unless subject to the provisions of paragraph 2;
               loss, damage, liability, claim, cost, expense of whatsoever nature directly or indirectly caused
               by, contributed to by, resulting from, arising out of or in connection with any loss of use,
         TI
               reduction in functionality, repair, replacement, restoration or reproduction of any Data,
               including any amount pertaining to the value of such Data, unless subject to the provisions of
               paragraph 3;
         regardless of any other cause or event contributing concurrently or in any other sequence thereto.
       ER

   2     Subject to all the terms, conditions, limitations and exclusions of this Policy or any endorsement
         thereto, this Policy covers physical loss or physical damage to property insured under this Policy
         caused by any ensuing fire or explosion which directly results from a Cyber Incident, unless that
         Cyber Incident is caused by, contributed to by, resulting from, arising out of or in connection with a
         Cyber Act including, but not limited to, any action taken in controlling, preventing, suppressing or
         remediating any Cyber Act.
   3     Subject to all the terms, conditions, limitations and exclusions of this Policy or any endorsement
C



         thereto, should Data Processing Media owned or operated by the Insured suffer physical loss or
         physical damage insured by this Policy, then this Policy will cover the cost to repair or replace the
         Data Processing Media itself plus the costs of copying the Data from back -up or from originals of a
         previous generation. These costs will not include research and engineering nor any costs of
         recreating, gathering or assembling the Data. If such media is       not repaired, replaced or restored
         the basis of valuation shall be the cost of the blank Data Processing Media. However, this Policy
         excludes any amount pertaining to the value of such Data, to the Insured or any other party, even if
         such Data cannot be recreated, gathered or assembled.
   4     In the event any portion of this endorsement is found to be invalid or unenforceable, the remainder
         shall remain in full force and effect.




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   5     This endorsement supersedes and, if in conflict with any other wording in the Policy    or any
         endorsement thereto having a bearing on Cyber Loss, Data or Data Processing Media, replaces
         that wording.
   Definitions
   6     Cyber Loss means any loss, damage, liability, claim, cost or expense of whatsoever nature directly
         or indirectly caused by, contributed to by, resulting from, arising out of or in connection with any
         Cyber Act or Cyber Incident including, but not limited to, any action taken in controlling, preventing,
         suppressing or remediating any Cyber Act or Cyber Incident.
   7     Cyber Act means an unauthorised, malicious or criminal act or series of related unauthorised,
         malicious or criminal acts, regardless of time and place, or the threat or hoax thereof involving
         access to, processing of, use of or operation of any Computer System.




                                                                ED
   8     Cyber Incident means:
         8.1     any error or omission or series of related errors or omissions involving access to, processing
                 of, use of or operation of any Computer System; or
         8.2     any partial or total unavailability or failure or series of related partial or total   unavailability or
                 failures to access, process, use or operate any Computer System.
   9     Computer System means:
         9.1                                    FI
                 any computer, hardware, software, communications system, electronic device (including, but
                 not limited to, smart phone, laptop, tablet, wearable device), server, cloud or microcontroller
                 including any similar system or any configuration of the aforementioned and including any
                 associated input, output, data storage device, networking equipment or back up facility,
          TI
         owned or operated by the Insured or any other party.
   10    Data means information, facts, concepts, code or any other information of any kind that is recorded
         or transmitted in a form to be used, accessed, processed, transmitted or stored by a Computer
         System.
        ER

   11    Data Processing Media means any property insured by this Policy on which Data can be stored but
         not the Data itself.


   LMA5400
   11 November 2019
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   All other terms and conditions remain unchanged.




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                                    COMMERCIAL PROPERTY COVERAGE PART
                                EQUIPMENT BREAKDOWN SCHEDULE AND COVERAGE
                          Equipment Breakdown is subject to the Limits of Insurance shown in the
                          Declarations except as specifically shown below.

                       These coverages apply to all locations covered on the policy, unless otherwise specified.

                              EQUIPMENT BREAKDOWN COVERAGE SCHEDULE

                   Coverages                                                        Limits
***********************************************************************************************************
Equipment Breakdown Limit                               $Per Statement of Values or other documentation on file with the Program
                                                               Manager.

Time Element                                                   $Per Statement of Values or other documentation on file with the Program
                                                               Manager.

Extra Expense                                                  $100,000




                                                                         ED
Data Restoration                                               $100,000

Expediting Expenses                                            $100,000

Green Upgrades                                                 $25,000

Hazardous Substances                                           $100,000


Off Premises Equipment Breakdown


Service Interruption

Spoilage
                                                       FI      $100,000


                                                               $Included in Time Element and/or Spoilage.

                                                               $100,000                          @ NIL% Coinsurance
             TI
                                                   Deductibles
******************************************************************************************************
Combined, All Coverages                                 $5,000

Direct Coverages                                               $N/A
           ER

Indirect Coverages                                             $N/A
                                                               or N/A hours ,
                                                               or N/A times ADV

Spoilage                                                       $N/A
                                                               or N/A% of loss, $N/A minimum
C



                                                Other Conditions
*******************************************************************************************************




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                                         EQUIPMENT BREAKDOWN COVERAGE
                                            (Including Electronic Circuitry Impairment)

A.    The following is added to Section VI - ADDITIONAL COVERAGES:

      Additional Coverage-- Equipment Breakdown

      The term Covered Cause of Loss includes the Additional Coverage Equipment Breakdown as described and lmited
      below. Without an accident or electronic circuitry impairment,there is no Equipment Breakdown Coverage.

      1.        The Companies will pay for direct physical damage to Covered Property that is the direct result of an
                accident or electronic circuitry impairment.The Companies will consider electronic circuitry
                impairment to be physical damage to covered equipment.
      2.        Unless otherwise shown in a schedule, the following coverages also apply to the direct result of an
                accident or electronic circuitry impairment. However, with respect to coverage 2.h. Service
                Interruption below and any Contingent Time Element coverage provided by this coverage part, coverage
                will apply only to the direct result of an accident and will not apply to the direct result of an electronic
                circuitry impairment. These coverages do not provide additional amounts of insurance.




                                                                 ED
                a.         Time Element Coverage
                           (1.)       Insurance provided under the coverage part for Time Element Coverage
                                      is extended to the coverage provided by this endorsement. However,
                                      coverage under this endorsement is not extended to the Additional Time
                                      Element Coverages for Soft Costs and Royalties.
                           (2.)       If a deductible is shown in a schedule, then with respect to this
                                      endorsement only, the period of interruption will begin immediately after
                                      the accident or electronic circuitry impairment, and the deductible
                                      shown in the schedule will apply.




                b.
                           (3.)


                           Data Restoration
                           (1.)
                                                FI
                                      The most the Companies will pay for loss or expense under this
                                      coverage is the applicable limit for Time Element Coverage provided,
                                      unless otherwise show in in a schedule.

                                       The Companies will pay for the Insured’s reasonable and necessary cost
                                       to research, replace and restore lost Electronic Data and Media.
       TI
                           (2.)        The most the Companies will pay for loss or expense under this
                                       coverage, including actual loss of covered Time Element the Insured
                                       sustains and necessary covered Extra Expense the Insured incurs, is
                                       $100,000 unless otherwise shown in a schedule.
                c.         Expediting Expenses
                           (1.)         With respect to the Insured’s damaged Covered Property, the
     ER

                                        Companies will pay the reasonable extra cost to:
                                        (a) Make temporary repairs; and
                                        (b) Expedite permanent repairs or permanent replacement.
                           (2.)         The most the Companies will pay for loss or expense under this coverage,
                                        including actual loss of covered Time Element the Insured sustains and
                                        necessary covered Extra Expense the Insured incurs, is $100,000 unless
                                        otherwise shown in a schedule.
C




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                d.   Green Upgrades
                     (1.)       Any insurance provided under the coverage part for Green Upgrades is
                                extended to the coverage provided by this endorsement.
                     (2.)       The most the Companies will pay for loss or expense under this
                                coverage, including actual loss of covered Time Element the Insured
                                sustains and necessary covered Extra Expense the Insured incurs, is
                                $25,000 unless otherwise shown in a schedule.
                e.   Hazadous Substances
                     (1.)       The Companies will pay the Insured's additional cost to repair or replace
                                Covered Property because of contamination by a hazardous
                                substance. This includes the additional expenses to clean up or dispose
                                of such property.
                     (2.)       This does not include contamination of perishable goods by refrigerant, i
                                ncluding but not limited to ammonia, which is addressed in 2.i.(1)(b)
                                below. As used in this coverage, additional costs mean those beyond
                                what would have been payable under this Equipment Breakdown
                                Coverage had no hazardous substance been involved.




                                                          ED
                     (3.)       The most the Companies will pay for loss, damage or expense under
                                this coverage, including actual loss of covered Time Element the Insured
                                sustains and necessary covered Extra Expense the Insured incurs, is
                                $100,000 unless otherwise shown in a schedule.
                f.   Off Premises Equipment Breakdown
                     (1.)         The Companies will pay for physical damage to transportable covered
                                  equipment that, at the time of the accident or electronic circuitry
                                  impairment, is not at an insured Location. As respects this Off
                                  Premises Equipment Breakdown coverage only, the accident or
                                  electronic circuitry impairment may occur in any country except one


                     (2.)
                                         FI
                                  in which the United States has imposed sanctions, embargoes or similar
                                  restrictions on the provision of insurance.
                                  The Companies will also pay for the Insured's reasonable and necessary
                                  cost to research, replace and restore lost Electronic Data and Media
                                  contained within covered equipment as described under (1) above. This
                                  amount may not exceed the limit applicable to Data Restoration
                                  coverage.
       TI
                     (3.)         The most the Companies will pay for loss, damage or expense under
                                  this coverage, including actual loss of covered Time Element the Insured
                                  sustains and necessary covered Extra Expense the Insured incurs, and
                                  Data Restoration as described in (2) above is $100,000 unless otherwise
                                  shown in a schedule.
                g.   Public Relations
     ER

                     (1.)         This coverage only applies if the Insured has sustained an actual loss of
                                  Time Element covered under this endorsement.
                     (2.)         The Companies will pay for the Insured's reasonable costs for
                                  professional services to create and disseminate communications, when
                                  the need for such communications arises directly from the interruption of
                                  the Insured's business. This communication must be directed to one or more of
                                  the following:
                                  (a.) The media;
                                  (b.) The public; or
                                  (c.) The insured's customers,clients or members.
C




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                     (3.)        Such costs must be incurred during the period of interruption or up to 30
                                 days after the period of interruption has ended.
                     (4.)         The most the Companies will pay for loss or expense under this
                                  coverage is $5,000.
                h.   Service Interruption
                     (1.)        Any insurance provided under this endorsement for Time Element, Data
                                 Restoration or Spoilage is extended to apply to the Insured's loss,
                                 damage or expense caused by a failure or disruption of service. The
                                 failure or disruption of service must be caused by an accident to
                                 equipment, including overhead transmission lines, that is owned by a
                                 utility, landlord, a landlord's utility or other supplier who provides the
                                 Insured with any of the following services: electrical power, waste
                                 disposal, air conditioning, refrigeration, heating, natural gas,
                                 compressed air, water, steam, Internet access, telecommunications
                                 services, cloud computing services, wide area networks or data
                                 transmission. The equipment must meet the definition of covered
                                 equipment except that it is not Covered Property.

                     (2.)        Cloud computing services must be provided by a professional




                                                          ED
                                 provider with whom the Insured has a contract.
                     (3.)        With respect to the Data Restoration portion of this Service Interruption
                                 coverage, coverage will also apply to Electronic Data and Media
                                 stored in the equipment of a provider of cloud computing services.
                     (4.)        Unless otherwise shown in a schedule, any insurance provided for
                                 Time Element or Data Restoration will not apply under this Service
                                 Interruption coverage unless the failure or disruption of service exceeds
                                 24 hours immediately following the accident. If the interruption exceeds
                                 24 hours, coverage will begin at the time of the disruption, and the
                                 applicable deductible will apply.
                     (5.)
                                         FI
                                 The most the Companies will pay in any one equipment breakdown for
                                 loss, damage or expense under this coverage is the applicable limit for
                                 covered Time Element, Data Restoration or Spoilage, except that if a
                                 limit is shown in a schedule for Service Interruption, that limit will apply
                                 to Time Element loss under this coverage.
       TI
                i    Spoilage
                     (1.)        The Companies will pay for:
                                 (a.) Physical damage to perishable goods due to spoilage;
                                 (b.) Physical damage to perishable goods due to contamination
                                      from the release of refrigerant, including but not limited to
                                      ammonia;
                                 (c.) Any necessary expenses the Insured incurs to reduce the
     ER

                                      amount of loss under this coverage to the extent that they do
                                      not exceed the amount of loss that otherwise would have been
                                      payable under this coverage.

                     (2.)        If the Insured is unable to replace the perishable goods before its
                                 anticipated sale, the amount of the Companies' payment will be
                                 determined on the basis of the sales price of the perishable goods at
                                 the time of the accident or electronic circuitry impairment, less
                                 discounts and expenses the Insured otherwise would have had.
                                 Otherwise the Companies' payment will be determined in accordance
C



                                 with the Valuation provision.




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                                     182
                          (3)          The most companies will pay for the loss, damage or expense under
                                       this coverage is $100,000 unless otherwise shown in a schedule.
      3.        EXCLUSIONS
                All exclusions in the Commercial Property Compass Form apply except as modified
                below and to the extent that coverage is specifically provided by this Additional Coverage
                Equipment Breakdown.
                a.         The following exclusions are modified:
                           (1)           As respects this endorsement only, ACCIDENT and ELECTRONIC
                                         CIRCUITRY IMPAIRMENT are included as Listed Perils under
                                         SECTION II –- COVERED CAUSES OF LOSS, Exclusion B.4.b) -
                                         Asbestos.
                           (2)           SECTION II – COVERED CAUSES OF LOSS, Exclusion B.5.-
                                         Pollution/Contamination, does not apply to the Hazardous Substances
                                         coverage provided within this endorsement.
                           (3)           As respects this endorsement only, SECTION II – COVERED CAUSES
                                         OF LOSS, Exclusion B.19. is deleted and replaced with the following:
                                         Loss or damage caused by a hydrostatic, pneumatic or gas pressure
                                         test of any boiler or pressure vessel, or an electrical insulation
                                         breakdown test of any type of electrical equipment.
                b.         The following exclusions are added:




                                                                ED
                          (1)          The Companies will not pay for loss, damage or expense caused directly
                                       or indirectly by any of the following, whether or not caused by or
                                       resulting from an accIdent or electronic cIrcuLtry ImpaIrment:
                                       (a)     Fire, including smoke from a fire;

                                       (b)    Explosion of gas or unconsumed fuel within the furnace of any
                                              boiler or fired vessel or within the passages from that furnace to
                                              the atmosphere;
                                       (c)    Any other explosion, except as specifically covered under this
                                              endorsement;
                                       (d)


                                       (e)
                                              FI
                                              Any earth movement, including but not limited to earthquake,
                                              subsidence, sinkhole collapse, landslide, earth sinking, tsunami
                                              or volcanic action;
                                              Flood, surface water, waves, tides, tidal waves, overflow of any
                                              body of water, or their spray, all whether driven by wind or not;
                                              mudslide or mudflow; or water that backs up or overflows from a
                                              sewer, drain or sump;
       TI
                                       (f)    Vandalism; or
                                       (g)    The Insured's failure to use all reasonable means to protect
                                              Covered Property from damage following an accIdent or
                                              electronic cIrcuItry ImpaIrment.
                          (2)          Coverage under this endorsement does not apply to an accIdent or
                                       electronic cIrcuItry ImpaIrment caused by or resulting from:
     ER

                                       (a)    Lightning;
                                       (b)    Windstorm or hail. However this exclusion does not apply when:
                                              i.     Covered equIpment located within a building or
                                                     structure suffers an accIdent or electronic cIrcuItry
                                                     impaIrment that results from windblown rain, snow,
                                                     sand or dust; and
C




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                                                ii.    The building or structure did not first sustain wind or
                                                       hail damage to its roof or walls through which the rain,
                                                       snow, sand or dust entered.
                                         (c)    Smoke; aircraft or vehicles; riot or civil commotion; sprinkler
                                                leakage; elevator collision;
                                         (d)    Breakage of glass; falling objects; weight of snow, ice or sleet;
                                                freezing (caused by cold weather); collapse or molten material;
                                                or
                                         (e)    Water or other means used to extinguish a fire.
                          (3)            With respect to Time Element and Service Interruption coverages, the
                                         Companies will also not pay for:
                                         (a)    Loss caused by the Insured's failure to use due diligence and
                                                dispatch and all reasonable means to resume business; or
                                         (b)    Any increase in loss resulting from an agreement between the
                                                Insured and the Insured's customer or supplier.
                          (4)            The Companies will not pay for loss, damage or expense caused
                                         directly or indirectly by the following, whether or not caused by or
                                         resulting from an accIdent or electronic cIrcuItry ImpaIrment: Any
                                         Fungus, Mold(s), Mildew, Spores or Yeast including any presence,
                                         growth, proliferation, spread or any activity of Fungus, Mold(s),




                                                                  ED
                                         Mildew, Spores or Yeast. This includes, but is not limited to, costs
                                         arising from clean up, removal, or abatement of such Fungus, Mold(s),
                                         Mildew, Spores or Yeast. However, this exclusion does not apply to
                                         spoilage of personal property that is perIshable goods, to the extent
                                         that such spoilage is covered under Spoilage coverage.
                          (5)            The Companies will not pay for any loss or damage to animals.
                c.        Exclusions b.(2)(a), b.(2)(b), b.(2)(c) and b.(2)(d) above shall not apply if:
                          (1)           The excluded cause of loss occurs away from any covered LocatIon




                d.
                         (2)


                         (3)
                                                FI
                                        and causes an electrical surge or other electrical disturbance;
                                        Such surge or disturbance is transmitted through utility service
                                        transmission lines to the covered LocatIon and results in an
                                        accIdent or electronIc cIrcuItry ImpaIrment; and
                                        The loss, damage or expense caused by such surge or disturbance is
                                        not covered elsewhere under the policy.
                         Any cause of loss set forth in exclusion b.(2)(d) above that is not a Covered
       TI
                         Cause of Loss in this coverage part shall be excluded only as respects Service
                         Interruption coverage.
      4.        DEFINITIONS
                The following definitions are added with respect to this endorsement only:
                a.        AccIdent
                          (1)            AccIdent means a fortuitous event that causes direct physical damage
     ER

                                         to covered equIpment. The event must be one of the following:
                                         (a)   Mechanical breakdown, including rupture or bursting caused by
                                               centrifugal force;
                                         (b)   Artificially generated electrical current, including electric arcing,
                                               that disturbs electrical devices, appliances or wires;
C




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                                   (c)  Explosion of steam boilers, steam pipes, steam engines or
                                        steam turbines owned or leased by the Insured, or operated
                                        under the Insured's control;
                                   (d) Loss or damage to steam boilers, steam pipes, steam engines
                                        or steam turbines caused by or resulting from any condition or
                                        event inside such equipment; or
                                   (e) Loss or damage to hot water boilers or other water heating
                                        equipment caused by or resulting from any condition or event
                                        inside such boilers or equipment.
                     (2)           None of the following is an accident:
                                   (a)    Defect, programming error, programming limitation, computer
                                          virus, malicious code, loss of data, loss of access, loss of use,
                                          loss of functionality or other condition within or involving
                                          Electronic Data and Media of any kind; or
                                    (b) Misalignment, miscalibration, tripping off-line, or any condition
                                          which can be corrected by resetting, tightening, adjusting or
                                          cleaning, or by the performance of maintenance.
                                    However, if an accident results, the Companies will pay for the resulting
                                    loss, damage or expense caused by that accident.
                b.   Boilers and vessels means:




                                                           ED
                     (1)            Any boiler, including attached steam, condensate and feedwater piping;
                                    and
                     (2)            Any fired or unfired pressure vessel subject to vacuum or internal
                                    pressure other than the static pressure of its contents.
                     This term does not appear elsewhere in this endorsement, but may appear in a
                     schedule.
                c.   Cloud computing servIces means professional, on-demand, self-service data
                     storage or data processing services provided through the Internet or over
                     telecommunications lines. This includes services known as IaaS (infrastructure
                     as a service), PaaS (platform as a service), SaaS (software as a service) and



                d.   Covered equIpment
                     (1)
                                          FI
                     NaaS (network as a service). This includes business models known as public
                     clouds, community clouds and hybrid clouds. Cloud computing services include
                     private clouds if such services are owned and operated by a third party.

                                    Covered equIpment means, unless otherwise specified in a schedule,
                                    Covered Property:
       TI
                                    (a) That generates, transmits or utilizes energy; or
                                   (b)  Which, during normal usage, operates under vacuum or
                                        pressure, other than the weight of its contents.
                                   Covered equIpment may utilize conventional design and technology or
                                   new or newly commercialized design and technology.
                     (2)           None of the following is Covered equIpment:
     ER

                                   (a)   Structure, foundation, cabinet or compartment;
                                   (b)   Insulating or refractory material;
                                   (c)   Sewer piping, buried vessels or piping, or piping forming a part
                                         of a sprinkler or fire suppression system;
                                   (d)   Water piping other than boiler feedwater piping, boiler
                                         condensate return piping or water piping forming a part of a
                                         refrigerating or air conditioning system;
C




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                                   (e)    VehIcle or any equipment mounted on a vehicle;
                                   (f)      Satellite, spacecraft or any equipment mounted on a satellite or
                                            spacecraft;
                                     (g)    Dragline, excavation or construction equipment; or
                                     (h)    Equipment manufactured by the Insured for sale.
                e.   ElectronIc cIrcuItry means microelectronic components, including but not
                     limited to circuit boards, integrated circuits, computer chips and disk drives.
                f.   ElectronIc cIrcuItry ImpaIrment
                     (1)           Electronlc clrcultry lmpalrment means a fortuitous event involving
                                   electronic circuitry within covered equipment that causes the
                                   covered equipment to suddenly lose its ability to function as it had been
                                   functioning immediately before such event. This definition is subject to
                                   the conditions specified in (2), (3) and (4) below.
                     (2)           The Companies shall determine that the reasonable and appropriate
                                   remedy to restore such covered equlpment's ability to function is the
                                   replacement of one or more electronlc clrcultry components of the
                                   covered equlpment.
                     (3)           The covered equlpment must be owned or leased by the Insured, or
                                   operated under the Insured's control.




                                                           ED
                     (4)           None of the following is an electronlc clrcultry lmpalrment:
                                   (a)    Any condition that can be reasonably remedied by:
                                          i.   Normal maintenance, including but not limited to
                                               replacing expendable parts, recharging batteries or
                                               cleaning;
                                          ii. Rebooting, reloading or updating software or firmware;
                                               or
                                          iii. Providing necessary power or supply.
                                   (b)    Any condition caused by or related to:




                                    (c)
                                          FI
                                          i.    Incompatibility of the covered equlpment with any
                                                software or equipment installed, introduced or
                                                networked within the prior 30 days; or
                                           ii. Insufficient size, capability or capacity of the covered
                                                equlpment .
                                           Exposure to adverse environmental conditions, including but not
       TI
                                           limited to change in temperature or humidity, unless such
                                           conditions result in an observable loss of functionality. Loss of
                                           warranty shall not be considered an observable loss of
                                           functionality.
                g.   Hazardous substance means any substance that is hazardous to health or has
                     been declared to be hazardous to health by a governmental agency.
                h.   One equlpment breakdown means: If an initial accldent or electronlc clrcultry
     ER

                     lmpalrment causes other accldents or electronlc clrcultry lmpalrments, all
                     will be considered one equlpment breakdown. All accldents or electronlc
                     clrcultry lmpalrments that are the result of the same accldentsor electronlc
                     clrcultry lmpalrment will be considered one equlpment breakdown.
                i.   Perlshable goods means personal property maintained under controlled
                     conditions for its preservation, and susceptible to loss or damage if the
                     controlled conditions change.
C




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                                      182
                     j.    Production machinery means any machine or apparatus that processes or produces
                           a product intended for eventual sale. This includes all component
                           parts of such machine or apparatus and any other equipment used exclusively with
                           such machine or apparatus. However, production machinery does not mean any
                           boiler, or fired or unfired pressure vessel. This term does not appear elsewhere in this
                           endorsement, but may appear in a schedule.
                     k.     Schedule means the Equipment Breakdown Coverage Schedule.
                     l.     Vehicle means, as respects this endorsement only, any machine or apparatus
                            that is used for transportation or moves under its own power. Vehicle includes,
                            but is not limited to: car, truck, bus, trailer, train, aircraft, watercraft, forklift,
                            bulldozer, tractor or harvester.
                            However, any property that is stationary, permanently installed at a covered
                            location and that receives electrical power from an external power source will not be
                            considered a vehicle.
B.     The Commercial Property Compass Form is modified as follows.
       The definitions stated above also apply to section B. of this endorsement.
       1.       DEDUCTIBLE
                The deductible in the Declarations applies unless a separate Equipment Breakdown
                deductible is shown in a schedule. If a separate Equipment Breakdown deductible is
                shown, the following applies.




                                                               ED
                Only as regards Equipment Breakdown Coverage, SECTION I –- COVERAGES AND
                LIMITS OF LIABILITY, paragraph G. is deleted and replaced with the following:
                a.         Deductibles for Each Coverage
                          (1)        Unless the schedule indicates that the Insured's deductible is
                                     for all coverages, multiple deductibles may apply to any one
                                     equipment breakdown.
                          (2)        The Companies will not pay for loss, damage or expense under any
                                     coverage until the amount of the covered loss, damage or expense
                                     exceeds the deductible amount indicated for that coverage in the
                                     schedule. The Companies will then pay the amount of loss, damage or




                 b.
                          (3)
                                              FI
                                     expense in excess of the applicable deductible amount, subject to the
                                     applicable limit.
                                     If deductibles vary by type of covered equipment and more than
                                     one type of covered equipment is involved in any one equipment
                                     breakdown, only the highest deductible for each coverage will apply.
                          Direct and Indirect Coverages
        TI
                          (1)        Direct Coverages Deductibles and Indirect Coverages Deductibles may
                                     be indicated in the schedule.
                          (2)        Unless more specifically indicated in the schedule:
                                     (a)       Indirect Coverages Deductibles apply to Time Element loss and
                                               expense; and
                                     (b)       Direct Coverages Deductibles apply to all remaining loss,
      ER

                                               damage or expense covered by this endorsement.
                 c.       Application of Deductibles
                          (1)        Dollar Deductibles
                                     The Companies will not pay for loss, damage or expense resulting from
                                     any one equipment breakdown until the amount of loss, damage or
                                     expense exceeds the applicable deductible shown in the schedule. The
                                     Companies will then pay the amount of loss, damage or expense in
                                     excess of the applicable deductible or deductibles, up to the applicable
                                     Limit of Insurance.
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                         (2)      Time Deductible
                                  If a time deductible is shown in the schedule, the Companies will not be
                                  liable for any loss occurring during the specified number of hours or days
                                  immediately following the accident or electronic circuitry impairment.
                                  If a time deductible is expressed in days, each day shall mean
                                  twenty-four consecutive hours.
                         (3)      Multiple of Average Daily Value (ADV)
                                  If a deductible is expressed as a number times ADV, that amount will be
                                  calculated as follows:
                                  The ADV (Average Daily Value) will be the Time Element (as defined in
                                  any Time Element Coverage that is part of this policy) that would have
                                  been earned during the period of interruption of business had no
                                  accident or electronic circuitry impairment occurred, divided by the
                                  number of working days in that period. No reduction shall be made for
                                  the Time Element not being earned, or in the number of working days,
                                  because of the accident or electronic circuitry impairment or any
                                  other scheduled or unscheduled shutdowns during the period of
                                  interruption. The ADV applies to the Time Element value of the entire
                                  Location, whether or not the loss affects the entire Location. If more
                                  than one Location is included in the valuation of the loss, the ADV will




                                                           ED
                                  be the combined value of all affected Locations. The number indicated
                                  in the schedule will be multiplied by the ADV as determined above. The
                                  result shall be used as the applicable deductible.

                         (4)      Percentage of Loss Deductibles
                                  If a deductible is expressed as a percentage of loss, the Companies will
                                  not be liable for the indicated percentage of the gross amount of loss,
                                  damage or expense (prior to any applicable deductible or coinsurance)
                                  insured under the applicable coverage. If the dollar amount of such
                                  percentage is less than the indicated minimum deductible, the minimum

      2.        CONDITIONS

                a.        Suspension
                                            FI
                                  deductible will be the applicable deductible.

                The following conditions are in addition to those in SECTION VII –       CONDITIONS:

                          Whenever covered equipment is found to be in, or exposed to, a dangerous
                          condition, any of the Companies’ representatives may immediately suspend the
       TI
                          insurance against loss from an accident or electronic circuitry impairment to
                          that covered equipment. This can be done by mailing or delivering a written
                          notice of suspension to:
                          (1)        The Insured's last known address; or
                          (2)        The address where the covered equipment is located.
                          Once suspended in this way, the Insured's coverage can be reinstated only by
                          an endorsement for that covered equipment. If the Companies suspend the
     ER

                          Insured's coverage, the Insured will get a pro rata refund of premium for that
                          covered equipment for the period of suspension. But the suspension will be
                          effective even if the Companies have not yet made or offered a refund.
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                b.       Jurisdictional Inspections
                         If any property that is covered equipment under this endorsement requires
                         inspection to comply with state or municipal boiler and pressure vessel
                         regulations, the Companies agree to perform such inspection on the Insured's
                         behalf. The Companies do not warrant that conditions are safe or healthful.
                c.       Coinsurance
                         If a coinsurance percentage is shown in a schedule for specified coverages, the
                         following condition applies.
                         The Companies will not pay for the full amount of the Insured's loss if the
                         applicable limit is less than the product of the specified coinsurance percentage
                         times the value of the property subject to the coverage at the time of the loss.
                         Instead, the Companies will determine what percentage this calculated product
                         is compared to the applicable limit and apply that percentage to the gross
                         amount of loss. The Companies will then subtract the applicable deductible. The
                         resulting amount, or the applicable limit, is the most the Companies will pay. The
                         Companies will not pay for the remainder of the loss. Coinsurance applies
                         separately to each insured Location.

      3.        VALUATION
                As respects this endorsement only, SECTION IV - VALUATION in the Commercial
                Property Compass Form is deleted and replaced with the following:




                                                           ED
                The Companies will determine the value of Covered Property as follows:
                a.       Except as specified otherwise, the Companies’ payment for damaged Covered
                         Property will be the smallest of:
                         (1)     The cost to repair the damaged property;
                         (2)     The cost to replace the damaged property on the same site; or
                         (3)     The amount the Insured actually spends that is necessary to repair or
                         replace the damaged property.
                b.       The amount of the Companies’ payment will be based on the most cost effective
                         means to replace the function, capacity and remaining useful life of the damaged


                c.


                d.
                         or property.
                                           FI
                         property. This may include the use of generic, used or reconditioned parts, equipment

                         Except as described in d. below, the Insured must pay the extra cost of replacing
                         damaged property with property of a better kind or quality or of a different size or
                         capacity.
                         Environmental, Safety and Efficiency Improvements
                         If covered equipment requires replacement due to an accident or electronic
       TI
                         circuitry impairment, the Companies will pay the Insured's additional cost to
                         replace with equipment that is better for the environment, safer for people or
                         more energy or water efficient than the equipment being replaced. However, the
                         Companies will not pay to increase the size or capacity of the equipment and the
                         Companies will not pay more than 150% of what the cost would have been to
                         replace with like kind and quality. This provision does not apply to the
     ER

                         replacement of component parts or to any property to which Actual Cash Value
                         applies and does not increase any of the applicable limits.

                e.       The following property will be valued on an Actual Cash Value basis:
                         (1)     Any property that does not currently serve a useful or necessary
                                function for the Insured;
                         (2)     Any Covered Property that the Insured does not repair or replace within
                                24 months after the date of the accident or electronic circuitry
                                impairment; and
C




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                            (3)    Any Covered Property for which Actual Cash Value coverage is
                                    specified in a schedule,
                                    Actual Cash Value includes deductions for depreciation.
                    f.      If any one of the following conditions is met, property held for sale by the
                            Insured will be valued at the sales price as if no loss or damage had occurred,
                            less any discounts and expenses that otherwise would have applied:
                            (1)     The property was manufactured by the Insured;
                            (2)     The sales price of the property is less than the replacement cost of the
                                     property; or
                            (3)     The Insured is unable to replace the property before its anticipated sale.

                    g.      Except as specifically provided for under Data Restoration coverage, Electronic
                            Data and Media will be valued on the following basis:
                            (1)     For mass-produced and commercially available software, at the
                                    replacement cost.
                            (2)     For all other Electronic Data and Media, at the cost of blank media for
                                    reproducing the records. The Companies will not pay for data
                                    representing financial records based on the face value of such records.

The most the Companies will pay for loss, damage or expense under this endorsement arising from any
one equipment breakdown is the applicable limit of liability shown in SECTION I -– COVERAGES AND




                                                              ED
LIMITS OF LIABILITY, unless otherwise shown in a schedule. Coverage provided under this
endorsement does not provide an additional amount of insurance.




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          TI
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            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                          LLOYD’S OF LONDON AMENDATORY

     WITH RESPECT TO THE COVERAGE PROVIDED BY CERTAIN UNDERWRITERS
     AT LLOYD’S, LONDON, THE FOLLOWING CLAUSE S (SERVICE OF SUIT and
     APPLICABLE LAW) SHALL APPLY:


                              Service of Suit Clause (U.S.A.)
                                    NMA 1998 4/24/86 (USA date)

     It is agreed that in the event of the failure of the Underwriters hereon to pay any amount claimed




                                                         ED
     to be due hereunder, the Underwriters hereon, at the request of the Insured (or Reinsured), will
     submit to the jurisdiction of a Court of competent jurisdiction within the United States. Nothing in
     this Clause constitutes or should be understood to constitute a waiver of Underwriters' rights to
     commence an action in any Court of competent jurisdiction in the United States, to remove an
     action to a United States District Court, or to seek a transfer of a case to another Court as
     permitted by the laws of the United States or of any State in the United States. It is further agreed
     that service of process in such suit may be made upon

     1. California Insureds:                             2. All other Insureds:
     Foley & Lardner, LLP
     555 California Street, Suite 1700
     San Francisco, CA 94104-1520
     USA
                                          FI             Lloyd’s America, Inc.
                                                         Attention: Legal Department
                                                         280 Park Avenue, East Tower, 25th Floor
                                                         New York, NY 10017
                                                         USA
       TI
     and that in any suit instituted against any one of them upon this contract, Underwriters will abide
     by the final decision of such Court or of any Appellate Court in the event of an appeal.

     The above- named are authorized and directed to accept service of process on behalf of
     Underwriters in any such suit and/or upon the request of the Insured (or Reinsured) to have a
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     written undertaking to the Insured (or Reinsured) that they will enter a general appearance upon
     Underwriters' behalf in the event such a suit shall be instituted.

     Further, pursuant to any statute of any state, territory or district of the United States which makes
     provision therefor, Underwriters hereon hereby designate the Superintendent, Commissioner or
     Director of Insurance or other officer specified for that purpose in the statute, or his successor or
     successors in office, as their true and lawful attorney upon whom may be served any lawful
     process in any action, suit or proceeding instituted by or on behalf of the Insured (or Reins ured)
     or any beneficiary hereunder arising out of this contract of insurance (or reinsurance), and hereby
C



     designate the above-named person to whom the said officer is authorized to mail such process or
     a true copy thereof.


                                 APPLICABLE LAW (U.S.A.)
                                   LMA5021 9/14/2005 (USA date)


     This Insurance shall be subject to the applicable state law to be determined by the court of
     competent jurisdiction as determined by the provisions of the Service of Suit Clause (USA).




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                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                     INDIAN HARBOR INSURANCE COMPANY AMENDATORY


WITH RESPECT TO THE COVERAGE PROVIDED BY INDIAN HARBOR INSURANCE COMPANY, THE
FOLLOWING CLAUSES SHALL APPLY:



                               SERVICE OF PROCESS ENDORSEMENT




                                                            ED
When a cause of action arises in any of the states listed below, service of process applies as shown below for that
state.

                                     ALABAMA Service of Process Clause
The Commissioner of Insurance of the State of Alabama is hereby designated the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Alabama to whom such process shall be forwarded by the Commissioner of Insurance.


                                             FI
                                       ALASKA Service of Process Clause
The Director of Insurance of the Stat e of Alaska is hereby designated the true and lawful attorney of the Insurer
upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The Insurer
further designates Sarah Mims, General Counsel, 505 E agleview Boulevard, Suite 100, Exton, PA 19341-1120, as
its agent in Alaska to whom such process shall be forwarded by the Director of Insurance.
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                                      ARIZONA Service of Process Clause
The Director of Insurance of the St ate of Arizona is hereby designated the tr ue and lawful attorney of the Insurer
upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The Insurer
further designates Sarah Mims, General Counsel, 505 E agleview Boulevard, Suite 100, Exton, PA 19341-1120, as
its agent in Arizona to whom such process shall be forwarded by the Director of Insurance.
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                                    ARKANSAS Service of Process Clause
The Commissioner of Insurance of the St ate of Arkansas is hereby designated the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Arkansas to whom such process shall be forwarded by the Commissioner of Insurance.

                                       CALIFORNIA Service of Suit Clause
C



The Commissioner of Insurance of the St ate of California is hereby designated the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
                                                                                         th
InsurerfurtherdesignatesVivianImperial        c/oCTCorporationSystem,818West7               Street,Suite930,Los
Angeles, CA 90017 as its agent in California to whom    such process shall be forwarded by the Commissioner of
Insurance.

                                    COLORADO Service of Process Clause
The Commissioner of Insurance of the State of Colorado   is hereby designated the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Colorado to whom such process shall be forwarded by the Commissioner of Insurance.




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                                    CONNECTICUT Service of Process Clause
The Commissioner of Insurance of the State of Connecticut is hereby designated the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Connecticut to whom such process shall be forwarded by the Commissioner of Insurance.

                               DISTRICT OF COLUMBIA Service of Process Clause
The Commissioner of Insurance of the Di strict of Columbia is hereby designat ed the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in the Dist rict of Columbia to whom such proce ss shall be forwarded by the Commissioner of
Insurance.

                                    DELAWARE Service of Process Clause
The Commissioner of Insurance of the State of Delaware is hereby designated the true and lawful attorney of the




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Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Delaware to whom such process shall be forwarded by the Commissioner of Insurance.

                                      FLORIDA Service of Process Clause
The Commissioner of Insurance of the    State of Florida is hereby designated  the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-

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1120 as its agent in Florida to whom such process shall be forwarded by the Commissioner of Insurance.

                                         GEORGIA Service of Process
The Commissioner of Insurance of the State of Georgia is hereby designated     the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
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1120, as its agent in Georgia to whom such process shall be forwarded by the Commissioner of Insurance.

                                       HAWAII Service of Process Clause
The Commissioner of Insurance of the State of Hawaii is   hereby designated the true and     lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
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1120, as its agent in Hawaii to whom such process shall be forwarded by the Commissioner of Insurance.

                                        IOWA Service of Process Clause
The Commissioner of Insurance of the State of Iowa is     hereby designated the true and     lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Iowa to whom such process shall be forwarded by the Commissioner of Insurance.
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                                       IDAHO Service of Process Clause
The Director of Insurance of the St ate of Idaho is hereby designated the true   and lawful attorney of the Insurer
upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The Insurer
further designates Sarah Mims, General Counsel, 505 E agleview Boulevard, Suite 100, Exton, PA 19341-1120, as
its agent in Idaho to whom such process shall be forwarded by the Director of Insurance.

                                        ILLINOIS Service of Process Clause
The Director of Insurance of the Stat e of Illinois is hereby designated the tr ue and lawful attorney of the Insurer
upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The Insurer
further designates Sarah Mims, General Counsel, 505 E agleview Boulevard, Suite 100, Exton, PA 19341-1120 as
its agent in Illinois to whom such process shall be forwarded by the Director of Insurance.




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                                      INDIANA Service of Process Clause
The Commissioner of Insurance of the    State of Indiana is hereby designated the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Indiana to whom such process shall be forwarded by the Commissioner of Insurance.

                                      KANSAS Service of Process Clause
The Commissioner of Insurance of the State of Kansas is hereby designated the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Kansas to whom such process shall be forwarded by the Commissioner of Insurance.

                                     KENTUCKY Service of Process Clause
The Secretary of State of Kentucky is hereby designated the true and lawful attorney of the Insurer upon whom
may be served all lawful process in any action, suit or proceeding arising out of this Policy. The Insurer further




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designates Sarah Mims, General Counsel, 505 Eaglevie        w Boulevard, Suite 100,     Exton, PA 19341-1120 as its
agent in Kentucky to whom such process shall be forwarded by the Secretary of State.

                                     LOUISIANA Service of Process Clause
The Secretary of the State of Louisiana is hereby designated the true and lawful attorney of the Insurer upon whom
may be served all lawful process in any action, suit or proceeding arising out of this Policy. The Insurer further
designates Sarah Mims, General Counsel, 505 Eaglevie        w Boulevard, Suite 100, Exton, PA 19341-1120, as its
agent in Louisiana to whom such process shall be forwarded by the Secretary of State.

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                                      MAINE Service of Process Clause
The Acting Superintendent of Insurance of the State of Maine is hereby designated the true and lawful attorney of
the Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy.
The Insurer further designates CT Corporation System, 128 State Street, #3, Augusta, ME 04330, as its agent in
Maine to whom such process shall be forwarded by the Acting Superintendent of Insurance.
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                                    MARYLAND Service of Process Clause
The Commissioner of Insurance of the State of Maryland is hereby designated     the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Maryland to whom such process shall be forwarded by the Commissioner of Insurance.
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                                  MASSACHUSETTS Service of Process Clause
The Commissioner of Insurance of the St ate of Massachusetts is hereby desi gnated the true and lawful attorney of
the Insurer upon whom may be served all lawful process in any action, suit or proceeding aris ing out of this Policy.
The Insurer further designates Sarah Mims, General C   ounsel, 505 Eagleview Boulevar d, Suite 100, Exton, PA
19341-1120 as its agent in Massachusetts to whom such      process shall be forwarded by the Commissioner of
Insurance.

                                     MICHIGAN Service of Process Clause
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The Commissioner of Insurance of the State of Michigan is hereby designated the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates The Corporation Company, 40600 Ann Arbor Road East, Suite 201, Plymouth, MI
48170-4675, as its agent in Michigan to whom such process shall be forwarded by the Commissioner of Insurance.

                                    MINNESOTA Service of Process Clause
The Commissioner of Commerce of the State of Minnesota is hereby designated t he true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Minnesota to whom such process shall be forwarded by the Commissioner of Commerce.




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                                      MISSISSIPPI Service of Process Clause
The Commissioner of Insurance of the State of Mississippi is hereby desi gnated the true and lawful agent of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Mississippi to whom such process shall be forwarded by the Commissioner of Insurance.


                                        MISSOURI Service of Process Clause
The Director of the Department of Insurance of the State of Missouri         is hereby designated the true and lawful
attorney of the Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of
this Policy. The Insurer further designates Sarah Mi      ms, General Counsel, 505 Eaglev iew Boulevard, Suite 100,
Exton, PA 19341-1120, as its agent in Missouri to whom such          process shall be forwarded by the Director of the
Department of Insurance.

                                     MONTANA Service of Process Clause




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The Commissioner of Insurance of the State of Montana is hereby designated t he true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Montana to whom such process shall be forwarded by the Commissioner of Insurance.

                                      NEBRASKA Service of Process Clause
The Director of Insurance of the Stat e of Nebraska is hereby designated the tr ue and lawful attorney of the Insurer
upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The Insurer

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further designates Sarah Mims, General Counsel, 505 E agleview Boulevard, Suite 100, Exton, PA 19341-1120, as
its agent in Nebraska to whom such process shall be forwarded by the Director of Insurance.

                                      NEVADA Service of Process Clause
The Commissioner of Insurance of the State of Nevada is hereby designated the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
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Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Nevada to whom such process shall be forwarded by the Commissioner of Insurance.

                                  NEW HAMPSHIRE Service of Process Clause
The Commissioner of Insurance of the State of New Hampshire is hereby designated the true and lawful attorney of
the Insurer upon whom may be served all lawful process in any action, suit or proceeding aris ing out of this Policy.
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The Insurer further designates Sarah Mims, General C   ounsel, 505 Eagleview Boulevar d, Suite 100, Exton, PA
19341-1120, as its agent in New Hampshire to whom such      process shall be forwarded by the Commissioner of
Insurance.

                                    NEW JERSEY Service of Process Clause
The Commissioner of Insurance of the St ate of New Jersey is hereby designated the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
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1120, as its agent in New Jersey to whom such process shall be forwarded by the Commissioner of Insurance.

                                     NEW MEXICO Service of Process Clause
The Superintendent of Insurance of the State of New Mexico is hereby desi gnated the true and lawful attorney of
the Insurer upon whom may be served all lawful process in any action, suit or proceeding aris ing out of this Policy.
The Insurer further designates Sarah Mims, General C    ounsel, 505 Eagleview Boulevar d, Suite 100, Exton, PA
19341-1120, as its agent in New Mexico to whom such       process shall be forwarded by the Superintendent of
Insurance.

                                     NEW YORK Service of Process Clause
The Superintendent of Insurance of the State of New York is hereby designated the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in New York to whom such process shall be forwarded by the Superintendent of Insurance.


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                                   NORTH CAROLINA Service of Process Clause
The Commissioner of Insurance of the St ate of North Carolina is hereby desi gnated the true and lawful attorney of
the Insurer upon whom may be served all lawful process in any action, suit or proceeding aris ing out of this Policy.
The Insurer further designates Sarah Mims, General C    ounsel, 505 Eagleview Boulevar d, Suite 100, Exton, PA
19341-1120, as its agent in North Carolina to whom such     process shall be forwarded by the Commissioner of
Insurance.

                                    NORTH DAKOTA Service of Process Clause
The Commissioner of Insurance of the St ate of North Dakota is hereby desi gnated the true and lawful attorney of
the Insurer upon whom must be served all lawful process in any action, suit or proceeding arising out of this Policy.
The Insurer further designates Sarah Mims, General C       ounsel, 505 Eagleview Boulevar d, Suite 100, Exton, PA
19341-1120, as its agent in North Dakota to whom such process shall be forwarded by the Commissioner of
Insurance.

                                         OHIO Service of Process Clause




                                                             ED
The Superintendent of Insurance of the State of Ohio is hereby designated      the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Ohio to whom such process shall be forwarded by the Superintendent of Insurance.

                                    OKLAHOMA Service of Process Clause
The Commissioner of Insurance of the State of Oklahoma is hereby designated the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The

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Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Oklahoma to whom such process shall be forwarded by the Commissioner of Insurance.

                                      OREGON Service of Process Clause
The Commissioner of Insurance of the State of Oregon is   hereby designated the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
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Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Oregon to whom such process shall be forwarded by the Commissioner of Insurance.

                                    PENNSYLVANIA Service of Process Clause
The Commissioner of Insurance of the State of Pennsylvania is hereby desi    gnated the true and lawful attorney of
the Insurer upon whom may be served all lawful process in any action, suit or proceeding aris ing out of this Policy.
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The Insurer further designates Sarah Mims, General C   ounsel, 505 Eagleview Boulevar d, Suite 100, Exton, PA
19341-1120, as its agent in Pennsylvania to whom such     process shall be forwarded by the Commissioner of
Insurance.

                                   PUERTO RICO Service of Process Clause
The Commissioner of Insurance of Puerto Rico is hereby designated the true and lawful attorney of the Insurer
upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The Insurer
further designates: Sarah Mims, General Counsel, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-1120, as
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its agent in Puerto Rico to whom such process shall be forwarded by the Commissioner of Insurance.

                                  RHODE ISLAND Service of Process Clause
The Commissioner of Insurance of the State of Rhode Island is hereby designated the true and lawful attorney of
the Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy.
The Insurer further designates CT Corporation System, 450 Veterans Memorial Parkway, Suite 7A, East
Providence, RI 02914, as its agent in Rhode Island to whom such process shall be forwarded by the Commissioner
of Insurance.




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                                  SOUTH CAROLINA Service of Process Clause
The Director of Insurance of the St ate of South Carolina is hereby designat ed the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in South Carolina to whom such process shall be forwarded by the Director of Insurance.

                                   SOUTH DAKOTA Service of Process Clause
The Director of Insurance of the St ate of South Dakota is hereby designat ed the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in South Dakota to whom such process shall be forwarded by the Director of Insurance.

                                    TENNESSEE Service of Process Clause
The Commissioner of Insurance of the State of Tennessee is hereby designated the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The




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Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Tennessee to whom such process shall be forwarded by the Commissioner of Insurance.

                                       TEXAS Service of Process Clause
The Commissioner of Insurance of the State of Texas is    hereby designated the true and     lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Texas to whom such process shall be forwarded by the Commissioner of Insurance.

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                                           UTAH Service of Process Clause
The Commissioner of Insurance and Lieutenant Governor of the State of Utah are hereby designated the true and
lawful agents of the Insurer upon whom may be served all lawful process in any action, suit or proceeding arising
out of this Policy. The Insurer further designates Sa rah Mims, General Counsel, 505 Eagleview Boulevard, Suite
100, Exton, PA 19341-1120, as its agent in Utah to whom such process shall be forwarded by the Commissioner of
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Insurance or Lieutenant Governor.

                                     VERMONT Service of Process Clause
The Secretary of the State of Vermont is hereby designated the true and lawful attorney of the Insurer upon whom
may be served all lawful process in any action, suit or proceeding arising out of this Policy. The Insurer further
designates CT Corporation System, 17 G W Tatro Drive, Jeffersonville, VT 05464-9919, as its agent in Vermont to
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whom such process shall be forwarded by the Secretary of State.

                                      VIRGINIA Service of Process Clause
The Clerk of the Commissioner of Insur ance of the State of Virginia is hereby designated the true and lawful agent
of the Insurer upon whom may be served all lawful process      in any action, suit or proceeding arising out of this
Policy. The Insurer further designates Sarah Mims, General Counsel, 505 Eagleview Boul evard, Suite 100, Exton,
PA19341-1120,asitsagentinVirginiatowhomsuch                  processshallbeforwardedbythe Clerk of the
Commissioner of Insurance.
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                                   WASHINGTON Service of Process Clause
The Commissioner of Insurance of the State of Washington is hereby designated the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Washington to whom such process shall be forwarded by the Commissioner of Insurance.

                                   WEST VIRGINIA Service of Process Clause
The Secretary of State of West Virginia is hereby desi gnated the true and lawful attorney of the Insurer upon whom
may be served all lawful process in any action, suit or proceeding arising out of this Policy. The Insurer further
designates Sarah Mims, General Counsel, 505 Eaglevie        w Boulevard, Suite 100, Exton, PA 19341-1120, as its
agent in West Virginia to whom such process shall be forwarded by the Secretary of State.




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                                       WISCONSIN Service of Process Clause
The Commissioner of Insurance and the Department of Financia l Institutions of the Stat e of Wisconsin are hereby
designated the true and lawful attorneys of the Insurer upon whom may be served all lawful process in any action,
suit or proceeding arising out of this Policy. The In surer further designates Sarah Mims, General Counsel, 505
Eagleview Boulevard, Suite 100, Ext on, PA 19341-1120, as its agent in Wisconsin to whom such process shall be
forwarded by the Commissioner of Insurance or the Department of Financial Institutions.

                                     WYOMING Service of Process Clause
The Commissioner of Insurance of the State of Wyoming is hereby designated the true and lawful attorney of the
Insurer upon whom may be served all lawful process in any action, suit or proceeding arising out of this Policy. The
Insurer further designates Sarah Mims, General Couns el, 505 Eagleview Boulevard, Suite 100, Exton, PA 19341-
1120, as its agent in Wyoming to whom such process shall be forwarded by the Commissioner of Insurance.

For Illinois exposures, the Insurer furt   her designates the Director of the Illinois Division of Insurance and his




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successors in office, as its true and lawful attorney upon     whom may be served any lawful process in any action,
suit or proceeding instituted by or on behalf of the Insured or any beneficia ry hereunder arising out of an Illinois
exposure and this contract of insurance.




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All other terms and conditions of this Policy remain unchanged.
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                         NOTICE TO POLICYHOLDERS

                                            FRAUD NOTICE


    Alabama       Any person who knowingly presents a false or fraudulent claim for payment of a loss or
                  benefit or who knowingly presents false information in an application for        insurance is
                  guilty of a crime and may be subject to restitution fines or confinement in prison, or any
                  combination thereof.
    Arkansas      Any person who knowingly presents a false or fraudulent claim for payment of a loss or
                  benefit or knowingly presents false information in an application for insurance is guilty
                  of a crime and may be subject to fines and confinement in prison.
    Colorado      It is unlawful to knowingly provide false, incomplete, or misleading facts or
                  information to an insurance company for the purpose of defrauding or
                  attempting to defraud the company. Penalties may include imprisonment, fines,
                  denial of insurance, and civil damages. Any insurance company or agent of an




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                  insurance company who knowingly provides false, incomplete, or misleading
                  facts or information to a policyholder or claimant for the purpose of defrauding
                  or attempting to defraud the policyholder or claimant with regard to a settlement
                  or award payable from insurance proceeds shall be reported to the Colorado
                  Division of Insurance within the Department of Regulatory Agencies.
    District of   WARNING: It is a crime to provide false or misleading information to an insurer for the
    Columbia      purpose of defrauding the insurer or any other person. Penalties include imprisonment
                  and/or fines. In addition, an insurer may deny insurance benefits if false information
                  materially related to a claim was provided by the applicant.
    Florida


    Kansas
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                  Any person who knowingly and with intent to injure, defraud, or deceive any insurer
                  files a statement of    claim or an application containing any false, incomplete, or
                  misleading information is guilty of a felony of the third degree.
                  A "fraudulent insurance act" means an act committed by any person who, knowingly
                  andwith intent to defraud, presents,         causes to be presented or prepares with
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                  knowledge or belief that it will be presented to or by an insurer, purported insurer,
                  broker or any agent thereof, any written,        electronic, electronic impulse, facsimile,
                  magnetic, oral, or telephonic communication or statement as part of, or in support of, an
                  application for the issuance of, or the rating of an insurance policy for personal or
                  commercial insurance, or a claim for payment or other benefit pursuant to an insurance
                  policy for commercial or personal insurance which such person knows to contain
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                  materially false information concerning any fact material thereto; or conceals, for the
                  purpose of misleading, information concerning any fact material thereto.
    Kentucky      Any person who knowingly and with intent to defraud any insurance company or other
                  person files an application for insurance containing any materially false information or
                  conceals, for the purpose of misleading, information concerning any fact              material
                  thereto commits a fraudulent insurance act, which is a crime.
    Louisiana     Any person who knowingly presents a false or fraudulent claim for payment of a loss or
                  benefit or knowingly presents false information in an application for insurance is guilty
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                  of a crime and may be subject to fines and confinement in prison.
    Maine         It is a crime to knowingly provide false, incomplete or misleading information to an
                  insurance company for the purpose of defrauding the company. Penalties may include
                  imprisonment, fines, or denial of insurance benefits.
    Maryland      Any person who knowingly or willfully presents a false or fraudulent claim for payment
                  of a loss or benefit or who knowingly or         willfully presents false information in an
                  application for insurance is guilty of a crime and may be subject to fines and
                  confinement in prison.
    New Jersey    Any person who includes any false or misleading information on an application for an
                  insurance policy is subject to criminal and civil penalties.




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                         NOTICE TO POLICYHOLDERS

   New Mexico     ANY PERSON WHO KNOWINGLY PRESENTS A FALSE OR FRAUDULENT CLAIM
                  FOR PAYMENT OF A LOSS OR BENEFIT OR KNOWINGLY PRESENTS FALSE
                  INFORMATION IN AN APPLICATION FOR INSURANCE IS GUILTY OF A CRIME
                  AND MAY BE SUBJECT TO CIVIL FINES AND CRIMINAL PENALTIES.
   New York       General: All applications for commercial insurance, other than automobile
                  insurance: Any person who knowingly and with intent to defraud any insurance
                  company or other person files an application for insurance or statement of claim
                  containing any materially false information, or conceals for the purpose of misleading,
                  information concerning any fact material thereto, commits a fraudulent insurance act,
                  which is a crime, and shall also be subject to a civil penalty not to exceed five thousand
                  dollars and the stated value of the claim for each such violation.

                  All applications for automobile insurance and all claim forms: Any person who
                  knowingly makes or knowingly assists, abets, solicits or conspires with another to make




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                  a false report of the theft, destruction, damage or conversion of any motor vehicle to a
                  law enforcement agency, the department of motor vehicles or an insurance company,
                  commits a fraudulent insurance act, which is a crime, and shall also be subject to a civil
                  penalty not to exceed five thousand dollars and the value of the subject motor vehicle
                  or stated claim for each violation.

                  Fire: Any person who knowingly and with intent to defraud any insurance company or
                  other person files an application for insurance containing any false information, or
                  conceals for the purpose of misleading, information concerning any fact material
                                         FI
                  thereto, commits a fraudulent insurance act, which is a crime.

                  The proposed insured affirms that the foregoing information is true and agrees that
                  these applications shall constitute a part of any policy issued whether attached or not
                  andthat any willful concealmen        t or misrepresentation of a material fact or
         TI
                  circumstances shall be grounds to rescind the insurance policy.
   Ohio           Any person who, with intent to defraud or knowing that he is facilitating a fraud against
                  aninsurer, submits an application or files a claim        containing a false or deceptive
                  statement is guilty of insurance fraud.
   Oklahoma       WARNING: Any person who knowingly, and with intent to injure, defraud or deceive
                  any insurer, makes any claim for the proceeds of an insurance policy containing any
       ER

                  false, incomplete or misleading information is guilty of a felony.

                  WARNING: All Workers Compensation Insurance:
                  Any person or entity who makes any material false statement or representation, who
                  willfully and knowingly omits or conceals any material information, or who employs any
                  device, scheme, or artifice, or who aids and abets any person for the purpose of:
                  1. obtaining any benefit or payment,
                  2. increasing any claim for benefit or payment, or
C



                  3. obtaining workers' compensation coverage under this act, shall be guilty of a felony
                       punishable pursuant to Section 1663 of Title 21 of the Oklahoma Statutes.
   Pennsylvania   Any person who knowingly and with intent to defraud any insurance company or other
                  person files an application for insurance or statement of claim containing any materially
                  false information or conceals for the purpose of misleading, information concerning any
                  fact material thereto commits a fraudulent insurance act, which is a crime and subjects
                  such person to criminal and civil penalties.

                  Automobile Insurance: Any person who knowingly and with intent to injure or defraud
                  any insurer files an application or claim containing any false, incomplete or misleading
                  information shall, upon conviction, be subject to imprisonment for up to seven years
                  and the payment of a fine of up to $15,000.


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                              NOTICE TO POLICYHOLDERS

    Puerto Rico        Any person who knowingly and with the intention of defrauding presents false
                       information in an insurance application, or presents, helps, or causes the
                       presentation of a fraudulent claim for the payment of a loss or any other benefit,
                       or presents more than one claim for the same damage or loss, shall incur a
                       felony and, upon conviction, shall be sanctioned for each violation by a fine of
                       not less than five thousand dollars ($5,000) and not more than ten thousand
                       dollars ($10,000), or a fixed term of imprisonment for three (3) years, or both
                       penalties. Should aggravating circumstances [be] present, the penalty thus
                       established may be increased to a maximum of five (5) years, if extenuating
                       circumstances are present, it may be reduced to a minimum of two (2) years.
    Rhode Island       Any person who knowingly presents a false or fraudulent claim for payment of a loss or
                       benefit or knowingly presents false information in an application for insurance is guilty
                       of a crime and may be subject to fines and confinement in prison.
    Tennessee          It is a crime to knowingly provide false, incomplete or misleading information to an




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                       insurance company for the purpose of defrauding the company. Penalties include
                       imprisonment, fines and denial of insurance benefits.

                       Workers’ Compensation: It is a crime to knowingly provide false, incomplete or
                       misleading information to any party to a workers’ compensation transaction for the
                       purpose of committing fraud. Penalties include imprisonmen            t, fines and denial of
                       insurance benefits.
    Utah               Workers’ Compensation: Any person who knowingly presents false or fraudulent
                       underwriting information, files or causes to be filed a false or fraudulent claim for



    Virginia
                                          FI
                       disability compensation or medical benefits, or submits a false or fraudulent report or
                       billing for health care fees or other professional services is guilty of a crime and may be
                       subject to fines and confinement in state prison.
                       It is a crime to knowingly provide false, incomplete or mis       leading information to an
                       insurance company for the purpose of defrauding the company. Penalties include
       TI
                       imprisonment, fines and denial of insurance benefits.
    Washington         It is a crime to knowingly provide false, incomplete or misleading information to an
                       insurance company for the purpose of defrauding the company. Penalties include
                       imprisonment, fines and denial of insurance benefits.
    West Virginia      Any person who knowingly presents a false or fraudulent claim for payment of a loss or
                       benefit or knowingly presents false information in an application for insurance is guilty
     ER

                       of a crime and may be subject to fines and confinement in prison.
    All Other States   Any person who knowingly and willfully presents false information in an application for
                       insurance may be guilty of insurance fraud and subject to fines and confinement in
                       prison. (In Oregon, the aforementioned actions may constitute a fraudulent insurance
                       act which may be a crime and may subject the person to penalties).
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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               QBE SPECIALTY INSURANCE COMPANY
                               SERVICE OF PROCESS ENDORSEMENT
When a cause of action arises in any of the states listed below, service of process applies as shown below for that state.
As used in this endorsement, “the Company” shall mean QBE Specialty Insurance Company.

                                         ALABAMA Service of Process Clause
   The Company hereby designates the Commissioner of Insurance of the State of Alabama as its true and lawful attorney
   upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured
   or any beneficiary hereunder arising out of this contract of insurance. The Company further designates CT Corporation
   System, 2 North Jackson Street, Suite 605, Montgomery, AL 36104 as the person to whom the Commissioner shall mail
   process.




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                                              ALASKA Service of Process Clause
   Upon any cause of action arising in Alaska under this contract, the Company may be sued. The Company appoints the
   Director of Insurance for the State of Alaska as its attorney for acceptance of service of all legal process issued in this
   state in any action or proceeding arising out of this policy. Service of process upon the Director, or his successors in
   office, shall be lawful service upon the Company. The Company further designates CT Corporation System, 9360 Glacier
   Highway, Suite 202, Juneau, AK 99801 as the person to whom the Director is authorized to mail such process or a true
   copy thereof.


                                                  FI
                                           ARIZONA Service of Process Clause
   Upon any cause of action arising in Arizona under this contract, the Company may be sued in the circuit court of the
   county in which the cause of action arose. Service of process against the Company may be made in such action by
   service upon the Director of Insurance of the State of Arizona by the clerk of the court in which the action is brought. The
   Company further designates CT Corporation System, 3800 North Central Avenue, Suite 460, Phoenix, AZ 85012, as the
   person to whom the Director shall mail process.
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                                        ARKANSAS Service of Process Clause
   Upon any cause of action arising in Arkansas under this contract, the Company may be sued in the court of the county
   in which the cause of action arose. Service of process against the Company may be made in such action by service
   upon the Commissioner of Insurance of the State of Arkansas and his successors in office by the clerk of the court in
           ER

   which the action is brought. The Company further designates The Corporation Company, 124 West Capitol Avenue,
   Suite 1900, Little Rock, AR 72201 as the person to whom the Commissioner shall mail process.

                                               CALIFORNIA Service of Suit Clause
   The Company hereby designates CT Corporation System, 818 West 7th Street, Suite 930, Los Angeles, California, 90017
   as its true and lawful attorney in and for the State of California, upon whom all lawful process may be served in any
   action, suit or proceeding instituted in California by or on behalf of any insured or beneficiary against the Company arising
   out of this insurance policy, provided a copy of any process, suit, complaint or summons is sent by certified or registered
   mail to: 55 Water Street, 19th Floor, New York, NY 10041.
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                                         COLORADO Service of Process Clause
   Upon any cause of action under this policy, the Company may be sued in the district court of the county in which the
   cause of action arose. The Company appoints the Commissioner of Insurance for the State of Colorado as its attorney
   for acceptance of service of all legal process issued in this state in any action or proceeding arising out of this policy.
   Service of process upon the Commissioner shall be lawful service upon the Company. The Company further designates
   CT Corporation System, 7700 East Arapahoe Road, Suite 220, Centennial, CO 80112 as the person to whom the
   Commissioner is authorized to mail such process or a true copy thereof.




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                                      CONNECTICUT Service of Process Clause
  Upon any cause of action under this policy, the Company may be sued in the district court of the county in which the
  cause of action arose. The Company appoints the Commissioner of Insurance for the State of Connecticut as its attorney
  for acceptance of service of all legal process issued in this state in any action or proceeding arising out of this policy.
  Service of process upon the Commissioner shall be lawful service upon the Company. The Company further designates
  CT Corporation System, 67 Burnside Avenue, East Hartford, CT 06108 as the person to whom the Commissioner is
  authorized to mail such process or a true copy thereof.

                                        DELAWARE Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the State of Delaware as its true and lawful attorney
  upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured
  or any beneficiary arising out of this contract of insurance. The Company further designates The Corporation Trust
  Company, Corporation Trust Center, 1209 Orange Street, Wilmington, DE 19801 as the person to whom the
  Commissioner shall mail process.

                                 DISTRICT OF COLUMBIA Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the District of Columbia as its true and lawful attorney
  upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured




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  or any beneficiary arising out of this contract of insurance. The Company further designates CT Corporation System,
  1015 15th Street, NW, Suite 1000, Washington, DC 20005 as the person to whom the Commissioner shall mail process.

                                            FLORIDA Service of Process Clause
  The Company hereby designates the Chief Financial Officer of the Department of Financial Services as its agent upon
  whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured or any
  beneficiary hereunder arising out of this contract of insurance. The Company further designates CT Corporation System,
  1200 South Pine Island Road, Plantation, FL 33324 as the person to whom the Chief Financial Officer shall mail process.

                                                  FI
                                                  GEORGIA Service of Process
  Upon any cause of action under this policy, the Company may be sued in the superior court of the county in which the
  cause of action arose. The Company appoints the Georgia Commissioner of Insurance as its attorney for acceptance
  of service of all legal process issued in this state in any action or proceeding arising out of this policy. Service of process
  upon the Commissioner shall be lawful service upon the Company. The Company further designates CT Corporation
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  System, 289 South Culver Street, Lawrenceville, GA 30046 as the person to whom the Commissioner is authorized to
  mail such process or a true copy thereof.

                                           HAWAII Service of Process Clause
  Upon any cause of action under this policy, the Company may be sued in the district court of the county in which the
  cause of action arose. The Company appoints the Commissioner of Insurance for the State of Hawaii as its attorney for
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  acceptance of service of all legal process issued in this state in any action or proceeding arising out of this policy. Service
  of process upon the Commissioner shall be lawful service upon the Company. The Company further designates The
  Corporation Company, Inc., 1136 Union Mall, Suite 301, Honolulu, HI 96813 as the person to whom the Commissioner
  is authorized to mail such process or a true copy thereof.

                                           IDAHO Service of Process Clause
  Upon any cause of action arising in Idaho under this contract, the Company may be sued in the district court of the county
  in which the cause of action arose. Service of process against the Company may be made in such action by service
  upon the Director of the Department of Insurance of the State of Idaho. The Company further designates CT Corporation
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  System, 921 S. Orchard Street, Suite G, Boise, ID 83705 as the person to whom the Director shall mail process.

                                             ILLINOIS Service of Process Clause
  The Company hereby designates the Director of the Illinois Department of Insurance and his successor or successors
  in office as its true and lawful attorney upon whom may be served any lawful process in any action, suit or proceeding
  instituted by or on behalf of the insured or any beneficiary hereunder arising out of this contract of insurance. The
  Company further designates CT Corporation System, 208 South LaSalle Street, Suite 814, Chicago, IL 60604 as the
  person to whom the Director shall mail process.




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                                         INDIANA Service of Process Clause
  Upon any cause of action arising in Indiana under this contract, the Company may be sued in the court of the county in
  which the cause of action arose. Service of process against the Company may be made in such action by service upon
  the Commissioner of Insurance of the State of Indiana by the clerk of the court in which the action is brought. The
  Company further designates CT Corporation System, 334 North Senate Avenue, Indianapolis, IN 46204-1708 as the
  person to whom the Commissioner shall mail process.

                                            IOWA Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the State of Iowa as its true and lawful attorney
  upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured
  or any beneficiary arising out of this contract of insurance. The Company further designates CT Corporation System,
  400 East Court Avenue, Suite 110, Des Moines, Iowa 50309 as the person to whom the Commissioner shall mail process.

                                         KANSAS Service of Process Clause
  Upon any cause of action arising in Kansas under this policy, the Company may be sued in the court of the county in
  which the cause of action arose. Service of process against the Company may be made in such action by service upon
  the Commissioner of Insurance of the State of Kansas and his successor or successors in office. The Company further
  designates The Corporation Company, Inc., 112 S.W. Seventh Street, Suite 3C, Topeka, KS 66603 as the person to




                                                               ED
  whom the Commissioner shall mail process.

                                          KENTUCKY Service of Process Clause
  Upon any cause of action arising in Kentucky under this contract, the Company may be sued in the circuit court of the
  county in which the cause of action arose. Service of process against the Company may be made in such action by
  service upon the Kentucky Secretary of State by the clerk of the court in which the action is brought. The Company
  further designates CT Corporation System, 306 West Main Street, Suite 512, Frankfort, KY 40601 as the person to whom
  the Secretary of State shall mail process.

                                                FI
                                       LOUISIANA Service of Process Clause
  Upon any cause of action arising in Louisiana under this contract, the Company may be sued in the district court of the
  parish in which the cause of action arose. Service of process against the Company may be made in such action by
  service upon the Louisiana Secretary of State. The Company further designates CT Corporation System, 3867 Plaza
  Tower Drive, Baton Rouge, LA 70816 as the person to whom the Secretary of State shall mail process.
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                                            MAINE Service of Process Clause
  Upon any cause of action arising in this State under this policy, the Company may be sued in the Superior Court. Service
  of legal process against the Company may be made in any such action by service of two copies upon the designated
  agent. The Company further designates CT Corporation System, 128 State Street, #3, Augusta, ME 04330 as the agent.
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                                      MARYLAND Service of Process Clause
  Upon any cause of action arising in Maryland under this contract, the Company may be sued in the court of the county
  in which the cause of action arose. Service of process against the Company may be made in such action by service
  upon the Insurance Commissioner of the State of Maryland by the clerk of the court in which the action is brought. The
  Company further designates The Corporation Trust Incorporated, 2405 York Road, Suite 201, Lutherville Timonium, MD
  21093 as the person to whom the Commissioner shall mail process.

                                    MASSACHUSETTS Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the State of Massachusetts as its true and lawful
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  attorney upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the
  insured or any beneficiary arising out of this contract of insurance. The Company further designates CT Corporation
  System, 155 Federal Street, Suite 700, Boston, MA 02110 as the person to whom the Commissioner shall mail process.

                                        MICHIGAN Service of Process Clause
  Upon any cause of action arising in Michigan under this contract, the Company may be sued in the court of the county
  in which the cause of action arose. Service of process against the Company may be made in such action by service
  upon the Director of Insurance, c/o Resident Agent, of the State of Michigan by the clerk of the court in which the action
  is brought. The Company further designates The Corporation Company, 40600 Ann Arbor Road East, Suite 201,
  Plymouth, MI 48170 as the person to whom the Commissioner shall mail process.




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                                       MINNESOTA Service of Process Clause
  Upon any cause of action arising in Minnesota under this contract, the Company may be sued in the court of the county
  in which the cause of action arose. Service of process against the Company may be made in such action by service
  upon the Commissioner of Commerce of the State of Minnesota by the clerk of the court in which the action is brought.
  The Company further designates CT Corporation System, Inc., 1010 Dale Street North, Saint Paul, MN 55117 as the
  person to whom the Commissioner shall mail process.

                                          MISSISSIPPI Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the State of Mississippi as its true and lawful attorney
  upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured
  or any beneficiary arising out of this contract of insurance. The Company further designates CT Corporation System,
  645 Lakeland East Drive, Suite 101, Flowood, MS 39232 as the person to whom the Commissioner shall mail process.

                                          MISSOURI Service of Process Clause
  Upon any cause of action arising in Missouri under this contract, the Company may be sued in the court of the county in
  which the cause of action arose. Service of process against the Company may be made in such action by service upon
  the Director of Insurance of the State of Missouri and his successors in office by the clerk of the court in which the action
  is brought. The Company further designates CT Corporation System, 120 South Central Avenue, Clayton, MO 63105




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  as the person to whom the Director shall mail process.

                                          MONTANA Service of Process Clause
  Upon any cause of action under this policy, the Company may be sued in the district court of the county in which the
  cause of action arose. The Company appoints the Commissioner of Insurance of the State of Montana as its attorney
  for acceptance of the service of all legal process issued in this state in any action or proceeding arising out of this policy.
  Service of process upon the Commissioner shall be lawful service upon the Company. The Company further designates
  CT Corporation System, 3011 American Way, Missoula, MT 59808 as the person to whom the Commissioner is

                                                  FI
  authorized to mail such process or a true copy thereof.

                                        NEBRASKA Service of Process Clause
  Upon any cause of action arising in Nebraska under this policy, the Company may be sued in the court of the county in
  which the cause of action arose. Service of process against the Company may be made in such action by service upon
  the Director of Insurance of the State of Nebraska. The Company further designates CT Corporation System, 5601
             TI
  South 59th Street, Suite C, Lincoln, NE 68516 as the person to whom the Director shall mail process.

                                          NEVADA Service of Process Clause
  Upon any cause of action arising in Nevada under this contract, the Company may be sued in a district court of Nevada.
  Service of process against the Company may be made in such action by service upon the Commissioner of Insurance
  of the State of Nevada or the Commissioner’s authorized representative. The Company further designates The
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  Corporation Trust Company of Nevada, 701 South Carson Street, Suite 200, Carson City, NV 89701 as the person to
  whom the Commissioner shall mail process.

                                   NEW HAMPSHIRE Service of Process Clause
  Upon any cause of action arising in New Hampshire under this contract, the Company may be sued in the court of the
  county in which the cause of action arose. Service of process against the Company may be made in such action by
  service upon the Commissioner of Insurance of the State of New Hampshire by the clerk of the court in which the action
  is brought. The Company further designates CT Corporation System, 2½ Beacon Street, Concord, NH 03301-4447 as
  the person to whom the Commissioner shall mail process.
C



                                      NEW JERSEY Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the State of New Jersey as its true and lawful
  attorney upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the
  insured or any beneficiary arising out of this contract of insurance. The Company further designates CT Corporation
  System, 820 Bear Tavern Road, West Trenton, NJ 08628 as the person to whom the Commissioner shall mail process.

                                       NEW MEXICO Service of Process Clause
  Upon any cause of action arising in New Mexico under this contract, the Company may be sued in the district court of
  the county in which the cause of action arose. Service of process against the Company may be made in such action by
  service upon the Superintendent of Insurance of the State of New Mexico by the clerk of the court in which the action is
  brought. The Company further designates CT Corporation System, 206 South Coronado Avenue, Espanola, NM 87532
  as the person to whom the Superintendent shall mail process.



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                                            NEW YORK Service of Process Clause
  The Company hereby designates the Superintendent of Financial Services of the State of New York, and his successors
  in office, as its true and lawful attorney upon whom all lawful process may be served in any action, suit, or proceeding
  instituted in this State by or on behalf of the insured or any beneficiary against the Company arising out of this policy of
  insurance. The Company further designates CT Corporation System, 28 Liberty Street, New York, NY 10005 as the
  person to whom the Superintendent shall mail process.

                                        NORTH CAROLINA Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the State of North Carolina, and his successor(s) in
  office, as its true and lawful attorney upon whom may be served any lawful process in any action, suit or proceeding
  instituted by or on behalf of the insured or any beneficiary arising out of this contract of insurance. The Company further
  designates CT Corporation System, 160 Mine Lake Court, Suite 200, Raleigh, NC 27615 as the person to whom the
  Commissioner shall mail process.

                                     NORTH DAKOTA Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the State of North Dakota as its true and lawful
  attorney upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the




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  insured or any beneficiary arising out of this contract of insurance. The Company further designates CT Corporation
  System, 120 West Sweet Avenue, Bismarck, ND 58504 as the person to whom the Commissioner shall mail process.

                                           OHIO Service of Process Clause
  Upon any cause of action arising in Ohio under this contract, the Company may be sued in the court of the county in
  which the cause of action arose. Service of process against the Company may be made in such action by service upon
  the Superintendent of Insurance of the State of Ohio by the clerk of the court in which the action is brought. The Company
  further designates CT Corporation System, 4400 Easton Commons Way, Suite 125, Columbus, OH 43219 as the person
  to whom the Superintendent shall mail process.

                                                 FI
                                       OKLAHOMA Service of Process Clause
  Upon any cause of action arising in Oklahoma under this contract, the Company may be sued in the court of the county
  in which the cause of action arose. Service of process against the Company may be made in such action by service
  upon the Commissioner of Insurance of the State of Oklahoma by the clerk of the court in which the action is brought.
  The Company further designates The Corporation Company, 1833 South Morgan Road, Oklahoma City, OK 73128 as
             TI
  the person to whom the Commissioner shall mail process.

                                        OREGON Service of Process Clause
  Upon any cause of action arising in Oregon under this contract, the Company may be sued in the circuit court of the
  county in which the cause of action arose. The Company further designates CT Corporation System, 780 Commercial
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  Street SE, Suite 100, Salem, OR 97301 as the person to whom the process shall be mailed.

                                         PENNSYLVANIA Service of Process Clause
  Upon any cause of action arising in Pennsylvania under this contract, the Company may be sued in the court of the
  county in which the cause of action arose. The Company hereby designates the Commissioner of Insurance of the
  Commonwealth of Pennsylvania as its true and lawful attorney upon whom may be served any lawful process in any
  action, suit or proceeding instituted by or on behalf of the insured or any beneficiary arising out of this contract of
  insurance. Service of process shall be made pursuant to the procedures provided by 42 Pa.C.S. Ch. 53 Subch. B
  (relating to interstate and international procedure). The Company further designates CT Corporation System, 600 North
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  Second Street, Suite 401, Harrisburg, PA 17101 as the person to whom the Commissioner shall mail process.

                                     RHODE ISLAND Service of Process Clause
  Upon any cause of action arising in Rhode Island under this policy, the Company may be sued in the court of the county
  in which the cause of action arose. Service of process against the Company may be made in such action by service
  upon the Commissioner of Insurance of the State of Rhode Island by the clerk of the court in which the action is brought.
  The Company further designates CT Corporation System, 450 Veterans Memorial Parkway, Suite 7A, East Providence,
  RI 02914 as the person to whom the Commissioner shall mail process.

                                     SOUTH CAROLINA Service of Process Clause
  The Company hereby designates the Director of Insurance of the State of South Carolina as its true and lawful attorney
  upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured
  or any beneficiary arising out of this contract of insurance. The Company further designates CT Corporation System, 2
  Office Park Court, Suite 103, Columbia, SC 29223 as the person to whom the Director shall mail process.


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                                        SOUTH DAKOTA Service of Process Clause
  Any cause of action against the Company arising in South Dakota under this policy shall be brought in the circuit court
  for the county in which the cause of action arose. Service of legal process against the Company may be made in any
  such action by service upon the Director of Insurance of the State of South Dakota and his successors in office. The
  Company further designates CT Corporation System, 319 South Coteau Street, Pierre, SD 57501 as the person to whom
  the Director shall mail a copy of the process.

                                       TENNESSEE Service of Process Clause
  The Company hereby designates the Commissioner of Commerce and Insurance of the State of Tennessee as its true
  and lawful attorney upon whom may be served any lawful process in any action, suit or proceeding instituted by or on
  behalf of the insured or any beneficiary arising out of this contract of insurance. The Company further designates CT
  Corporation System, 300 Montvue Road, Knoxville, TN 37919 as the person to whom the Commissioner shall mail
  process.

                                            TEXAS Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the State of Texas as its true and lawful attorney
  upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured
  or any beneficiary hereunder arising out of this contract of insurance. The Company further designates CT Corporation




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  System, 1999 Bryan Street, Suite 900, Dallas, TX 75201 as the person to whom the Commissioner shall mail process.

                                             UTAH Service of Process Clause
  The Company hereby designates the Commissioner of Insurance of the State of Utah as its agent upon whom may be
  served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured or any beneficiary
  hereunder arising out of this contract of insurance. The Company further designates CT Corporation System, 1108 East
  South Union Avenue, Midvale, UT 84047 as the person to whom the Commissioner shall mail process.

                                          VERMONT Service of Process Clause
                                                FI
  The Company hereby designates the Secretary of State of Vermont as its true and lawful attorney upon whom may be
  served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured or any beneficiary
  arising out of this contract of insurance. The Company further designates CT Corporation System, 17 G W Tatro Drive,
  Jeffersonville, VT 05464 as the person to whom the Secretary of State shall mail process.
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                                          VIRGINIA Service of Process Clause
  The Company hereby designates the Clerk of the Virginia State Corporation Commission as its true and lawful attorney
  upon whom may be served any lawful process in any action, suit or proceeding instituted by or on behalf of the insured
  or any beneficiary hereunder arising out of this contract of insurance. The Company further designates CT Corporation
  System, 4701 Cox Road, Suite 285, Glen Allen, VA 23060 as the person to whom the Clerk of the Commission shall
  mail process.
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                                       WASHINGTON Service of Process Clause
  Upon any cause of action arising in Washington under this contract, the Company may be sued in the court of the county
  in which the cause of action arose. Service of process against the Company may be made in such action by service
  upon the Commissioner of Insurance of the State of Washington by the clerk of the court in which the action is brought.
  The Company further designates CT Corporation System, 711 Capitol Way South, Suite 204, Olympia, WA 98501 as
  the person to whom the Commissioner shall mail process.
C



                                     WEST VIRGINIA Service of Process Clause
  Upon any cause of action arising in West Virginia under this policy, the Company may be sued in the court of the county
  in which the cause of action arose. Service of process against the Company may be made in such action by service
  upon the Secretary of State of West Virginia by the clerk of the court in which the action is brought. The Company further
  designates CT Corporation System, 1627 Quarrier Street, Charleston, WV 25311-2124 as the person to whom the
  Secretary of State shall mail process.

                                      WISCONSIN Service of Process Clause
  Upon any cause of action arising in Wisconsin under this policy the Company may be sued in the court of the county in
  which the cause of action arose. Service of process against the Company may be made in such action by service upon
  the Commissioner of Insurance of the State of Wisconsin. The Company further designates CT Corporation System,
  301 South Bedford Street, Suite 1, Madison, WI 53703 as the person to whom the Commissioner shall mail process.




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   Case 1:22-cv-21369-KMM Document 1-2 Entered on FLSD Docket 05/02/2022 Page 139 of
                                        182
                                           WYOMING Service of Process Clause
   Upon any cause of action under this policy, the Company may be sued in the district court of the county in which the
   cause of action arose. The Company appoints the Commissioner of Insurance of the State of Wyoming as its attorney
   for acceptance of the service of all legal process issued in this state in any action or proceeding arising out of this policy.
   Service of process upon the Commissioner shall be lawful service upon the Company. The Company further designates
   CT Corporation System, 1908 Thomas Avenue, Cheyenne, WY 82001 as the person to whom the Commissioner is
   authorized to mail such process or a true copy thereof.

All other terms and conditions of this policy remain unchanged.




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IL-2002 (12-20)                                                 © QBE, 2020                                          Page 7 of 7
    Case 1:22-cv-21369-KMM Document 1-2 Entered on FLSD Docket 05/02/2022 Page 140 of
                                         182
                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      STEADFAST INSURANCE COMPANY AMENDATORY
                 

                 

        WITH RESPECT TO THE COVERAGE PROVIDED BY STEADFAST INSURANCE
        COMPANY, THE FOLLOWING CLAUSES SHALL APPLY:


                               Service Of Suit and In Witness
                                           Clause




                                                            ED
        1. The following Service Of Suit and In Witness Clause applies to all policies written in Alabama,
           Alaska, Arkansas, Colorado, Connecticut, Florida, Georgia, Hawaii, Idaho, Illinois, Indiana,
           Iowa, Kansas, Kentucky, Louisiana, Maine, Maryland, Massachusetts, Michigan, Minnesota,
           Mississippi, Missouri, Montana, Nebraska, Nevada, New Hampshire, New Jersey, New Mexico,
           New York, North Carolina, North Dakota, Ohio, Oklahoma, Oregon, Pennsylvania, Puerto Rico,
           Rhode Island, South Carolina, South Dakota, Tennessee, Texas, Utah, Vermont, Washington,
           West Virginia or Wyoming:

             Service Of Suit
                                               FI
             In the event of failure of the Company to pay any amount claimed to be due hereunder, the
             Company, at the request of the “Insured”, will submit to the jurisdiction of a court of
              TI
             competent jurisdiction within the United States. Nothing in this condition constitutes or
             should be understood to constitute a waiver of the Company's rights to commence an action
             in any court of competent jurisdiction in the United States to remove an action to a United
             States District Court or to seek a transfer of a case to another court as permitted by the laws
             of the United States or any state in the United States. It is further agreed that service of
            ER

             process in such suit may be made upon General Counsel, Law Department, Steadfast
             Insurance Company, 1299 Zurich Way, Schaumburg, Illinois 60196, or his or her
             representative, and that in any suit instituted against the Company upon this policy, the
             Company will abide by the final decision of such court or of any appellate court in the event
             of an appeal.

             Further, pursuant to any statute of any state, territory, or district of the United States which
C



             makes provisions therefore, the Company hereby designates the Superintendent,
             Commissioner, or Director of Insurance, or other officer specified for that purpose in the
             statute, or his or her successor or successors in office, as its true and lawful attorney upon
             whom may be served any lawful process in any action, suit or proceeding instituted by or on
             behalf of the “Insured” or any beneficiary hereunder arising out of this policy of insurance
             and hereby designates the above named General Counsel as the person to whom the said
             officer is authorized to mail such process or a true copy thereof.

             
             In Witness Clause

             In return for the payment of premium, and subject to the terms of the policy, the Company
             agrees with the “Insured” to provide insurance as stated in this policy. This policy shall not
             be valid unless signed by the duly authorized Representative of the Company.
STF-CL-111-A CW (11-08)                                                                                    Page 1 of 4
    Case 1:22-cv-21369-KMM Document 1-2 Entered on FLSD Docket 05/02/2022 Page 141 of
                                         182


             In Witness Whereof, this Company has executed and attested these presents, and where
             required by law, has caused this policy to be signed by its duly authorized Representative.



        2. The following Service Of Suit and In Witness Clause applies to all policies written in Arizona,
           Virginia or Washington:

             Service Of Suit

             In the event of failure of the Company to pay any amount claimed to be due hereunder, the Company,
             at the request of the “Insured”, will submit to the jurisdiction of a court of competent jurisdiction within
             the United States. Nothing in this condition constitutes or should be understood to constitute a waiver
             of the Company's rights to commence an action in any court of competent jurisdiction in the United




                                                                  ED
             States to remove an action to a United States District Court or to seek a transfer of a case to another
             court as permitted by the laws of the United States or any state in the United States. It is further
             agreed that service of process in such suit may be made upon General Counsel, Law Department,
             Steadfast Insurance Company, 1299 Zurich Way, Schaumburg, Illinois 60196, or his or her
             representative, and that in any suit instituted against the Company upon this policy, the Company will
             abide by the final decision of such court or of any appellate court in the event of an appeal.

             Further, pursuant to any statute of any state, territory, or district of the United States which makes

                                                   FI
             provisions therefore, the Company hereby designates the Superintendent, Commissioner, or Director
             of Insurance, or other officer specified for that purpose in the statute, or his or her successor or
             successors in office, as its true and lawful attorney upon whom may be served any lawful process in
             any action, suit or proceeding instituted by or on behalf of the “Insured” or any beneficiary hereunder
             arising out of this policy of insurance and hereby designates the above named General Counsel as
             the person to whom the said officer is authorized to mail such process or a true copy thereof.
              TI
             In Witness Clause

             In return for the payment of premium, and subject to the terms of the policy, the Company
             agrees with the “Insured” to provide insurance as stated in this policy.
            ER

             In Witness Whereof, the Company has executed and attested these presents, and where
             required by law, has caused this policy to be signed by its duly authorized Representative.



        3. The following Service Of Suit and In Witness Clause applies to all policies written in California:
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             Service Of Suit

             In the event of failure of the Company to pay any amount claimed to be due hereunder, the Company,
             at the request of the “Insured”, will submit to the jurisdiction of a court of competent jurisdiction within
             the United States. Nothing in this condition constitutes or should be understood to constitute a waiver
             of the Company's rights to commence an action in any court of competent jurisdiction in the United
             States to remove an action to a United States District Court or to seek a transfer of a case to another
             court as permitted by the laws of the United States or any state in the United States. It is further
             agreed that service of process in such suit may be made upon General Counsel, Law Department,
             Steadfast Insurance Company, 1299 Zurich Way, Schaumburg, Illinois 60196, or his or her
             representative, and that in any suit instituted against the Company upon this policy, the Company will
             abide by the final decision of such court or of any appellate court in the event of an appeal.

             Further, pursuant to any statute of any state, territory, or district of the United States which makes
             provisions therefore, the Company hereby designates the Superintendent, Commissioner, or Director
STF-CL-111-A CW (11-08)                                                                                               Page 2 of 4
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                                         182

             of Insurance, or other officer specified for that purpose in the statute, or his or her successor or
             successors in office, as its true and lawful attorney upon whom may be served any lawful process in
             any action, suit or proceeding instituted by or on behalf of the “Insured” or any beneficiary hereunder
             arising out of this policy of insurance and hereby designates Carpenter & Moore Insurance Services,
             Inc., 111 Pine Street, Suite 777, San Francisco, California 94111 as whom the said officer is
             authorized to mail such process or a true copy thereof.


             In Witness Clause

             In return for the payment of premium, and subject to the terms of the policy, the Company agrees with
             the “Insured” to provide insurance as stated in this policy. This policy shall not be valid unless signed
             by the duly authorized Representative of the Company.

             In Witness Whereof, the Company has executed and attested these presents, and where
             required by law, has caused this policy to be signed by its duly authorized Representative.




                                                                 ED
        4. The following Service Of Suit and In Witness Clause applies to all policies written in Delaware:

             Service Of Suit

             In the event of failure of the Company to pay any amount claimed to be due hereunder, the

                                                  FI
             Company, at the request of the “Insured”, will submit to the jurisdiction of a court of
             competent jurisdiction within the United States. Nothing in this condition constitutes or
             should be understood to constitute a waiver of the Company's rights to commence an action
             in any court of competent jurisdiction in the United States to remove an action to a United
             States District Court or to seek a transfer of a case to another court as permitted by the laws
              TI
             of the United States or any state in the United States. It is further agreed that service of
             process in such suit may be made upon General Counsel, Law Department, Zurich
             American Insurance Company of Illinois, 1299 Zurich Way, Schaumburg, Illinois 60196, or
             his or her representative, and that in any suit instituted against the Company upon this
            ER

             policy, the Company will abide by the final decision of such court or of any appellate court in
             the event of an appeal.

             Further, pursuant to any statute of any state, territory, or district of the United States which
             makes provisions therefore, the Company hereby designates the Superintendent,
             Commissioner, or Director of Insurance, or other officer specified for that purpose in the
             statute, or his or her successor or successors in office, as its true and lawful attorney upon
C



             whom may be served any lawful process in any action, suit or proceeding instituted by or on
             behalf of the “Insured” or any beneficiary hereunder arising out of this policy of insurance
             and hereby designates the above named General Counsel as the person to whom the said
             officer is authorized to mail such process or a true copy thereof.


             In Witness Clause

             In return for the payment of premium, and subject to the terms of the policy, the Company
             agrees with the “Insured” to provide insurance as stated in this policy. This policy shall not
             be valid unless signed by the duly authorized Representative of the Company.


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                                         182

             In Witness Whereof, this Company has executed and attested these presents, and where
             required by law, has caused this policy to be signed by its duly authorized Representative.


        5. The following Service Of Suit and In Witness Clause applies to all policies written in District of
           Columbia:

             Service Of Suit

             In the event of failure of the Company to pay any amount claimed to be due hereunder, the Company,
             at the request of the “Insured”, will submit to the jurisdiction of a court of competent jurisdiction within
             the United States. Nothing in this condition constitutes or should be understood to constitute a waiver
             of the Company's rights to commence an action in any court of competent jurisdiction in the United
             States to remove an action to a United States District Court or to seek a transfer of a case to another
             court as permitted by the laws of the United States or any state in the United States. It is further




                                                                  ED
             agreed that service of process in such suit may be made upon General Counsel, Law Department,
             Steadfast Insurance Company, 1299 Zurich Way, Schaumburg, Illinois 60196, or his or her
             representative, and that in any suit instituted against the Company upon this policy, the Company will
             abide by the final decision of such court or of any appellate court in the event of an appeal.

             Further, pursuant to any statute of any state, territory, or district of the United States which makes
             provisions therefore, the Company hereby designates the Superintendent, Commissioner, or Director
             of Insurance, or other officer specified for that purpose in the statute, or his or her successor or

                                                   FI
             successors in office, as its true and lawful attorney upon whom may be served any lawful process in
             any action, suit or proceeding instituted by or on behalf of the “Insured” or any beneficiary hereunder
             arising out of this policy of insurance and hereby designates Douglas A. Henry, c/o CT Corporation,
             1025 Vermont Avenue, N.W., Washington, DC 20005 as the person to whom the said officer is
             authorized to mail such process or a true copy thereof.
              TI
             In Witness Clause

             In return for the payment of premium, and subject to the terms of the policy, the Company agrees with
             the “Insured” to provide insurance as stated in this policy. This policy shall not be valid unless signed
             by the duly authorized Representative of the Company.
            ER

             In Witness Whereof, this Company has executed and attested these presents, and where
             required by law, has caused this policy to be signed by its duly authorized Representative.
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STF-CL-111-A CW (11-08)                                                                                               Page 4 of 4
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                                       182




Disclosure Statement

                               It is our pleasure to present the enclosed policy to you
                                           for presentation to your customer.


                                     INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED/ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER




                                                            ED
                                     WITH THE POLICY.

   Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




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                                                                                                  U-GU-873-A CW (06/11)
                                                                                                             Page 1 of 1
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Disclosure Statement

               NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


             If you want to learn more about the compensation Zurich pays agents and brokers visit:

                                http://www.zurichnaproducercompensation.com




                                                      ED
                             or call the following toll-free number: (866) 903-1192.



                   This Notice is provided on behalf of Zurich American Insurance Company

                                       and its underwriting subsidiaries.


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                                                                                            U-GU-874-A CW (06/11)
                                                                                                       Page 1 of 1
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                OFAC Notice and Sanction Limitation Clauses

                       Office of Foreign Assets Control (“OFAC”) Regulations


Advisory notice to policyholders regarding the U.S. Treasury Department’s
Office of Foreign Assets Control (“OFAC”) regulations

No coverage is provided by this policyholder notice nor can it be construed to replace any provisions of your policy. You
should read your policy and review your declarations page for complete information on the coverages you are provided.




                                                                ED
 This notice provides information concerning possible impact on your insurance coverage due to directives issued by the
                          U.S. Treasury Department's Office of Foreign Assets Control ("OFAC").

Please read this Notice carefully.

OFAC administers and enforces sanctions policy based on Presidential declarations of "national emergency". OFAC has
identified and listed numerous:

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            Foreign agents;
            Front organizations;
            Terrorists;
            Terrorist organizations; and
            Narcotics traffickers;
                                                 FI
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as "Specially Designated Nationals and Blocked Persons." This list can be located on the United States Treasury's web
site – http://www.treasury.gov/about/organizational-structure/offices/Pages/Office-of-Foreign-Assets-Control.aspx.

In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity claiming the
            ER

benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and Blocked Person, as
identified by OFAC, this insurance will be considered a blocked or frozen contract and all provisions of this insurance are
immediately subject to OFAC restrictions. When an insurance policy is considered to be such a blocked or frozen
contract, no payments or premium refunds may be made without authorization from OFAC. Other limitations on
premiums and payments also apply.

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                                Sanction Limitation and Exclusion Clause

No (re)insurer shall be deemed to provide cover and no (re)insurer shall be liable to pay any claim or provide any benefit
hereunder to the extent that the provision of such cover, payment of such claim or provision of such benefit would expose
that (re)insurer to any sanction, prohibition or restriction under United Nations resolutions or the trade or economic
sanctions, laws or regulations of the European Union, United Kingdom or United States of America.

                                                                                        LMA3100 9/15/2010 (USA date)
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                                     182
             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    VARIOUS COMPANIES’ SERVICE OF SUIT CLAUSES

   WITH RESPECT TO THE COVERAGE PROVIDED BY:

          GENERAL SECURITY INDEMNITY COMPANY OF ARIZONA; OR
          HDI GLOBAL SPECIALTY SE; OR
          UNITED SPECIALTY INSURANCE COMPANY; OR
          LEXINGTON INSURANCE COMPANY; OR
          OLD REPUBLIC UNION INSURANCE COMPANY; OR
          GEOVERA SPECIALTY INSURANCE COMPANY; OR
          TRANSVERSE SPECIALTY INSURANCE COMPANY; OR
          TRANSVERSE INSURANCE COMPANY.




                                                       ED
   THE FOLLOWING APPLICABLE CLAUSES SHALL APPLY TO THE INDICATED
   COMPANY(IES), PROVIDED THAT COMPANY IS PARTICIPATING ON THE POLICY:

                                      Service of Suit Clause(s)

   It is agreed that in the event of the failure of the Company hereon to pay any amount claimed to
   be due hereunder, the Company hereon, at the request of the Insured (or Reinsured), will submit
                                         FI
   to the jurisdiction of a Court of competent jurisdiction within the United States. Nothing in this
   Clause constitutes or should be understood to constitute a waiver of the Company’s rights to
   commence an action in any Court of competent jurisdiction in the United States, to remove an
   action to a United States District Court, or to seek a transfer of a case to another Court as
   permitted by the laws of the United States or of any State in the United States. It is further agreed
        TI
   that service of process in such suit may be made upon:

          General Security Indemnity Company of Arizona
                28 Liberty Street, Suite 5400
                New York, NY 10005
      ER

                Attn.: Rodolphe Herve, CEO
                With Copy to:
                28 Liberty Street, Suite 5400
                New York., NY 10005
                Attn.: Maxine Verne, General Legal Counsel

          HDI Global Specialty SE
                Mendes & Mount, LLP
C



                750 Seventh Avenue
                New York, New York 10019
                T: (212) 261-8339
                F: (212) 261-8750

          United Specialty Insurance Company
                 1900 L. Don Dodson Drive
                 Bedford, Texas 76021
                 Attn.: Terry L. Ledbetter




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          Lexington Insurance Company
                99 High Street
                Boston, MA 02110
                Facsimile: (866) 753-8411
                Attn.: Division Executive, Commercial Property
                With copies to:
                AIG Property Casualty U.S. and Lexington Insurance Company
                175 Water Street - 18th Floor        99 High Street
                New York, NY 10038                   Boston, MA 02110
                Facsimile: (212) 458-7080            Facsimile: (617) 772-4588
                Attn.: General Counsel               Attn.: General Counsel

          Old Republic Union Insurance Company




                                                       ED
                Old Republic Specialty Insurance Underwriters, Inc.
                c/o Office of General Counsel
                370 North Michigan Avenue
                Chicago, IL 60601

          GeoVera Specialty Insurance Company
               GeoVera Holdings, Inc.
               1455 Oliver Road
               Fairfield, CA 94534
                                         FI
               Attn: Robert Hagedorn, General Counsel

          Transverse Specialty Insurance Company or Transverse Insurance Company
                155 Village Boulevard, Ste 205
        TI
                Princeton, NJ 08540
                Attn: Corporate Secretary

   and that in any suit instituted against any one of them upon this contract, the Company will abide
   by the final decision of such Court or of any Appellate Court in the event of an appeal.
      ER

   The above-named are authorized and directed to accept service of process on behalf of the
   Company in any such suit and/or upon the request of the Insured (or Reinsured) to have a written
   undertaking to the Insured (or Reinsured) that they will enter a general appearance upon the
   Company’s behalf in the event such a suit shall be instituted.

   Further, pursuant to any statute of any state, territory or district of the United States which makes
   provision therefore, the Company hereon hereby designates the Superintendent, Commissioner
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   or Director of Insurance or other officer specified for that purpose in the statute, or his successor
   or successors in office, as their true and lawful attorney upon whom may be served any lawful
   process in any action, suit or proceeding instituted by or on behalf of the Insured (or Reinsured)
   or any beneficiary hereunder arising out of this contract of insurance (or reinsurance), and hereby
   designate the above-named person to whom the said officer is authorized to mail such process
   or a true copy thereof.




   VRS COS SOS – 02 21                                                              Page 2 of 2
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                                 CYBER SUITE COVERAGE
                              SUPPLEMENTAL DECLARATIONS

   CYBER SUITE AGGREGATE LIMIT                        $100,000
                                                      Annual Aggregate Limit


   CYBER SUITE DEDUCTIBLE                             $1,000
                                                      Per Occurrence


   IDENTITY RECOVERY LIMIT                            $25,000
                                                      Annual Aggregate Per “Identity Recovery Insured”




                                                             ED
   SUBLIMITS        Sublimits below are Per Occurrence, unless otherwise indicated.

   DATA COMPROMISE RESPONSE EXPENSES
     st
    1 Party Named Malware:                   $50,000
    Forensic IT Review:                      $50,000
    Legal Review:                            $50,000
    Public Relations Services:               $ 5,000
    Regulatory Fines and Penalties:
    PCI Fines and Penalties:                FI
                                             $50,000
                                             $50,000

   ____________________________________________________________________________________
       TI
   COMPUTER ATTACK and CYBER EXTORTION

    Loss of Business:                       $50,000
    Public Relations:                       $ 5,000
    Cyber Extortion:                        $ 10,000
     ER


   DATA COMPROMISE LIABILITY
     rd
    3 Party Named Malware                    $50,000
                                             Any one “Personal Data Compromise”
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   IDENTITY RECOVERY

    Lost Wages and Child and
    Elder Care Expenses:                     $5,000
    Mental Health Counseling:                $1,000
    Miscellaneous Unnamed Costs:             $1,000




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                                   Cyber Suite Coverage Form

   Throughout this Coverage Form (hereinafter referred to as “Cyber Coverage”), the words “you” and “your”
   refer to the Named Insured(s) shown in the Cyber Suite Coverage Form Supplemental Declarations of
   this Cyber Coverage and any other person(s) or organization(s) qualifying as a Named Insured under this
   Cyber Coverage. The words “we”, “us” and “our” refer to the company providing this insurance.
   Other words and phrases that appear in quotations have special meaning. Refer to DEFINITIONS.
   The terms and conditions of the Cancellation Clause of the Common Policy Conditions and any
   amendment to such terms incorporated by endorsement are hereby incorporated herein and shall apply
   to coverage as is afforded by this Cyber Coverage, unless specifically stated otherwise in an
   endorsement(s) attached hereto.


   A. COVERAGE
      This section lists the coverages that apply if indicated in the Cyber Suite Coverage Form
      Supplemental Declarations.




                                                              ED
      1. Data Compromise Response Expenses
          a. Data Compromise Response Expenses applies only if all of the following conditions are
             met:
              (1) There has been a “personal data compromise”; and
              (2) Such “personal data compromise” took place in the “coverage territory”; and
              (3) Such “personal data compromise” is first discovered by you during the “policy period”; and
                                             FI
              (4) Such “personal data compromise” is reported to us as soon as practicable, but in
                  no event more than 60 days after the date it is first discovered by you.
          b. If the conditions listed in a. above have been met, then we will provide coverage for the
             following expenses when they arise directly from such “personal data compromise” and are
             necessary and reasonable. Items (4) and (5) below apply only if there has been a notification
        TI
             of the “personal data compromise” to “affected individuals” as covered under item (3) below.
              (1) Forensic IT Review
                    We will pay for a professional information technologies review if needed to determine,
                    within the constraints of what is possible and reasonable, the nature and extent of the
                    “personal data compromise” and the number and identities of the “affected individuals”.
      ER

                    This does not include costs to analyze, research or determine any of the following:
                    (a) Vulnerabilities in systems, procedures or physical security;
                    (b) Compliance with Payment Card Industry or other industry security standards; or
                    (c) The nature or extent of loss or damage to data that is not “personally
                        identifying information” or “personally sensitive information”.
                    If there is reasonable cause to suspect that a covered “personal data compromise” may
                    have occurred, we will pay for costs covered under Forensic IT Review, even if it is
C



                    eventually determined that there was no covered “personal data compromise”. However,
                    once it is determined that there was no covered “personal data compromise”, we will not
                    pay for any further costs.
              (2) Legal Review
                    We will pay for a professional legal counsel review of the “personal data compromise” and
                    how you should best respond to it.
                    If there is reasonable cause to suspect that a covered “personal data compromise” may
                    have occurred, we will pay for costs covered under Legal Review, even if it is eventually
                    determined that there was no covered “personal data compromise”. However, once it is
                    determined that there was no covered “personal data compromise”, we will not pay for
                    any further costs.

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             (3) Notification to Affected Individuals
                    We will pay your necessary and reasonable costs to provide notification of the “personal
                    data compromise” to “affected individuals”.
              (4) Services to Affected Individuals
                    We will pay your necessary and reasonable costs to provide the following services to
                    “affected individuals”. Services (c) and (d) below apply only to “affected individuals”
                    from “personal data compromise” events involving “personally identifying information”.
                    (a) Informational Materials
                        A packet of loss prevention and customer support information.
                    (b) Help Line
                        A toll-free telephone line for “affected individuals” with questions about the
                        “personal data compromise”. Where applicable, the line can also be used to
                        request additional services as listed in (c) and (d) below.
                    (c) Credit Report and Monitoring
                        A credit report and an electronic service automatically monitoring for activities




                                                              ED
                        affecting an individual’s credit records. This service is subject to the “affected
                        individual” enrolling for this service with the designated service provider.
                    (d) Identity Restoration Case Management
                        As respects any “affected individual” who is or appears to be a victim of “identity
                        theft” that may reasonably have arisen from the “personal data compromise”, the
                        services of an identity restoration professional who will assist that “affected
                        individual” through the process of correcting credit and other records and, within the
                        constraints of what is possible and reasonable, restoring control over his or her
                        personal identity.
              (5) Public Relations           FI
                    We will pay for a professional     public relations firm review of and response to the
                    potential impact of the “personal data compromise” on your business relationships.
                    This includes necessary and reasonable costs             to implement public relations
       TI
                    recommendations of such firm. This may include advertising and special promotions
                    designed to retain your relationship with “affected individuals”. However, we will not pay
                    for:
                    (a) Promotions provided to any of your directors or employees; or
                    (b) Promotion costs exceeding $25 per “affected individual”.
     ER

              (6) Regulatory Fines and Penalties
                    We will pay for any fine or penalty imposed by law, to the extent such fine or penalty is
                    legally insurable under the law of the applicable jurisdiction.
              (7) PCI Fines and Penalties
                    We will pay for any Payment Card Industry fine or penalty imposed under a contract to
                    which you are a party. PCI Fines and Penalties do not include any increased
                    transaction costs.
C



      2. Computer Attack and Cyber Extortion
          a. Computer Attack applies only if all of the following conditions are met:
              (1) There has been a “computer attack”; and
              (2) Such “computer attack” occurred in the “coverage territory”; and
              (3) Such “computer attack” is first discovered by you during the “policy period”; and
              (4) Such “computer attack” is reported to us as soon as practicable, but in no event more than
                  60 days after the date it is first discovered by you.
          b. If the conditions listed in a. above have been met, then we will provide you the following
             coverages for “loss” directly arising from such “computer attack”.

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             (1) Data Restoration
                                     182
                    We will pay your necessary and reasonable “data restoration costs”.
               (2) Data Re-creation
                    We will pay your necessary and reasonable “data re-creation costs”.
               (3) System Restoration
                    We will pay your necessary and reasonable “system restoration costs”.
               (4) Loss of Business
                    We will pay your actual “business income and extra expense loss”.
               (5) Public Relations
                    If you suffer a covered “business income and extra expense loss”, we will pay for the
                    services of a professional public relations firm to assist you in communicating your
                    response to the “computer attack” to the media, the public and your customers, clients or
                    members.
          c.   Cyber Extortion applies only if all of the following conditions are met:
               (1) There has been a “cyber extortion threat”; and




                                                               ED
               (2) Such “cyber extortion threat” is first made against you during the “policy period”; and
               (3) Such “cyber extortion threat” is reported to us as soon as practicable, but in no event more
                   than 60 days after the date it is first made against you.
          d. If the conditions listed in c. above have been met, then we will pay for your necessary and
             reasonable “cyber extortion expenses” arising directly from such “cyber extortion threat”. The
             payment of “cyber extortion expenses” must be approved in advance by us. We will not pay
             for “cyber extortion expenses” that have not been approved in advance by us. We will not
             unreasonably withhold our approval.

             coverage.


      3. Data Compromise Liability
                                              FI
          e. You must make every reasonable effort not to divulge the existence of this Cyber Extortion
       TI
          a. Data Compromise Liability applies only if all of the following conditions are met:
               (1) During the “policy period ” or any applicable Extended Reporting Period, you first receive
                   notice of one of the following:
                    (a) A “claim” brought by or on behalf of one or more “affected individuals”; or
                    (b) A “regulatory proceeding” brought by a governmental entity.
     ER

               (2) Such “claim” or “regulatory proceeding” must arise from a “personal data compromise”
                   that:
                    (a) Took place during the “coverage term”;
                    (b) Took place in the “coverage territory”; and
                    (c) Was submitted to us and insured under Data Compromise Response Expenses.
               (3) Such “claim” is reported to us as soon as practicable, but in no event more than 60 days
                   after the date it is first received by you.
C



          b. If the conditions listed in a. above have been met, then we will pay on your behalf any covered:
               (1) “Loss” directly arising from the “claim”; or
               (2) “Defense costs” directly arising from a “regulatory proceeding”.
          c.   All “claims” and “regulatory proceedings” arising from a single “personal data compromise” or
               interrelated “personal data compromises” will be deemed to have been made at the time that
               notice of the first of those “claims” or “regulatory proceedings” is received by you.


      4. Network Security Liability
          a. Network Security Liability applies only if all of the following conditions are met:
               (1) During the “policy period ” or any applicable Extended Reporting Period, you first receive
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               notice of a “claim” which arises from a “network security incident” that:
                    (a) Took place during the “coverage term”; and
                    (b) Took place in the “coverage territory”; and
               (2) Such “claim” is reported to us as soon as practicable, but in no event more than 60 days
                   after the date it is first received by you.
          b. If the conditions listed in a. above have been met, then we will pay on your behalf any covered
             “loss” directly arising from the “claim”.
          c.   All “claims” arising from a single “network security incident” or interrelated “network security
               incidents” will be deemed to have been made at the time that notice of the first of those
               “claims” is received by you.


      5. Electronic Media Liability
          a. Electronic Media Liability applies only if all of the following conditions are met:
               (1) During the “policy period ” or any applicable Extended Reporting Period, you first receive
                   notice of a “claim” which arises from an “electronic media incident” that:




                                                               ED
                    (a) Took place during the “coverage term”; and
                    (b) Took place in the “coverage territory”; and
               (2) Such “claim” is reported to us as soon as practicable, but in no event more than 60 days
                   after the date it is first received by you.
          b. If the conditions listed in a. above have been met, then we will pay on your behalf any covered
             “loss” directly arising from the “claim”.
          c.   All “claims” arising from a single “electronic media incident” or interrelated “electronic media
               incidents” will be deemed to have been made at the time that notice of the first of those
               “claims” is received by you.


      6. Identity Recovery
                                              FI
          a. Identity Recovery applies only if all of the following conditions are met:
       TI
               (1) There has been an “identity theft” involving the personal identity of an “identity recovery
                   insured” under this Coverage Form; and
               (2) Such “identity theft” took place in the “coverage territory”; and
               (3) Such “identity theft” is first discovered by the “identity recovery insured” during the “policy
                   period”; and
     ER

               (4) Such “identity theft” is reported to us within 60 days after it is first discovered by the
                   “identity recovery insured”.
          b. If the conditions listed in a. above have been met, then we will provide the following to the
             “identity recovery insured”:
               (1) Case Management Service
                    We will pay for the services of an “identity recovery case manager” as needed to respond
                    to the “identity theft”;
C



                    and
               (2) Expense Reimbursement
                    We will pay for reimbursement of necessary and reasonable “identity recovery expenses”
                    incurred as a direct result of the “identity theft”.


   B. EXCLUSIONS
      The following additional exclusions apply to this coverage:
      We will not pay for costs or loss arising from the following:
      1. Nuclear reaction or radiation or radioactive contamination, however caused.


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      2. War and military action including any of the following and any consequence of any of the
           following:
           a. War, including undeclared or civil war;
           b. Warlike action by military force, including action in hindering or defending against an actual or
              expected attack, by any government, sovereign or other authority using military personnel or
              other agents; or
           c.   Insurrection, rebellion, revolution, usurped power, political violence or action taken by
                governmental authority in hindering or defending against any of these.
       3. Failure or interruption of or damage to the internet or an internet service provider.
       4. Any attack on, incident involving, or loss to any computer or system of computers that is not a
          “computer system”.
       5. Costs to research or correct any deficiency.
       6. Any fines or penalties other than those explicitly covered under Data Compromise Response
          Expenses.
       7. Any criminal investigations or proceedings.




                                                                ED
       8. Your intentional or willful complicity in a covered loss event.
       9. Your reckless disregard for the security of your computer system or data, including confidential or
          sensitive information of others in your care, custody or control.
       10. Any criminal, fraudulent or dishonest act, error or omission, or any intentional or knowing violation
           of the law by you.
       11. Any “personal data compromise”, “computer attack”, “cyber extortion threat” or “wrongful act”
           occurring before the “coverage term”.
       12. That part of any “claim” seeking any non- monetary relief. However, this exclusion does not apply

                                               FI
           to “defense costs” arising from an otherwise insured “wrongful act”.
       13. The propagation or forwarding of m alware, including viruses, worms, Trojans, spyware and
           keyloggers in connection with hardware or software created, produced or modified by you for
           sale, lease or license to third parties.
       14. Any threat, extortion or blackmail including, but not limited to, ransom payments and private
        TI
           security assistance. Extortion as used in this exclusion is all types of extortion except a “cyber
           extortion threat” as defined and covered under the Computer Attack and Cyber Extortion
           coverage in this Coverage Form.
       15. Any oral or written publication of material, if done by you or at your direction with knowledge of its
           falsity.
      ER

       16. “Property damage” or “bodily injury” other than mental anguish or mental injury alleged in a
           “claim” covered under Electronic Media Liability.
       17. The theft of a professional or business identity.
       18. Any fraudulent, dishonest or criminal act by an "identity recovery insured" or any person aiding or
           abetting an "identity recovery insured", or by any “authorized representative” of an "i      dentity
           recovery insured", whether acting alone or in collusion with others. However, this exclusion will
           not apply to the interests of an “identity recovery insured” who has no knowledge of or
           involvement in such fraud, dishonesty or criminal act.
C



       19. An “identity theft” that is not reported in writing to the police.


   C. LIMITS OF INSURANCE
       1. Aggregate Limits
           Except for post -judgment interest, the Cyber Suite Aggregate Limit shown in the Cyber Suite
           Coverage Form Supplemental Declarations is the most we will pay for all “loss” under all applicable
           coverage sections, except Identity Recovery,     in any one “policy period ” or any applicable
           Extended Reporting Period. The Cyber Suite Aggregate Limit shown in the Cyber Suite Coverage
           Form Supplemental Declarations     applies regardless of the number of insured events first
           discovered or “claims” or “regulatory proceedings” first received during the “policy period” or any
           applicable Extended Reporting Period.

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         The Identity Recovery Coverage is subject to the Identity Recovery Limit as shown in the Cyber
           Suite Supplemental Declarations.


       2. Coverage Sublimits
           a. Data Compromise Sublimits
                The most we will pay under Data Compromise Response Expenses for Forensic IT Review,
                Legal Review, Public Relations, Regulatory Fines and Penalties and PCI Fines and Penalties
                coverages for “loss” arising from any one “personal data compromise” is the applicable
                sublimit for each of those coverages shown in the Cyber Suite Coverage Form Supplemental
                Declarations.
                The most we will pay under Data Compromise Response Expenses coverage for loss arising
                                                                 st
                from any “malware-related compromise” is the 1 Party Named Malware sublimit indicated for
                                                              st
                this Coverage Form. For the purpose of the 1 Party Named Malware sublimit, all “malware-
                related compromises” that are caused, enabled or abetted by the same virus or other
                malicious code are considered to be a single “personal data compromise”.
                These sublimits are part of, and not in addition to, the Cyber Suite Aggregate Limit shown in




                                                                ED
                the Cyber Suite Coverage Form Supplemental Declarations . Public Relations coverage is also
                subject to a limit per “affected individual” as described in A.1.b.(5).
                The most we will pay under Data Compromise Liability coverage for loss arising from any
                                                             rd
                “malware-related compromise” is the 3            Party Named Malware sublimit indicated for this
                                                                  rd
                Coverage Form . For the purpose of the 3             Party Named Malware sublimit, all “malware-
                related compromises” that are caused, enabled or abetted by the same virus or other
                malicious code are considered to be a singl e “personal data compromise”. This sublimit is
                part of, and not in addition to, the limit or limits applicable to the Data Compromise    Liability
                coverage.
           b.
                                               FI
                Computer Attack and Cyber Extortion Sublimits
                The most we will pay under Computer Attack and Cyber Extortion for Loss of Business and
                Public Relations coverages for “loss” arising from any one “computer attack” is the applicable
                sublimit for each of those coverages shown in the Cyber Suite Coverage Form Supplemental
                Declarations. The most we will pay under Computer Attack and Cyber Extortion for Cyber
        TI
                Extortion coverage for “loss” arising from any one “cyber extortion threat” is the applicable
                sublimit shown in the Cyber Suite Coverage Form Supplemental             Declarations. These
                sublimits are part of, and not in addition to, the Cyber Suite Aggregate Limit shown in the
                Cyber Suite Coverage Form Supplemental Declarations.
           c.   Identity Recovery Sublimits
      ER

                The following provisions are applicable only to the Identity Recovery Coverage.
                (1) Case Management Service is available as needed for any one “identity theft” for up to 12
                    consecutive months from the inception of the service. Expenses we incur to provide Case
                    Management Services do not reduce the aggregate limit for Identity Recovery.
                (2) Costs covered under item d. (Legal Costs) of the definition of “identity recovery expenses”
                    are part of, and not in addition to, the aggregate limit for Identity Recovery.
                (3) Costs covered under item e. (Lost Wages) and item f. (Child and Elder Care Expenses) of
                    the definition of “identity recovery expenses” are jointly subject to the Lost Wages and
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                    Child and Elder Care sublimit shown in the Cyber Suite Coverage Form Supplemental
                    Declarations. This sublimit is part of, and not in addition to, the aggregate limit for Identity
                    Recovery. Coverage is limited to wages lost and expenses incurred within 12 months
                    after the first discovery of the “identity theft” by the “identity recovery insured”.
                (4) Costs covered under item g. (Mental Health Counseling) of the definition of “identity
                    recovery expenses” is subject to the Mental Health Counseling sublimit shown in the
                    Cyber Suite Coverage Form Supplemental Declarations . This sublimit is part of, and not in
                    addition to, the aggregate limit for Identity Recovery. Coverage is limited to counseling
                    that takes place within 12 months after the first discovery of the “identity theft” by the
                    “identity recovery insured”.
                (5) Costs covered under item h. (Miscellaneous Unnamed Costs) of the definition of “identity
                    recovery expenses” is subject to the Miscellaneous Unnamed Costs sublimit shown in the

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               Cyber Suite Coverage Form Supplemental Declarations. This sublimit is part of, and not in
                    addition to, the aggregate limit for Identity Recovery. Coverage is limited to costs incurred
                    within 12 months after the first discovery of the “identity theft” by the “identity recovery
                    insured”.


       3. Application of Limits
           a. A “computer attack”, “cyber extortion threat”, “personal data compromise” or “identity theft”
              may be first discovered by you in one “policy period” but it may cause insured “loss” in one or
              more subsequent “policy periods”. If so, all insured “loss” arising from such “computer attack”,
              “cyber extortion threat”, “personal data compromise” or “identity theft” will be subject to the
              limit of insurance applicable to the “policy period” when the “computer attack”, “cyber extortion
              threat”, “personal data compromise” or “identity theft” was first discovered by you.
           b. You may first receive notice of a “claim” or “regulatory proceeding” in one “policy period” but it
              may cause insured “loss” in one or more subsequent “policy periods”. If so, all insured “loss”
              arising from such “claim” or “regulatory proceeding” will be subject to the limit of insurance
              applicable to the “policy period” when notice of the “claim” or “regulatory proceeding” was first
              received by you.




                                                                ED
           c.   The limit of insurance for the Extended Reporting Periods (if applicable) will be part of, and not
                in addition to, the limit of insurance for the immediately preceding “policy period”.
           d. Coverage for Services to Affected Individuals under Data Compromise Response Expenses
              is limited to costs to provide such services for a period of up to one year from the date of the
              notification to the “affected individuals”. Notwithstanding, coverage for Identity Restoration
              Case Management services initiated within such one year period may continue for a period of
              up to one year from the date such Identity Restoration Case Management services are
              initiated.


   D. DEDUCTIBLES                              FI
       1. We will not pay for “loss” until the amount of the insured “loss” exceeds the deductible amount
          shown in the Cyber Suite Coverage Form Supplemental Declarations . We will then pay the amount
          of “loss” in excess of the applicable deductible amount, subject to the applicable limits shown in
        TI
          the Cyber Suite Coverage Form Supplemental Declarations.          You will be responsible for the
          applicable deductible amount.
       2. The deductible will apply to all:
           a. “Loss” arising from the same insured event or interrelated insured events under Data
              Compromise Response Expenses or Computer Attack and Cyber Extortion.
      ER

           b. “Loss” resulting from the same “wrongful act” or interrelated “wrongful acts” insured under
              Data Compromise Liability, Network Security Liability or Electronic Media Liability.
       3. Insurance coverage under Identity Recovery is not subject to a deductible.


   E. ADDITIONAL CONDITIONS
       The following conditions apply in addition to the Common Policy Conditions:
       1. Bankruptcy
C



           The bankruptcy or insolvency of you or your estate, will not relieve you or us of any obligation
           under this Coverage Form.
       2. Defense And Settlement
           a. We shall have the right and the duty to assume the defense of any applicable “    claim” or
              “regulatory proceeding” against you. You shall give us such information and cooperation as
              we may reasonably require.
           b. You shall not admit liability for or settle any “claim” or “regulatory proceeding” or incur any
              defense costs without our prior written consent.
           c.   At the time a “claim” or “regulatory proceeding” is first reported to us, you may request that we
                appoint a defense attorney of your choice. We will give full consideration to any such request.
           d. If you refuse     to consent to any settlement recommended by                us andacceptable to the
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             claimant, we may then withdraw from your defense by tendering control of the defense to
               you. From that point forward, you       shall, at your own expense, negotiate or defend such
               “claim” or “regulatory proceeding”     independently of us .O ur liability shall not exceed the
               amount for which the claim or suit could have been settled if such recommendation was
               consented to, plus defense costs incurred by us , and defense costs incurred by you with our
               written consent, prior to the date of such refusal.
          e. We will not be obligated to pay any “loss” or “defense costs”, or to defend or continue to
             defend any “claim” or “regulatory proceeding” after the applicable limit of insurance has been
             exhausted.
          f.   We will pay all interest on that amount of any judgment within the applicable limit of insurance
               which accrues:
               (1) After entry of judgment; and
               (2) Before we pay, offer to pay or deposit in court that part of the judgment within the
                   applicable limit of insurance or, in any case, before we pay or offer to pay the entire
                   applicable limit of insurance.
               These interest payments will be in addition to and not part of the applicable limit of insurance.




                                                               ED
       3. Due Diligence
          You agree to use due diligence to prevent and mitigate “loss” insured under this Coverage Form.
          This includes, but is not limited to, complying with, and requiring your vendors to comply with,
          reasonable and industry-accepted protocols for:
          a. Providing and maintaining appropriate physical security for your premises, “computer systems”
             and hard copy files;
          b. Providing and maintaining appropriate computer and Internet security;
          c.
                                              FI
               Maintaining and updating at appropriate intervals backups of computer data;
          d. Protecting transactions, such as processing credit card, debit card and check payments; and
          e. Appropriate disposal of files containing “personally identifying information”, “personally
             sensitive information” or “third party corporate data”, including shredding hard copy files and
             destroying physical media used to store electronic data.
        TI
       4. Duties in the Event of a Claim, Regulatory Proceeding or Loss
          a. If, during the “policy period”, incidents or events occur which you reasonably believe may give
             rise to a “claim” or “regulatory proceeding” for which coverage may be provided hereunder,
             such belief being based upon either written notice from the potential claimant or the potential
      ER

             claimant’s representative; or notice of a complaint filed with a federal, state or local agency; or
             upon an oral “claim”, allegation or threat, you shall give written notice to us as soon as
             practicable and either:
               (1) Anytime during the “policy period”; or
               (2) Anytime during the extended reporting periods (if applicable).
          b. If a “claim” or “regulatory proceeding” is brought against you, you must:
               (1) Immediately record the specifics of the “claim” or “regulatory proceeding” and the date
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                   received;
               (2) Provide us with written notice, as soon as practicable, but in no event more than 60 days
                   after the date the “claim” or “regulatory proceeding” is first received by you;
               (3) Immediately send us copies of any demands, notices, summonses or legal papers
                   received in connection with the “claim” or “regulatory proceeding”;
               (4) Authorize us to obtain records and other information;
               (5) Cooperate with us in the investigation, settlement or defense of the “claim” or “regulatory
                   proceeding”;
               (6) Assist us, upon our request, in the enforcement of any right against any person or
                   organization which may be liable to you because of “loss” or “defense costs” to which this
                   insurance may also apply; and
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             (7) Not take any action, or fail to take any required action, that prejudices your rights or our
                     rights with respect to such “claim” or “regulatory proceeding”.
           c.   In the event of a “personal data compromise”, “identity theft”, “computer attack” or “cyber
                extortion threat” insured under this coverage form, you and any involved “identity recovery
                insured” must see that the following are done:
                (1) Notify the police if a law may have been broken.
                (2) Notify us as soon as practicable, but in no event more than 60 days after the “personal
                    data compromise”, “identity theft” , “computer attack” or “cyber extortion threat”. Include a
                    description of any property involved.
                (3) As soon as possible, give us a description of how, when and where the “personal data
                    compromise”, “identity theft”, “computer attack” or “cyber extortion threat” occurred.
                (4) As often as may be reasonably required, permit us to:
                     (a) Inspect the property proving the “personal data compromise”, “identity theft”,
                         “computer attack” or “cyber extortion threat”;
                     (b) Examine your books, records, electronic media and records and hardware;
                     (c) Take samples of damaged and undamaged property for inspection, testing and




                                                                ED
                         analysis; and
                     (d) Make copies from your books, records, electronic media and records and hardware.
                (5) Send us signed, sworn proof of “loss” containing the information we request to investigate
                    the “personal data compromise”, “identity theft”, “computer attack” or “cyber extortion
                    threat”. You must do this within 60 days after our request. We will supply you with the
                    necessary forms.
                (6) Cooperate with us in the investigation or settlement of the “personal data compromise”,
                    “identity theft”, “computer attack” or “cyber extortion threat”.

                    quickly as possible.
                                               FI
                (7) If you intend to continue your business, you must resume all or part of your operations as

                (8) Make no statement that will assume any obligation or admit any liability, for any “loss” for
                    which we may be liable, without our prior written consent.
         TI
                (9) Promptly send us any legal papers or notices received concerning the “loss”.
           d. We may examine you under oath at such times as may be reasonably required, about any
              matter relating to this insurance or the “claim”, “regulatory proceeding” or “loss”, including
              your books and records. In the event of an examination, your answers must be signed.
           e. You may not, except at your own cost, voluntarily make a payment, assume any obligation, or
              incur any expense without our prior written consent.
       ER

        5. Extended Reporting Periods
           a. You will have the right to the Extended Reporting Periods described in this section, in the
              event of a “termination of coverage”.
           b. If a “termination of coverage” has occurred, you will have the right to the following:
                (1) At no additional premium, an        Automatic Extended Reporting Period of 30 days
                    immediately following the effective date of the “termination of coverage” during which you
C



                    may first receive notice of a “claim” or “regulatory proceeding”    arising directly from a
                    “wrongful act” occurring before the end of the “policy period” and which is otherwise
                    insured by this Coverage Form; and
                (2) Upon payment of the additional premium of 100% of the full annual premium associated
                    with the relevant coverage, a Supplemental Extended Reporting Period of one year
                    immediately following the effective date of the “termination of coverage” during which you
                    may first receive notice of a “claim” or “regulatory proceeding”    arising directly from a
                    “wrongful act” occurring before the end of the “policy period” and which is otherwise
                    insured by this Coverage Form.
                     To obtain the Supplemental Extended Reporting Period, you must request it in writing and
                     pay the additional premium due, within 30 days after the effective date of “termination of
                     coverage”. The additional premium for the Supplemental Extended Reporting Period will
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               be fully earned at the inception of the Supplemental Extended Reporting Period. If we do
                    not receive the written request as required, you may not exercise this right at a later date.
                    If there is other insurance that applies to the same “loss”, this insurance, provided during
                    the Supplemental Extended Reporting Period, shall apply only as excess insurance after
                    all other applicable insurance has been exhausted.


       6. Identity Recovery Help Line
           For assistance, if Identity Recovery applies, the “identity recovery insured” should call the
           Identity Recovery Help Line at 1-844-378-3176.
           The Identity Recovery Help Line can provide the “identity recovery insured” with:
           a. Information and advice for how to respond to a possible “identity theft”; and
           b. Instructions for how to submit a service request for Case Management Service and/or a claim
              form for Expense Reimbursement Coverage.
           In some cases, we may provide Case Management services at our expense to an “identity
           recovery insured” prior to a determination that a covered “identity theft” has occurred. Our




                                                                ED
           provision of such services is not an admission of liability under the Coverage Form. We reserve
           the right to deny further coverage or service if, after investigation, we determine that a covered
           “identity theft” has not occurred.
           As respects Expense Reimbursement Coverage, the “identity recovery insured” must send to us,
           within 60 days after our request, receipts, bills or other records that support his or her claim for
           “identity recovery expenses”.


       7. Legal Action Against Us

                                               FI
           No one may bring a legal action against us under this insurance unless:
           a. There has been full compliance with all of the terms of this insurance; and
           b. The action is brought within two years after the date the “loss” or “identity theft” is first
              discovered by you, or the date on which you first receive notice of a “claim” or “r
              proceeding”.
                                                                                                          egulatory
        TI
       8. Legal Advice
           We are not your legal advisor. Our determination of what is or is not insured under this Coverage
           Form does not represent advice or counsel from us about what you should or should not do.
      ER

       9. Other Insurance
           If there is other insurance that applies to the same “loss”, this Coverage Form shall apply only as
           excess insurance after all other applicable insurance has been exhausted.


       10. Pre-Notification Consultation
           You agree to consult with us prior to the issuance of notification to “affected individuals”. We
           assume no responsibility under Data Compromise Response Expenses for any services promised
C



           to “affected individuals” without our prior agreement. If possible, this pre-notification consultation
           will also include the designated service provider(s) as agreed to under the Service Providers
           condition below. You must provide the following at our pre-notification consultation with you:
           a. The exact list of “affected individuals” to be notified, including contact information.
           b. Information about the “personal data compromise” that may appropriately be communicated
              with “affected individuals”.
           c.   The scope of services that you desire for the “affected individuals”. For example, coverage
                may be
                structured to provide fewer services in order to make those services available to more
                “affected individuals” without exceeding the available Data Compromise Response Expenses
                limit of insurance.
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      11. Service Providers
          a. We will only pay under this Coverage Form for services that are provided by service providers
             approved by us. You must obtain our prior approval for any service provider whose expenses
             you want covered under this Coverage Form. We will not unreasonably withhold such
             approval.
          b. Prior to the Pre-Notification Consultation described in the Pre-Notification Consultation
             Condition above, you must come to agreement with us regarding the service provider(s) to be
             used for the Notification to Affected Individuals and Services to Affected Individuals. We will
             suggest a service provider. If you prefer to use an alternate service provider, our coverage is
             subject to the following limitations:
               (1) Such alternate service provider must be approved by us;
               (2) Such alternate service provider must provide services that are reasonably equivalent or
                   superior in both kind and quality to the services that would have been provided by the
                   service provider we had suggested; and
               (3) Our payment for services provided by any alternate service provider will not exceed the




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                   amount that we would have paid using the service provider we had suggested.


      12. Services
          The following conditions apply as respects any services provided to you or any “affected individual”
          or “identity recovery insured” by us, our designees or any service firm paid for in whole or in part
          under this Coverage Form:
          a. The effectiveness of such services depends on the cooperation and assistance of you,
             “affected individuals” and “identity recovery insureds”.




          c.
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          b. All services may not be available or applicable to all individuals. For example, “affected
             individuals” and “identity recovery insureds” who are minors or foreign nationals may not have
             credit records that can be provided or monitored. Service in Canada will be different from
             service in the United States and Puerto Rico in accordance with local conditions.
               We do not warrant or guarantee that the services will end or eliminate all problems associated
       TI
               with the covered events.
          d. Except for the services of an “identity recovery case manager” under Identity Recovery, which
             we will provide directly, you will have a direct relationship with the professional service firms
             paid for in whole or in part under this Coverage Form. Those firms work for you.
     ER

   F. DEFINITIONS
      1. “Affected Individual” means any person who is your current, former or prospective customer,
         client, patient, member, owner, student, director or employee and whose “personally identifying
         information” or “personally sensitive information” is lost, stolen, accidentally released or
         accidentally published by a “personal data compromise” covered under this Coverage Form. This
         definition is subject to the following provisions:
          a. “Affected individual” does not include any business or organization. Only an individual person
             may be an “affected individual”.
C



          b. An “affected individual” must have a direct relationship with your interests as insured under this
             policy. The following are examples of individuals who would not meet this requirement:
               (1) If you aggregate or sell information about individuals as part of your business, the
                   individuals about whom you keep such information do not qualify as “affected individuals”.
                   However, specific individuals may qualify as “affected individuals” for another reason,
                   such as being an employee of yours.
               (2) If you store, process, transmit or transport records, the individuals whose “personally
                   identifying information” or “personally sensitive information” you are storing, processing,
                   transmitting or transporting for another entity do not qualify as “affected individuals”.
                   However, specific individuals may qualify as “affected individuals” for another reason,
                   such as being an employee of yours.
               (3) You may have operations, interests or properties that are not insured under this policy.
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               Individuals who have a relationship with you through such other operations, interests or
                    properties do not qualify as “affected individuals”. However, specific individuals may
                    qualify as “affected individuals” for another reason, such as being an employee of the
                    operation insured under this policy.
           c. An “affected individual” may reside anywhere in the world.
       2. “Authorized Representative” means a person or entity authorized by law or contract to act on
          behalf of an “identity recovery insured”.
       3. “Authorized Third Party User” means a party who is not an employee or a director of you who is
          authorized by contract or other agreement to access the “computer system” for the receipt or
          delivery of services.
       4. “Bodily Injury” means bodily injury, sickness or disease sustained by a person, including death
          resulting from any of these at any time.
       5. “Business Income and Extra Expense Loss” means the loss of Business Income and Extra
          Expense actually incurred during the Period of Restoration.
           a. As used in this definition, Business Income means the sum of:
                (1) Net income (net profit or loss before income taxes) that would have been earned or




                                                                ED
                    incurred; and
                (2) Continuing normal and necessary operating expenses incurred, including employee and
                    director payroll.
           b. As used in this definition, Extra Expense means the additional cost you incur to operate your
              business over and above the cost that you normally would have incurred to operate your
              business during the same period had no “computer attack” occurred.
           c.   As used in this definition, Period of Restoration means the period of time that begins at the
                time that the “computer attack” is discovered by you and continues until the earlier of:

                                               FI
                (1) The date that all data restoration, data re-creation and system restoration directly related
                    to the “computer attack” has been completed; or
                (2) The date on which such data restoration, data re-creation and system restoration could

       6. “Claim”
                    have been completed with the exercise of due diligence and dispatch.
        TI
           a. “Claim” means:
                (1) A written demand for monetary damages or non-monetary relief, including injunctive relief;
                (2) A civil proceeding commenced by the filing of a complaint;
                (3) An arbitration proceeding in which such damages are claimed and to which you must
      ER

                    submit or do submit with our consent;
                (4) Any other alternative dispute resolution proceeding in which such damages are claimed
                    and to which you must submit or to which we agree you should submit to;
                arising from a “wrongful act” or a series of interrelated “wrongful acts” including any resulting
                appeal.
           b. “Claim” does not mean or include:
                (1) Any demand or action brought by or on behalf of someone who is:
C



                    (a) Your director;
                    (b) Your owner or part-owner; or
                    (c) A holder of your securities,
                    in their capacity as such, whether directly, derivatively, or by class action. “Claim” will
                    include proceedings brought by such individuals in their capacity as “affected individuals”,
                    but only to the extent that the damages claimed are the same as would apply to any other
                    “affected individual”; or
                (2) A “regulatory proceeding”.
           c.   Includes a demand or proceeding arising from a “wrongful act” that is a “personal data
                compromise” only when:
                (1) The proceeding is brought by one or more “affected individuals”;
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             (2) The claimant alleges that one or more “affected individuals” suffered damages; and
               (3) The “personal data compromise” giving rise to the proceeding was covered under Data
                   Compromise Response Expenses section of this Coverage Form, and you submitted a
                   claim to us and provided notifications and services to “affected individuals” in consultation
                   with us pursuant to Data Compromise Response Expenses in connection with such
                   “personal data compromise”.
       7. “Computer Attack” means one of the following involving the “computer system”:
          a. An “unauthorized access incident”;
          b. A “malware attack”; or
          c.   A “denial of service attack” against a “computer system”.
       8. “Computer System” means a computer or other electronic hardware that is owned or leased by
          you and operated under your control.
       9. “Coverage Term” means the increment of time:
          a. Commencing on the earlier of the first inception date of this Cyber Coverage or the first
             inception date of any coverage substantially similar to that described in this coverage form and
             held immediately prior to this Cyber coverage; and




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          b. Ending upon the “termination of coverage”.
       10. “Coverage Territory” means:
          a. With respect to Data Compromise Response Expenses, Computer Attack and Cyber
             Extortion, and Identity Recovery, “coverage territory” means anywhere in the world.
          b. With respect to Data Compromise Liability, Network Security Liability and Electronic Media
             Liability, “coverage territory” means anywhere in the world, however “claims” must be brought
             within the United States (including its territories and possessions) or Puerto Rico.
       11. “Cyber Extortion Expenses” means:

             threat”; and
                                              FI
          a. The cost of a negotiator or investigator retained by you in connection with a “cyber extortion

          b. Any amount paid by you in response to a “cyber extortion threat” to the party that made the
             “cyber extortion threat” for the purposes of eliminating the “cyber extortion threat” when such
        TI
             expenses are necessary and reasonable and arise directly from a “cyber extortion threat”. The
             payment of “cyber extortion expenses” must be approved in advance by us. We will not pay
             for “cyber extortion expenses” that have not been approved in advance by us. We will not
             unreasonably withhold our approval.
       12. “Cyber Extortion Threat” means:
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          a. “Cyber extortion threat” means a demand for money from you based on a credible threat, or
             series of related credible threats, to:
               (1) Launch a “denial of service attack” against the “computer system” for the purpose of
                   denying “authorized third party users” access to your services provided through the
                   “computer system” via the Internet;
               (2) Gain access to a “computer system” and use that access to steal, release or publish
                   “personally identifying information”, “personally sensitive information” or “third party
                   corporate data”;
C



               (3) Alter, damage or destroy electronic data or software while such electronic data or software
                   is stored within a “computer system”;
               (4) Launch a “computer attack” against a “computer system” in order to alter, damage or
                   destroy electronic data or software while such electronic data or software is stored within
                   a “computer system”; or
               (5) Cause you to transfer, pay or deliver any funds or property using a “computer system”
                   without your authorization.
          b. “Cyber extortion threat” does not mean or include any threat made in connection with a
             legitimate commercial dispute.
       13. “Data Re-creation Costs”
          a. “Data re-creation costs” means the costs of an outside professional firm hired by you to
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             research, re- create and replace data that has been lost or corrupted and for which there is no
                electronic source available or where the electronic source does not have the same or similar
                functionality to the data that has been lost or corrupted.
           b. “Data re-creation costs” does not mean or include costs to research, re-create or replace:
                (1) Software programs or operating systems that are not commercially available; or
                (2) Data that is obsolete, unnecessary or useless to you.
       14. “Data Restoration Costs”
           a. “Data restoration costs” means the costs of an outside professional firm hired by you to replace
              electronic data that has been lost or corrupted. In order to be considered “data restoration
              costs”, such replacement must be from one or more electronic sources with the same or similar
              functionality to the data that has been lost or corrupted.
           b. “Data restoration costs” does not mean or include costs to research, re-create or replace:
                (1) Software programs or operating systems that are not commercially available; or
                (2) Data that is obsolete, unnecessary or useless to you.
       15. “Defense Costs”




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           a. “Defense costs” means reasonable and necessary expenses consented to by us resulting
              solely from the investigation, defense and appeal of any “claim” or “regulatory proceeding”
              against you. Such expenses may include premiums for any appeal bond, attachment bond or
              similar bond. However, we have no obligation to apply for or furnish such bond.
           b. “Defense costs” does not mean or include the salaries or wages of your employees or
              directors, or your loss of earnings.
       16. “Denial of Service Attack” means an intentional attack against a target computer or network of
           computers designed to overwhelm the capacity of the target computer or network in order to deny

                                               FI
           or impede authorized users from gaining access to the target computer or network through the
           Internet.
       17. “Electronic Media Incident” means an allegation that the display of information in electronic form
           by you on a website resulted in:
           a. Infringement of another’s copyright, title, slogan, trademark, trade name, trade dress, service
         TI
              mark or service name;
           b. Defamation against a person or organization that is unintended; or
           c.   A violation of a person’s right of privacy, including false light and public disclosure of private
                facts;
       18. “Identity Recovery Case Manager” means one or more individuals assigned by us to assist an
       ER

           “identity recovery insured” with communications we deem necessary for re-establishing the
           integrity of the personal identity of the “identity recovery insured”. This includes, with the permission
           and cooperation of the “identity recovery insured”, written and telephone communications with law
           enforcement authorities, governmental agencies, credit agencies and individual creditors and
           businesses.
       19. “Identity Recovery Expenses” means the following when they are reasonable and necessary
           expenses that are incurred as a direct result of an “identity theft” suffered by an “identity recovery
           insured”:
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           a. Re-Filing Costs
                Costs for re-filing applications for loans, grants or other credit instruments that are rejected
                solely as a result of an “identity theft”.
           b. Notarization, Telephone and Postage Costs
                Costs for notarizing affidavits or other similar documents, long distance telephone calls and
                postage solely as a result of the “identity recovery insured’s” efforts to report an “identity theft”
                or amend or rectify records as to the “identity recovery insured’s” true name or identity as a
                result of an “identity theft”.
           c.   Credit Reports
                Costs for credit reports from established credit bureaus.


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         d. Legal Costs
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               Fees and expenses for an attorney approved by us for the following:
               (1) The defense of any civil suit brought against an “identity recovery insured”.
               (2) The removal of any civil judgment wrongfully entered against an “identity recovery insured”.
               (3) Legal assistance for an “identity recovery insured” at an audit or hearing by a governmental
                   agency.
               (4) Legal assistance in challenging the accuracy of the “identity recovery insured’s” consumer
                   credit report.
               (5) The defense of any criminal charges brought against an “identity recovery insured” arising
                   from the actions of a third party using the personal identity of the “identity recovery
                   insured”.
          e. Lost Wages
               Actual lost wages of the “identity recovery insured” for time reasonably and necessarily taken
               away from work and away from the work premises. Time away from work includes partial or
               whole work days. Actual lost wages may include payment for vacation days, discretionary
               days, floating holidays and paid personal days. Actual lost wages does not include sick days or




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               any loss arising from time taken away from self-employment. Necessary time off does not
               include time off to do tasks that could reasonably have been done during non-working hours.
          f.   Child and Elder Care Expenses
               Actual costs for supervision of children or elderly or infirm relatives or dependents of the
               “identity recovery insured” during time reasonably and necessarily taken away from such
               supervision. Such care must be provided by a professional care provider who is not a relative
               of the “identity recovery insured”.
          g. Mental Health Counseling
                                              FI
               Actual costs for counseling from a licensed mental health professional. Such care must be
               provided by a professional care provider who is not a relative of the “identity recovery insured”.
          h. Miscellaneous Unnamed Costs
               Any other reasonable costs necessarily incurred by an “identity recovery insured” as a direct
       TI
               result of the “identity theft”.
               (1) Such costs include:
                    (a) Costs by the “identity recovery insured” to recover control over his or her personal
                        identity.
                    (b) Deductibles or service fees from financial institutions.
     ER

               (2) Such costs do not include:
                    (a) Costs to avoid, prevent or detect “identity theft” or other loss.
                    (b) Money lost or stolen.
                    (c) Costs that are restricted or excluded elsewhere in this Coverage Form or policy.
      20. “Identity Recovery Insured” means the following:
          a. When the entity insured under this Coverage Form is a sole proprietorship, the “identity
             recovery insured” is the individual person who is the sole proprietor of the insured entity.
C



          b. When the entity insured under this Coverage Form is a partnership, the “identity recovery
             insureds” are the current partners.
          c.   When the entity insured under this Coverage Form is a corporation or other form of
               organization, other than those described in a. or b. above, the “identity recovery insureds” are
               all individuals having an ownership position of 20% or more of the insured entity. However, if,
               and only if, there is no one who has such an ownership position, then the “identity recovery
               insured” will be:
               (1) The chief executive of the insured entity; or
               (2) As respects a religious institution, the senior ministerial employee.
          An “identity recovery insured” must always be an individual person. If the entity insured under this
          Coverage Form is a legal entity, that legal entity is not an “identity recovery insured”.
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      21. “Identity Theft”
                                     182
          a. “Identity theft” means the fraudulent use of “personally identifying information”. This includes
             fraudulently using such information to establish credit accounts, secure loans, enter into
             contracts or commit crimes.
          b. “Identity theft” does not mean or include the fraudulent use of a business name, d/b/a or any
             other method of identifying a business activity.
      22. “Loss”
          a. With respect to Data Compromise Response Expenses, “loss” means those expenses
             enumerated in Data Compromise Response Expenses, paragraph b.
          b. With respect to Computer Attack, “loss” means those expenses enumerated in Computer
             Attack, paragraph b.
          c.   With respect to Cyber Extortion, “loss” means “cyber extortion expenses”.
          d. With respect to Data Compromise Liability, Network Security Liability and Electronic Media
             Liability, “loss” means “defense costs” and “settlement costs”.
          e. With respect to Identity Recovery, “loss” means those expenses enumerated in Identity
             Recovery, paragraph b.




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      23. “Malware Attack”
          a. “Malware attack” means an attack that damages a “computer system” or data contained therein
             arising from malicious code, including viruses, worms, Trojans, spyware and keyloggers.
          b. “Malware attack” does not mean or include damage from shortcomings or mistakes in legitimate
             electronic code or damage from code installed on your “computer system” during the
             manufacturing process or normal maintenance.
      24. “Malware-Related Compromise” means a “personal data compromise” that is caused, enabled

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          or abetted by a virus or other malicious code that, at the time of the “personal data compromise”, is
          named and recognized by the CERT® Coordination Center, McAfee®, Secunia, Symantec or
          other comparable third party monitors of malicious code activity.
      25. “Network Security Incident” means a negligent security failure or weakness with respect to a
          “computer system” which allowed one or more of the following to happen:
       TI
          a. The unintended propagation or forwarding of malware, including viruses, worms, Trojans,
             spyware and keyloggers. Malware does not include shortcomings or mistakes in legitimate
             electronic code;
          b. The unintended abetting of a “denial of service attack” against one or more other systems; or
          c.   The unintended loss, release or disclosure of “third party corporate data”.
     ER

      26. “Personal Data Compromise” means the loss, theft, accidental release or accidental publication
          of “personally identifying information” or “personally sensitive information” as respects one or more
          “affected individuals”. If the loss, theft, accidental release or accidental publication involves
          “personally identifying information”, such loss, theft, accidental release or accidental publication
          must result in or have the reasonable possibility of resulting in the fraudulent use of such
          information. This definition is subject to the following provisions:
          a. At the time of the loss, theft, accidental release or accidental publication, the “personally
             identifying information” or “personally sensitive information” need not be at the insured
             premises but must be in the direct care, custody or control of:
C



               (1) You; or
               (2) A professional entity with which you have a direct relationship and to which you (or an
                   “affected individual” at your direction) have turned over (directly or via a professional
                   transmission or transportation provider) such information for storage, processing,
                   transmission or transportation of such information.
          b. “Personal data compromise” includes disposal or abandonment of “personally identifying
             information” or “personally sensitive information” without appropriate safeguards such as
             shredding or destruction, provided that the failure to use appropriate safeguards was
             accidental and not reckless or deliberate.
          c.   “Personal data compromise” includes situations where there is a reasonable cause to suspect
               that such “personally identifying information” or “personally sensitive information” has been
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             lost, stolen, accidentally released or accidentally published, even if there is no firm proof.
           d. All incidents of “personal data compromise” that are discovered at the same time or arise from
              the same cause will be considered one “personal data compromise”.
       27. “Personally Identifying Information”
           a. “Personally identifying information” means information, including health information, that could
              be used to commit fraud or other illegal activity involving the credit, access to health care or
              identity of an “affected individual” or “identity recovery insured”. This includes, but is not limited
              to, Social Security numbers or account numbers.
           b. “Personally identifying information” does not mean or include information that is otherwise
              available to the public, such as names and addresses.
       28. “Personally Sensitive Information”
           a. “Personally sensitive information” means private information specific to an individual the
              release of which requires notification of “affected individuals” under any applicable law.
           b. “Personally sensitive information” does not mean or include “personally identifying information”.
       29. “Policy Period” means the period commencing on the effective date shown in the Policy
           Declarations. The “policy period” ends on the expiration date or the cancellation date of this




                                                                ED
           Coverage Form, whichever comes first.
       30. “Property Damage” means
           a. Physical injury to or destruction of tangible property including all resulting loss of use; or
           b. Loss of use of tangible property that is not physically injured.
       31. “Regulatory Proceeding” means an investigation, demand or proceeding alleging a violation of
           law or regulation arising from a “personal data compromise”   brought by, or on behalf of, the
           Federal Trade Commission, Federal Communications Commission or other administrative or


       32. “Settlement Costs”
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           regulatory agency, or any federal, state, local or foreign governmental entity in such entity’s
           regulatory or official capacity.


           a. “Settlement costs” means the following, when they arise from a “claim”:
                (1) Damages, judgments or settlements; and
         TI
                (2) Attorney’s fees and other litigation costs added to that part of any judgment paid by us,
                    when such fees and costs are awarded by law or court order; and
                (3) Pre-judgment interest on that part of any judgment paid by us.
           b. “Settlement costs” does not mean or include:
       ER

                (1) Civil or criminal fines or penalties imposed by law, except for civil fines and penalties
                    expressly covered under Data Compromise Response Expenses;
                (2) Punitive and exemplary damages;
                (3) The multiple portion of any multiplied damages;
                (4) Taxes; or
                (5) Matters which may be deemed uninsurable under the applicable law.
           c.   With respect to fines and penalties, the law of the jurisdiction most favorable to the insurability
                of those fines, or penalties will control for the purpose of resolving any dispute between us and
C



                you regarding whether the fines, or penalties specified in this definition above are insurable
                under this Coverage Form, provided that such jurisdiction:
                (1) Is where those fines, or penalties were awarded or imposed;
                (2) Is where any “wrongful act” took place for which such fines, or penalties were awarded or
                    imposed;
                (3) Is where you are incorporated or you have your principal place of business; or
                (4) Is where we are incorporated or have our principal place of business.
       33. “System Restoration Costs”
           a. “System restoration costs” means the costs of an outside professional firm hired by you to do
              any of the following in order to restore your computer system to its pre-“computer attack” level

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             of functionality:
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               (1) Replace or reinstall computer software programs;
               (2) Remove any malicious code; and
               (3) Configure or correct the configuration of your computer system.
          b. “System restoration costs” does not mean or include:
               (1) Costs to increase the speed, capacity or utility of a “computer system” beyond what existed
                   immediately prior to the “computer attack”;
               (2) Labor costs of your employees or directors;
               (3) Any costs in excess of the actual cash value of your computer system; or
               (4) Costs to repair or replace hardware.
      34. “Termination of Coverage” means:
          a. You or we cancel this coverage;
          b. You or we refuse to renew this coverage; or
          c.   We renew this coverage on an other than claims-made basis or with a retroactive date later




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               than the date of the first inception of this coverage or any coverage substantially similar to that
               described in this coverage form.
      35. “Third Party Corporate Data”
          a. “Third party corporate data” means any trade secret, data, design, interpretation, forecast,
             formula, method, practice, credit or debit card magnetic strip information, process, record,
             report or other item of information of a third party not an insured under this Coverage Form
             which is not available to the general public and is provided to you subject to a mutually
             executed written confidentiality agreement or which you are legally required to maintain in
             confidence.
                                              FI
          b. “Third party corporate data” does not mean or include “personally identifying information” or
             “personally sensitive information”.
      36. “Unauthorized Access Incident” means the gaining of access to a “computer system” by:
          a. An unauthorized person or persons; or
       TI
          b. An authorized person or persons for unauthorized purposes.
      37. “Wrongful Act”
          a. With respect to Data Compromise Liability, “wrongful act” means a “personal data
             compromise”.
          b. With respect to Network Security Liability, “wrongful act” means a “network security incident”.
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          c.   With respect to Electronic Media Liability, “wrongful act” means an “electronic media incident”.
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   ALL OTHER PROVISIONS OF THIS POLICY APPLY.



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                                     182



                                   Compass Sinkhole Loss Extension


   It is understood and agreed that this policy is amended as follows:

       1. The words “Sinkhole Loss” are deleted from the Earth Movement definition in Section VIII.J.5.
          of the Compass 04 18 Form.

       2. The Compass Form is extended to cover Sinkhole Loss, as defined under Section VIII.BB.




                                                          ED
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        TI
   All other terms and conditions remain unchanged.
      ER
C




   AR Compass Sinkhole 04 18
     Case 1:22-cv-21369-KMM Document 1-2 Entered on FLSD Docket 05/02/2022 Page 169 of
                                          182

               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     PROTECTIVE SAFEGUARDS
This endorsement modifies insurance provided under the following:


      Compass Commercial Property Form


                                                           SCHEDULE


                                                                                                   Protective Safeguards
           Premises Number                                  Building Number                         Symbols Applicable
As per Statement of Values on file with   As per Statement of Values on file with the




                                                                       ED
                                                                                             P-1
the Program Manager.                      Program Manager.




Describe Any "P-9 ":

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A.    The following is added to the Commercial Prop-
      erty Conditions:

      Protective Safeguards
      As a condition of this insurance, you are re-
      quired to:
                                                      FI       B.   The following is added to the Exclusions sec-
                                                                    tion of:

                                                                    Compass Commercial Property Form
                                                                    We will not pay for loss or damage caused by
                                                                    or resulting from fire if , prior to the fire, you
              TI
      1.    Maintain the protective safeguards listed in            failed to comply with any condition set forth in
            the Schedule, and over which you have                   Paragraph A.
            control, in complete working order;
                                                               C.   The protective safeguards to which this
                                                                    endorsement applies are identified by the fol-
      2.    Actively engage and maintain in the " on "
                                                                    lowing symbols:
            position at all times any automatic fire
            ER

                                                                    "P-1" Automatic Sprinkler System, including
            alarm or other automatic system listed in the
                                                                    related supervisory services.
            Schedule; and

      3.    Notify us if you know of any suspension of
            or impairment in any protective safeguard
            listed in the Schedule.
            However, if part of an Automatic Sprinkler
            System or Automatic Commercial Cooking
            Exhaust And Extinguishing System is shut
            off due to breakage, leakage, freezing
C



            conditions or opening of sprinkler heads,
            notification to us will not be necessary if
            you can restore full protection within 48
            hours.




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Safeguard 05 18                                       its permission.
    Case 1:22-cv-21369-KMM Document 1-2 Entered on FLSD Docket 05/02/2022 Page 170 of
Automatic Sprinkler System means:        182
                                          "P-3 " Security Service, with a recording sys-
     a.    Any automatic fire protective or extin-                  tem or watch clock , making hourly rounds cov-
           guishing system, including connected:                    ering the entire building, when the premises are
                                                                    not in actual operation.
           (1 )   Sprinklers and discharge nozzles;
           (2 )   Ducts, pipes, valves and fittings;                "P-4 " Service Contract w ith a privately owned
                                                                    fire department providing fire protection
           (3 )   Tanks, their component parts and                  service to the described premises.
                  supports; and
                                                                    "P-5 " Automatic Commercial Cooking Exhaust
           (4 )   Pumps and private fire protection                 And Extinguishing System installed on cooking
                  mains.                                            appliances and having the following compo-
                                                                    nents:
     b.    When supplied from an automatic fire                           a.   Hood;
           protective system:
                                                                          b.   Grease removal device;
           (1 )   Non-automatic fire protective sys-
                  tems; and                                               c.   Duct system; and

           (2 )   Hydrants, standpipes and outlets.                       d.   Wet chemical fire extinguishing equip-
                                                                               ment.




                                                                       ED
"P-2 " Automatic Fire Alarm, protecting the en-                     "P-9 ", the protective system described in the
tire building, that is:                                             Schedule.
     a.    Connected to a central station; or

     b.    Reporting to a public or private fire
           alarm station.




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                                     182



                              Cosmetic Roof Damage Restriction


   In respect of loss or damage by wind and/or hail to a Building or structure:

      The Companies will not pay for “cosmetic damage” to “roof surfacing” caused by wind and/or hail.

      For the purpose of this endorsement:

           Cosmetic damage means that the wind or hail caused marring, pitting or other superficial damage
           that altered the appearance of the roof surfacing, but such damage does not prevent the roof from
           continuing to function as a barrier to entrance of the elements to the same extent as it did before




                                                            ED
           the cosmetic damage occurred.

           Roof surfacing refers to the shingles, tiles, cladding, metal or synthetic sheeting or similar materials
           covering the roof and includes all materials used in securing the roof surface and all materials
           applied to or under the roof surface for moisture protection, as well as roof flashing.




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   All other terms and conditions remain unchanged.
C




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   AR CRD 02 20
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                               Contact and Complaints Notice

   If you should have questions or concerns about your policy, or if you feel that you have
   not been offered excellent service please first contact your insurance agentthrough whom
   this insurance was placed. Your agent will be able to advise and provide assistance in
   many cases.

   If you are unable to resolve your concern and wish to contact us about a complaint or for
   further assistance you may reach us at:




                                                  ED
   By email:
        Complaints@AmRISC.com

   By telephone:
          252-247-8760 local number to Morehead City, NC office
          877-284-4900 toll free number to Morehead City, NC office

   By mail:
         AmRISC, LLC
         Complaints Department
         20405 State Highway 249
                                     FI
       TI
         Suite 430
         Houston, TX 77070


   AmRISC, LLC, including its subsidiary divisions, is the managing general agent and/or
     ER

   Correspondent and/or Program Manager that has placed your insurance policy with the
   insurance carrier(s) listed on your policy declarations page.

   We strive t o provide excellent service to all of our customers and will take all concerns
   seriously and will endeavor to resolve all questions or complaints promptly.
C




   AR CAC 01 20
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                                     182
                   U.S. Terrorism Risk Insurance Act of 2002 as amended
                                   Not Purchased Clause
     This Clause is issued in accordance with the terms and conditions of the "U.S. Terrorism Risk
     Insurance Act of 2002" as amended as summarized in the disclosure notice.

     It is hereby noted that the Underwriters have made available coverage for “insured losses”
     directly resulting from an "act of terrorism" as defined in the "U.S. Terrorism Risk Insurance Act of
     2002", as amended (“TRIA”) and the Insured has declined or not confirmed to purchase this
     coverage.

     This Insurance therefore affords no coverage for losses directly resulting from any "act of
     terrorism" as defined in TRIA except to the extent, if any, otherwise provided by this policy.

     All other terms, conditions, insured coverage and exclusions of this Insurance including
     applicable limits and deductibles remain unchanged and apply in full force and effect to the




                                                          ED
     coverage provided by this Insurance.

     LMA5390
     09 January 2020


           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                           FI
                      EXCLUSION OF CERTIFIED ACTS OF TERRORISM

       A. The following definition is added with respect to the provisions of this endorsement:
            "Certified Act of Terrorism" means an act that is certified by the Secretary of the Treasury,
            in accordance with the provisions of the federal Terrorism Risk Insurance Act, to be an act
       TI
            of terrorism pursuant to such Act. The criteria contained in the Terrorism Risk Insurance
            Act for a "Certified Act of Terrorism" include the following:
            1. The act resulted in insured losses in excess of $5 million in the aggregate, attributable to
            all types of insurance subject to the Terrorism Risk Insurance Act; and
            2. The act is a violent act or an act that is dangerous to human life, property or
     ER

            infrastructure and is committed by an individual or individuals as part of an effort to coerce
            the civilian population of the United States or to influence the policy or affect the conduct of
            the United States Government by coercion.


        B. The following exclusion is added:
           CERTIFIED ACT OF TERRORISM EXCLUSION
            The Companies will not pay for loss or damage caused directly or indirectly by a "Certified
C



            Act of Terrorism". Such loss or damage is excluded regardless of any other cause or event
            that contributes concurrently or in any sequence to the loss.


        C. Exception Covering Certain Fire Losses
            As respects to property located in states that have Standard Fire Policy or similar laws
            mandating that insurance Companies provide coverage for “fire following” any Certified
            Acts of Terrorism, the following exception to the exclusion in Paragraph B. applies:
            If a "Certified Act of Terrorism" results in fire, the Companies will pay for the loss or
            damage caused by that fire. Such coverage for fire applies only to direct loss or damage
            by fire to Covered Property. Therefore, for example, the coverage does not apply to
            insurance provided under Business Income and/or Extra Expense coverage forms or




     AR TRIA EXCL 03 21
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           endorsements which apply to those forms, or to the Legal Liability Coverage Form or the
           Leasehold Interest Coverage Form.
           If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk
           Insurance Act exceed $100 billion in a calendar year and the Companies have met their
           insurer deductible under the Terrorism Risk Insurance Act, the Companies shall not be
           liable for the payment of any portion of the amount of such losses that exceeds $100
           billion, and in such case insured losses up to that amount are subject to pro rata allocation
           in accordance with procedures established by the Secretary of the Treasury.


        D. Application Of Other Exclusions
           The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a
           terrorism exclusion, do not serve to create coverage for any loss which would otherwise be
           excluded under this Coverage Part or Policy, such as losses excluded by the Nuclear
           Hazard Exclusion or the War and Military Action Exclusion.




                                                        ED
        All other terms and conditions remain unchanged.




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     AR TRIA EXCL 03 21
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         IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL
         CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA

         CASE NO: 2022-003829-CA-01
         SECTION: CA21
         JUDGE: David C. Miller

         Harvest Valley Inc et al
         Plaintiff(s)

         vs.

         Certain Underwriters at Lloyds London
         Defendant(s)
         ____________________________/

                         ORDER DENYING DEFENDANT’S MOTION TO DISMISS

         This case came up for review and the Court having considered DEFENDANT’S MOTION TO
         DISMISS (filed 4/5/22) along with the Complaint and declining to look outside the four corners
         of the Complaint except to observe there may be different carriers, with different coverages and
         filing of suit clauses, depending on the nature and extent of the Plaintiff's claims herein, it is;

         Ordered and Adjudged that the Motion is Denied.

         Defendant shall file an Answer to the Complaint on or before May 2, 2022.

         This deadline may not be extended by agreement and the mere filing
         of a Motion for Rehearing/Reconsideration and/or Motion to Extend
         this deadline will NOT toll the time to fully comply with this Order.
         The failure to timely comply will result in the entry of a Court Default
         without further Notice or Hearing.

         This is the Notice.




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      DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 20th day of April,
      2022.




                                                         2022-003829-CA-01 04-20-2022 3:18 PM
                                                            Hon. David C. Miller

                                                             CIRCUIT COURT JUDGE
                                                             Electronically Signed



        No Further Judicial Action Required on THIS MOTION

        CLERK TO RECLOSE CASE IF POST JUDGMENT



      Electronically Served:
      Nicole M Fluet, nfluet@gallowaylawfirm.com
      Nicole M Fluet, tampaservice@gallowaylawfirm.com
      Peter J. Mineo, Service@mineolaw.com
      Peter J. Mineo, Elizabethd@mineolaw.com


      Physically Served:




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         IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL
         CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA

         CASE NO: 2022-003829-CA-01
         SECTION: CA21
         JUDGE: David C. Miller

         Harvest Valley Inc et al
         Plaintiff(s)

         vs.

         Certain Underwriters at Lloyds London
         Defendant(s)
         ____________________________/

                         INCOMPLETE CASE SCHEDULING/MANAGEMENT ORDER

              THIS CAUSE came before the Court to review and do case management. Based on the
           review of the file, and pursuant to Rule 2.545, Fla. R. Jud. Admin., the Parties, with the
           Court’s assistance, if necessary, will establish a Completed Case
           Scheduling/Management Order. Therefore, it is;

                ORDERED and ADJUDGED as follows:
               1. The Parties shall determine and complete the CASE SCHEDULE below, to
                  extent they can agree on one or all of the To-Dos in this matter and set the
                  Deadlines for as many as can be agreed on. If there is/are any Deadlines for the
                  Parties To-Dos that cannot be agreed on, the Plaintiff’s Counsel shall set a
                  hearing if necessary for the Court to decide the Deadlines.
               2. T h e P l a i n t i f f ’ s C o u n s e l s h a l l f i l e t h e e n t i r e c o m p l e t e d
                  Scheduling/Management Order as a Completed Case
                  Scheduling/Management Order through Court Map for execution and
                  rendering by the Court within 60 days of the entry of the Order. The
                  Plaintiff’s Counsel will bear the burden of ensuring this Order is complied with
                  and the entire scheduling/management order with completed table of to dos and
                  deadlines is filed, but that will not determine who may be ultimately responsible for
                  any lack of compliance with this Order.
               3. The Parties shall strictly comply with the deadlines in the Schedule (which shall
                  supersede any contrary or different Trial Order Deadline) and should expect that
                  the case will be tried during the anticipated trial period specified, without
                  continuances. The parties cannot agree to extend the deadlines and cannot agree
                  to waive any portion of the provisions of this Order. If your case does not go to
                  Trial, it will most probably be sent to Non-Binding Arbitration.


   Case No: 2022-003829-CA-01                                                                               Page 1 of 5
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         4. Procedural Requirements: In addition to strict adherence to the Florida Rules of
            Civil Procedure and the Administrative Orders of the Court, the parties will be
            required to strictly comply with the Completed Case Scheduling/Management
            Order.
         5. The parties may not agree to extend any of the deadlines contained in the
            Completed Case Scheduling/Management Order. Deadlines may only be
            altered by the Court where the interests of justice so require, upon prompt motion,
            notice and hearing.
         6. The following To-Dos and Deadlines are to be determined by Agreement of
            the Parties, filled in, and returned to the Court for execution and rendering
            OR the Court will determine and fill in such To-Dos and Deadlines:


      CASE SCHEDULE




      CASE MANAGEMENT PROCEDURES
         7. Duty to Communicate: Prior to filing any Motion, counsel shall confer with each
            other directly in good faith, not through staff, to attempt to narrow or resolve
            issues. “In good faith” means you are professional and temperate in your
            communications, you return phone calls and emails in a timely manner, and you do
            not set unreasonable deadlines for responses.
         8. Scheduling of Hearings: Motions filed (other than dispositive motions or those
            requiring testimony) must be noticed for hearing on the first available motion
            calendar. The Court may rule upon the Motions on the papers filed for the Court's
            review.



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         9. Compelling Discovery where there has been no response: The parties are to
            comply with Administrative Order 06-09 when moving to compel production of
            propounded discovery. These Motions shall be submitted via CourtMAP with
            supporting documents and shall not be placed on Motion Calendar.
         10. Motions for Protective Order: Motions for Protective Order must be filed as
             soon as the grounds are known. Counsel should be coordinating deposition
             dates for specific parties/witnesses and have a duty to confer regarding any
             issues that would be the subject of a motion for protective order prior to
             scheduling the deposition. The filing of the motion must not be delayed until
             immediately prior to the scheduled deposition. A motion for protective order does
             not automatically stay the deposition and the deposition shall proceed unless an
             order granting the motion is entered by the Court.
         11. Motions for Extension: All Motions for Extension of Time SHALL BE SET TO
             BE HEARD WITHIN 7 DAYS OF THE MOTION BEING FILED and the Motion
             must state with specificity the reason why Extension is needed, the anticipated
             deadline for completion, and any extraordinary or compelling reasons to grant
             relief. The Court may rule upon submission of the Motion without a hearing. All
             Motions for Extension of Time must be preceded by a meet and confer with
             opposing counsel and absent agreement, be set for hearing immediately upon
             filing. Counsel should be prepared to respond promptly if the Motion is Denied.
             The failure to timely set the Motion for Extension to be heard will be deemed
             a waiver of any attempt to get an Extension.
         12. Dispositive Motions: Motions which may dispose of specific issues, portions of
             the case or the entire case should be filed and set for hearing as soon as
             possible. Parties wishing to pursue a dispositive motion should target the
             essential discovery promptly. Parties should confer to assure necessary
             discovery is scheduled to be completed and will be completed prior to a special
             set hearing date. Last minute cancellations are NOT ALLOWED.
         13. Amendment of Pleadings: Motions to amend should be filed so as not to affect
             the date of trial. Although the Court recognizes the rule of liberality with regard to
             amendment of pleadings, liberality declines with an approaching trial date unless
             the amendment involves newly discovered information not previously available.
             Review your pleadings for necessary amendment(s) early, not as part of last-
             minute trial preparation.

         14. Objections: If objections to written discovery involve the phrasing of the request
             or time frame of any discovery request, these objections may not be extended
             even if the parties agree and are due at the time the initial response is due.
             Failure to timely file these objections shall be deemed an express waiver of
             the objection. Parties shall comply with the “Duty to Communicate” above, prior
             to setting timely made objections for hearing.
         15. Documents made available for inspection and copying: If discovery
             responses provide that the documents are available for inspection and copying at
             a mutually convenient time and place, the responding party shall immediately


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            (within 48 hours) provide three alternative dates and times that the documents are
            available for inspection and copying. All of the dates shall be within ten (10)
            days. Failure to provide the dates and times shall constitute a failure to respond
            to discovery. Review shall occur within fifteen (15) days of the response, absent
            extraordinary circumstances. Examples of “extraordinary circumstances” include
            a sole practitioner in trial on another case, a medical emergency, prepaid
            vacation, and a death in the family.
         16. Privilege Logs: Privilege logs are due at the time of the response and may not
             be reserved to be provided later. Privilege logs must specifically identify the
             document in accordance with Rule 1.280(b)(6), Fla.R.Civ.P, AND The item must
             at least be described by Author, primarily Recipient and all those copied,
             date, nature of document, and the same information as to all attachments
             printed out or opened in records for view.
         17. The failure to timely provide the privilege log will result in the waiver of the
             privilege. This procedure requires preparation of a privilege log with respect to all
             documents, electronically stored information, things and oral communications
             withheld on the basis of a claim of privilege or work product except the following:
             written and oral communications between a party and their counsel after
             commencement of the action and work product material created after
             commencement of the action and solely kept between them and staff, experts,
             etc.
              Parties are instructed that where they believe that the divulgence of the logging
              information would necessarily cause disclosure of the allegedly privileged information,
              they must identify that the item exists and that in camera review by the court will be
              sought. However, if the Court determines that there is nothing inherent in the divulgence
              of the existence of the document or the logging information required that would violate
              privilege, the Court will impose sanctions for any in camera request determined to be
              frivolous. In camera requests by the party claiming the privilege must be
              signed by both the requesting attorney and the client, to assure that all are
              aware of the request and the consequences.
         18. Expert Disclosure: Parties should furnish opposing counsel with the names and
             addresses of all expert witness under Rule 1.390(a) to be called at trial and all
             information regarding expert testimony that is required by Rule 1.280(b)(5). Each
             party is limited to one expert per specialty. No other expert testimony should be
             permitted at trial. Information furnished pursuant to this paragraph should be
             timely filed.
         19. Depositions: The parties are ordered to block time now for necessary
             depositions to be set in this case Expert deposition time should be coordinated
             and blocked as soon as experts are known to ensure compliance with this
             schedule. Depositions may commence at any time. Refer to the above
             regarding motions for protective order.
         20. Witness and Exhibit Lists: The parties shall timely exchange their witness and
             exhibit lists. The lists shall include complete proper names and addresses. If
             counsel chooses to list their bar address as the witness’ address, counsel is
             deemed to have agreed to produce the witness voluntarily as they have withheld


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            the information necessary for a witness subpoena, and counsel will be
            responsible for assuring that witness’ presence at trial.
         21. Mediation: Parties must mediate by the Court’s deadline. The parties are
             responsible for assuring that they have all the necessary information to value their
             position prior to mediation. If the parties fail to mediate before the mediation
             deadline, sanctions will be imposed by the Court. Failure to Mediate will not
             constitute just cause for a Trial Continuance.
         22. “Frustrated Lawyer/Pro-Se Rule”
              Please see the 11th Judicial Circuit in and for Miami-Dade County Division
              21 website – for assistance scheduling anything the other(s) in the file are
              making difficult.
      DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 20th day of April,
      2022.




                                                         2022-003829-CA-01 04-20-2022 3:19 PM
                                                            Hon. David C. Miller

                                                             CIRCUIT COURT JUDGE
                                                             Electronically Signed



        No Further Judicial Action Required on THIS MOTION

        CLERK TO RECLOSE CASE IF POST JUDGMENT



      Electronically Served:
      Nicole M Fluet, nfluet@gallowaylawfirm.com
      Nicole M Fluet, tampaservice@gallowaylawfirm.com
      Peter J. Mineo, Service@mineolaw.com
      Peter J. Mineo, Elizabethd@mineolaw.com


      Physically Served:




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                                                    IN THE CIRCUIT COURT OF THE 11H
                                                    JUDICIAL CIRCUIT, IN AND FOR MIAMI-
                                                    DADE COUNTY, FLORIDA

        HARVEST VALLEY, INC. and                    CASE NO: 2022-003829-CA-01
        HARVEST VALLEY II, INC.

               Plaintiff,

        vs.

        CERTAIN UNDERWRITERS AT LLOYD’S,
        LONDON SUBSCRIBING TO POLICY
        NUMBER AMR-67296-02,

              Defendant.
        _____________________________________/

              PLAINTIFF’S NOTICE OF CHANGE OF ATTORNEY WITHIN FIRM AND
                        AMENDED NOTICE OF EMAIL DESIGNATION

               YOU ARE HEREBY NOTIFIED that Patricia Sierra., of The Mineo Salcedo Law Firm,
        P.A., is now counsel of record on this case and hereby files this Notice of Change of Attorney
        within Firm and Amended Notice of Email Designation on behalf of the Plaintiff, and hereby
        designate the following email address for service of court documents pursuant to the Florida Rule
        of Judicial Administration 2.516:
                              Primary Email:        Service@mineolaw.com
                              Secondary Email:      Psierra@mineolaw.com
                              Secondary Email:      Lourdess@mineolaw.com

                                       CERTIFICATE OF SERVICE

               WE HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
        via E-Portal on this 21st day of April, 2022, Attorneys for Defendant, Nicole M. Fluet, Esq.,
        Galloway, Johnson, Tompkins, Burr & Smith, PLC, 400 N. Ashley Drive, Suite 1000, Tampa,
        Florida 33602. (tampaservice@gallowaylawfirm.com; nfluet@gallowaylawfirm.com;
        akirkpatrick@gallowaylawfirm.com)

                                                By: /s/ Patricia Sierra
                                                    PATRICIA SIERRA, ESQ.
                                                    Florida Bar No.: 108380
                                                    THE MINEO SALCEDO LAW FIRM, P.A.
                                                    Attorneys for Plaintiff
                                                    5600 Davie Road
                                                    Davie, Florida 33314
                                                    T: 954-463-8100//F: 954-463-8106
                                                    service@mineolaw.com
                                                    psierra@mineolaw.com
